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Exhibit 7
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EXPERT REPORT

Analysis of Distributor Regulatory Compliance
to Maintain Effective Controls for the Prevention of
Diversion of Controlled Substances on behalf of the City of
Huntington and Cabell County, West Virginia
___________________________________




Prepared by
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I.    QUALIFICATIONS AND EXPERIENCE

      A. Statement of Qualifications

         ● 1999 graduate of Eastern Michigan University with a degree in Public
           Administration.

         ● 26 years of law enforcement experience.

         ● Retired in 2002 as an Executive Lieutenant with the Romulus Police Department.

         ● Drug Enforcement Administration Diversion Investigator assigned to the Detroit
           Divisional Office from September 2004 through retirement in June 2017. Diversion
           Investigators are responsible for several different types of investigations including
           regulatory investigations, state-action related investigations, pre-registration
           application investigations, civil investigations, administrative investigations, and
           criminal investigations.     In 2011 Detroit DEA management restructured the
           responsibilities of the diversion investigators in the Detroit Divisional Office. At
           that time, Mr. Rafalski’s primary responsibility was to conduct administrative,
           civil, and regulatory investigations of DEA registrants.

         ● Successfully completed the following DEA training: Basic Diversion Investigator
           School (2004), Distributor Briefing/Training (2008), Advanced Diversion
           Investigator School (2009), Comprehensive Regulatory Investigation Training
           (2010), Diversion Leadership School (2011), Advanced Diversion Investigator
           School (2015).

         ● Participated as a DEA Instructor in the design and presentation of the following
           training programs: Task Force Officers Training and Orientation, Detroit,
           Michigan (January 2009), Basic Narcotics Training, Macomb Police Academy,
           Clinton Township, Michigan (April 2009), U.P. Prescription Diversion/Asset
           Forfeiture Class, Marquette, Michigan (July 2009 and September 2010), and Basic
           Narcotic Investigator Course, Richmond, Kentucky (May 2010). Prescription Drug
           Diversion, Gaylord, Michigan (2015)

      B. Awards

         ● Maintained a performance rating of “Outstanding” from 2005 to 2016.

         ● Received DEA performance awards from 2009 to 2015 and in 2017.

         ● Received an award from the Detroit Federal Executive Board in 2013 for exemplary
           public service to the DEA.


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         ● DEA Administrator’s Award for the investigation of the Harvard Drug Group.

         ● In June of 2013 and September of 2017 he received recognition from the United
           States Attorney’s Office, Eastern District of Michigan for the Harvard Drug Group
           and Mallinckrodt LLC

      C. Significant Investigations

         ● 2004 -2008 Investigation of Dr. Leo Ognen
              ○ Criminal opioid investigation related to improper prescriptions.
              ○ Led to the creation of prescribing database utilized in Ohio.
              ○ Conducted interviews with employees of pharmaceutical companies.
              ○ Resulted in conviction and incarceration.

         ● 2006 – 2011 Investigation of Dr. Sohrab Shafinia, D.O.
              ○ Criminal opioid investigation of conspiracy to possess controlled
                  substances with intent to distribute.
              ○ Investigation led to the identification and conviction of an organized
                  prescription drug ring.
              ○ Extensive reviews of Michigan Automated Prescribing Records (MAPS)
              ○ Conducted interviews, surveillance, recruiting and utilizing cooperating
                  individuals, as well as undercover activities.
              ○ Investigation led to the identification and conviction of the responsible
                  pharmacist.

         ● 2006 – 2008 Investigation of Dr. Louis Cannella, M.D.
              ○ Criminal opioid investigation related to improper prescriptions.
              ○ Extensive reviews of Michigan prescription monitoring program records.
              ○ Led to the creation of a Wisconsin prescription database.
              ○ Conducted numerous interviews of witnesses and defendants, surveillance,
                  recruiting and using cooperating individuals, as well as other investigative
                  activities.
              ○ Resulted in conviction and incarceration.

         ● 2006 Regulatory Investigation of Walgreen’s, Perrysburg, Ohio
              ○ Unannounced regulatory investigation related to ensuring compliance with
                 regulations and record keeping involving controlled substances.
              ○ Conducted an accountability audit, record-keeping review, and security
                 investigation.
              ○ Resulted in the issuance of a Letter of Admonition for inadequate SOMS.

         ● 2007 Regulatory Investigation of Lake Erie Medical Supply
              ○ Regulatory investigation related to repackaging, relabeling and distribution
                 of controlled substances mainly to physicians and medical offices.

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                ○ Recommended a distributor briefing at DEA headquarters in November
                  2008 to reiterate regulatory requirements to registrants.
                ○ Attended the November 2008 distributor briefing presented by other
                  Diversion Investigators.

         ● 2010 – 2011 Administrative Investigation of The Harvard Drug Group
              ○ Conducted a review of ARCOS data to identify any unusual patterns of
                  distribution of oxycodone to Florida pain clinics.
              ○ Conducted extensive review of company records and policies, controlled
                  substance order forms, DEA Form 222s, and interviews of employees.
              ○ Conducted review of chargeback system.
              ○ Investigation led to an Order to Show Cause in June of 2010 for among
                  other things, developing work around so as to not trigger SOMS.
              ○ Investigation concluded with entry of an Administrative Memorandum of
                  Agreement that remained in effect for three years.

         ● 2010 – 2013 Administrative Investigation of Masters Pharmaceutical
              ○ Met with and interviewed employees and initiated an on-site investigation.
              ○ Served several DEA Administrative subpoenas and obtained 21 customers
                  files to review.
              ○ Reviewed customer files which contained customer due diligence including
                  but not limited to: questionnaires, on-site investigation reports, written
                  notations, utilization reports, ship to memos, SOMS information, and
                  electronic notations.
              ○ Investigation concluded with the issuance of an Order to Show Cause.
              ○ Order to Show Cause resulted in revocation of DEA registration which was
                  affirmed by United States Court of Appeals for the District of Columbia
                  Circuit.

         ● 2010 – 2017 Administrative Investigation of Mallinckrodt L.L.C.
              ○ Administrative investigation begun in response to information related to a
                  chargeback program based on other investigations.
              ○ Reviewed the chargeback discount program and transactional information
                  involved in the program, which included the purchasers name, address, type
                  and strength of drug, and date of transaction.
              ○ The investigated chargeback data contained information that allowed
                  Mallinckrodt to see the geographic distribution of their products, the
                  volume and size of purchases.
              ○ Chargeback data also disclosed some pharmacies and/or practitioners
                  utilizing multiple distributors to purchase the same product in large
                  quantities.
              ○ Through an administrative subpoena requested documents related to
                  suspicious order system and related policies, related compliance policies,


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                         chargeback data, customer files, internal and external communications to
                         include emails, written correspondence, and notes.
                       ○ Administrative investigation resulted in an Administrative Memorandum of
                         Agreement that remained in effect for three years.

        As a DEA Diversion Investigator with 13 years of experience (2004-2017), I am uniquely
qualified to offer expert opinions regarding compliance with federal regulations governing the
distribution of controlled substances including oxycodone and hydrocodone. I am familiar with
the DEA Diversion Investigators Manual and received training from the United States Department
of Justice suspicious order monitoring, data analysis from ARCOS, reporting of suspicious orders
and the due diligence required before shipping an order flagged as suspicious. I directly
participated in the successful prosecution of Masters Pharmaceutical which resulted in a case
opinion from the highest federal court in the country (to date). I led the first action that led to a
memorandum of agreement with a manufacturer for failure to maintain effective controls to
prevent diversion and failing to design and operate an adequate suspicious order monitoring
system.

        Based (a) on my education, training and experience, (b) the law, regulation and practices
in the area of CSA enforcement, and (c) on my review of document and testimony provided in this
case (MDL 2804), I am of the opinion to a reasonable degree of professional certainty that there
was a systematic, prolonged failure over many years by the defendant distributors to maintain
effective controls against diversion of legitimate opioid prescriptions into the illicit market.1 I am
further of the opinion that this systematic failure was a substantial cause of the opioid epidemic
plaguing the country and specifically in Cabell County and the City of Huntington, West Virginia.
I am prepared to testify regarding the regulatory duties imposed by the CSA and federal
regulations. I have been asked to review the documents produced by the defendants and
depositions taken and offer opinions regarding statutory and regulatory compliance.

         I offer my opinions herein to a reasonable degree of professional certainty. I believe the
facts stated herein are true and accurate and based on the record provided to me. I understand that
the defendants continue to supplement discovery and have disclosed tens of millions of documents.
I have relied upon the defendant's answers to Combined Discovery Requests as a basic outline for
evidence of compliance to reach my opinions.

        I am being compensated at the rate of $300.00 per hour for the time I have spent related to
this report. The hourly rate for my time spent testifying is $500.00 per hour. I have previously
provided expert testimony by deposition in In re: National Prescription Opiate Litigation, MDL
No. 2804 (Case Track One) and in the New York State litigation, In re Opioid Litig., Index No.
400000/2017. I have not authored any publications or articles. In addition to the documents and
testimony cited within my report, I have also reviewed documents identified in the attached
Schedule I.


1
    I provide all opinions in this report with a reasonable degree of professional certainty.
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       II. Opinions
        Based on my education, background, experience, and review of the documents produced
in this matter and provided to me, my opinions, which are more fully set forth throughout this
report, are as follows:
   1. The Controlled Substance Act (CSA) is designed to provide for a closed delivery system
      related to the pharmaceutical supply chain. The CSA requires DEA registration for each
      member of the closed supply chain, known as a registrant. This is due to the dangerous and
      abusive nature of the controlled substances that flow through the pharmaceutical supply
      chain.

   2. As a member of the closed delivery system each registrant takes on certain statutory and
      regulatory obligations to ensure the safety and efficiency of the pharmaceutical supply
      chain. These statutory and regulatory duties have remained the same sense the enactment
      of the CSA.

   3. The pharmaceutical supply chain flows from manufacturer (labeler) to wholesale
      distributor and then to the end dispenser (pharmacy, hospital, practitioner). This gives the
      distributors a unique position in the supply chain in that they are the last checkpoint before
      the controlled substances go to the end dispenser.

   4. Under the CSA and the implementing regulations the distributors have two significant
      obligations that are designed to ensure that these controlled substances do not veer outside
      of the closed supply chain. These statutory and regulatory obligations come from:

       o 21 U.S.C.A. § 823(b)(1); which requires the “maintenance of effective controls against
         diversion of particular controlled substances into other than legitimate medical,
         scientific, and industrial channels.”

       o 21 C.F.R. § 1301.74(b); which require the registrant to “design and operate a system to
         disclose to the registrant suspicious orders of controlled substances.” Then the
         registrant is required to notify the DEA of all identified suspicious orders prior to
         shipment.

   5. Each of these play a vital role in protecting the integrity of the pharmaceutical supply chain.
      It is up to each registrant to design a system, often referred to as a suspicious order
      monitoring system (SOMS), that will comply with these regulatory requirements based on
      the differing type of business models they choose as customers. For example, a wholesale
      distributor that only services hospitals would need a SOMS different from that for one who
      services veterinary clinics.

   6. Cardinal Health, McKesson and AmerisourceBergen each failed to develop and implement
      a SOMS that would ensure the maintenance of effective controls against diversion. While
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        each of them had different systems for which they implemented each of these systems were
        either faulty in their design or in the manner they were operated.

    7. Cardinal Health, McKesson and AmerisourceBergen each failed to develop a
       comprehensive system to monitor, detect, and report all suspicious orders of opioids placed
       by pharmacies in the City of Huntington or Cabell County, West Virginia. This failure is
       exacerbated as there were significant timeframes when the Defendants would identify
       suspicious orders and still ship the orders to the respective pharmacies.

    8. Cardinal Health, McKesson and AmerisourceBergen each failed to conduct adequate due
       diligence on suspicious orders of opioids placed by pharmacies in the City of Huntington
       or Cabell County, West Virginia, to determine whether the customer was engaged in
       diversion;

    9. Cardinal Health, McKesson and AmerisourceBergen each distributed opioids to
       pharmacies in the City of Huntington, Cabell County, and the State of West Virginia in
       disproportionately excessive amounts without any documented justification; and

    10. Cardinal Health, McKesson and AmerisourceBergen each failed to halt suspicious
        shipments of opioid orders to pharmacies in the City of Huntington and Cabell County they
        knew, or should have known, were going to be diverted.

        III.    STANDARDS

        A. STATUTORY DUTY

         Each distributor owes a duty to maintain effective control against diversion of prescription
 opiates into the illicit market. 21 U.S.C.A. § 823(b)(1) [1970].

          The Controlled Substances Act (“CSA”) and its implementing regulations create
 restrictions on the distribution of controlled substances. See 21 U.S.C. §§ 801–971 (2006); 21
 C.F.R. §§ 1300–1321 (2009). The main objectives of the CSA are to conquer drug abuse and to
 control the legitimate and illegitimate traffic in controlled substances. Congress was particularly
 concerned with the need to prevent the diversion of drugs from legitimate to illicit channels. To
 effectuate these goals, Congress devised a closed regulatory system making it unlawful to
 manufacture, distribute, dispense, or possess any controlled substance except in a manner
 authorized by the CSA. The CSA categorizes all controlled substances into five schedules. The
 drugs are grouped together based on their accepted medical uses, the potential for abuse, and their
 psychological and physical effects on the body. Each schedule is associated with a distinct set of
 controls regarding the manufacture, distribution, and use of the substances listed therein. The CSA




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 and its implementing regulations set forth strict requirements regarding registration, labeling and
 packaging, production quotas, drug security, and recordkeeping.2

         The CSA authorizes the DEA to establish a registration program for manufacturers,
 distributors, and dispensers of controlled substances designed to prevent the diversion of legally
 produced controlled substances into the illicit market.3 Any entity that seeks to become involved
 in the production or chain of distribution of controlled substances must first register with the DEA.4

         The CSA provides for control by the Justice Department of problems related to drug abuse
 through registration of manufacturers, wholesalers, retailers, and all others in the legitimate
 distribution chain, and makes transactions outside the legitimate distribution chain illegal.5
 “Congress was particularly concerned with the diversion of drugs from legitimate channels. It was
 aware that registrants, who have the greatest access to controlled substances and therefore the
 greatest opportunity for diversion, were responsible for a large part of the illegal drug traffic.”6

         Distributors of Schedule II drugs—controlled substances with a “high potential for abuse”7
 – must maintain “effective control against diversion of particular controlled substances into other
 than legitimate medical, scientific, and industrial channels.”8 The CSA is designed to improve the
 administration and regulation of the manufacturing, distribution, and dispensing of controlled
 substances by providing for a “closed” system of drug distribution for legitimate handlers of such
 drugs. Such a closed system is intended to reduce the widespread diversion of these drugs out
 of legitimate channels into the illicit market, while at the same time providing the legitimate
 drug industry with a unified approach to narcotic and dangerous drug control.9 The CSA seeks,
 through appropriate regulation of the manufacture and distribution of drugs, to reduce the
 availability of drugs subject to abuse except through legitimate channels of trade and for legitimate
 uses.10




 2
     Gonzales v. Raich, 545 U.S. 1, 12–14 (2005) (internal citations omitted).
 3
  H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970); see 21 U.S.C. § 801(2); 21
 U.S.C. §§ 821-824, 827, 880.
 4
     21 U.S.C. § 822; 21 C.F.R. § 1301.11.
 5
     1970 U.S.C.C.A.N. 4566, 4569 (emphasis added).
 6
     United States v. Moore, 423 U.S. 122, 135 (1975).
 7
     21 U.S.C. §§ 812(b), 812(2)(A)-(C)
 8
     21 U.S.C. § 823(b)(1).
 9
     1970 U.S.C.C.A.N. 4566, 4571-72.
 10
      1970 U.S.C.C.A.N. 4566, 4574.
                                                       10
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         Based on my review of all the relevant documents and testimony taken in this case 11 and
 MDL 2804 it is my opinion to a reasonable degree of professional certainty that the multiple
 distributors servicing Cabell County and Huntington, West Virginia, failed to maintain effective
 control against diversion of prescription opiates into other than legitimate medical, scientific, and
 industrial channels in violation of 21 U.S.C.A. § 823(b)(1).

           B. REGULATORY DUTY

         Each distributor “shall design and operate a system to disclose to the registrant suspicious
 orders of controlled substances. The registrant shall inform the Field Division Office of the
 Administration in his area of suspicious orders when discovered by the registrant. Suspicious
 orders include orders of unusual size, orders deviating substantially from a normal pattern, and
 orders of unusual frequency.”12
           This regulatory duty has been defined to include the following obligations:
           The “security requirement” at the heart of this case mandates that distributors
           “design and operate a system” to identify “suspicious orders of controlled
           substances” and report those orders to DEA (the Reporting Requirement). 21
           C.F.R. § 1301.74(b). The Reporting Requirement is a relatively modest one: It
           requires only that a distributor provide basic information about certain orders to
           DEA, so that DEA “investigators in the field” can aggregate reports from every
           point along the legally regulated supply chain and use the information to ferret out
           “potential illegal activity.” Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501
           (Drug Enf't Admin. July 3, 2007). Once a distributor has reported a suspicious
           order, it must make one of two choices: decline to ship the order, or conduct some
           “due diligence” and—if it is able to determine that the order is not likely to be
           diverted into illegal channels—ship the order (the Shipping Requirement).13
         The regulatory duty is not difficult to follow and understand. An entity who voluntarily
 applies to become a registrant must submit an application and undergo a pre-registration
 investigation. The pre-registration investigation involves a thorough onsite inspection of the
 registrant’s facilities as well as extensive instructions on the applicable regulations and the security
 requirements that must be followed. While there are numerous requirements related to registration,
 my opinions focus on the following compliance requirements:
               ● Maintain effective controls to prevent the diversion of controlled substances into
                 “other than legitimate medical, scientific, and industrial channels”;
               ● “Design and operate” a system to identify suspicious orders; and

 11
   City of Huntington v. AmerisourceBergen Drug Corporation, et al., Civil Action No. 3:17-01362,
 consolidated with Cabell County Commission v. AmerisourceBergen Drug Corporation, et al., Civil Action
 No. 3:17-01665.
 12
      21 C.F.R. § 1301.74(b) [1971].
 13
      Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206, 212–13 (D.C. Cir. 2017) (emphasis added).
                                                     11
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               ● Report suspicious order “when discovered.”

           C. MDL2804 Discovery Ruling 12

         The Court in MDL2804 issued a discovery ruling (Discovery Ruling 12) which outlines
 the statutory and regulatory duties imposed by federal law upon distributors of controlled
 substances.14 The ruling addresses the following legal standards:
           Distributors of opioids are required to “‘design and operate a system’ to identify
           ‘suspicious orders of controlled substances’ and report those orders to DEA (the
           Reporting Requirement).” Masters Pharmaceutical, 861 F.3d 206, 212 (D.C. Cir.
           2017) (quoting 21 C.F.R. § 1301.74(b)). Federal regulations explain that
           “suspicious orders include [among others] orders of unusual size, orders deviating
           substantially from a normal pattern, and orders of unusual frequency.” 21 C.F.R. §
           1301.74(b). Thus, an order for opioids received by a distributor from a retail
           pharmacy may qualify as “suspicious” for any of a number of different reasons.15

           The simplest example is that a given order for an opioid may be suspicious if it was
           of “unusual size” – say, an order that pushed a pharmacy’s monthly total number
           of opioid doses to exceed the monthly totals the same pharmacy had ordered in the
           prior six months. The Order refers below to this algorithm as the “Monthly Total
           Rule.” (Masters Pharmaceutical described the “Monthly Total Rule” as follows:
           an order is suspicious if “that order—combined with other orders placed in the same

 14
      See Discovery Ruling No. 12 regarding Suspicious Order Interrogatory [Doc. 1174].
 15
   “Of course, an order may be suspicious for other reasons, even if it doesn’t fit the Monthly Total Rule,
 such as that the pharmacy-customer “submitted more order forms in a 30-day period than it had in any of
 the prior six calendar months [the ‘Order Form Rule’], or if the timing of the order did not comport with
 the customer’s general ordering pattern over those six months [the ‘Order Timing Rule’].” Id. There are
 many other algorithms a distributor could use to identify opioid orders as suspicious, including: (1) the
 order for the opioid was placed within 30 days of an earlier suspicious order for the same opioid (the
 “Consecutive Order Rule”); (2) the order for the opioid was placed within 30 days of an order for the
 same opioid from a different distributor (the “Multi-Distributor Rule”); (3) the percentage increase in the
 amount of opioid ordered exceeded a certain threshold (the “Percentage Increase Rule”); or (4) the
 amount of opioid ordered exceeded by some threshold the amounts ordered by other similar or nearby
 pharmacies (“the Pharmacy Comparison Rule”).
          “See also Masters Pharmaceuticals, Inc., Decision and Order, 80 Fed. Reg. 55418-01 at *55477
 (DEA Sept. 15, 2015) (“a pharmacy’s business model, dispensing patterns, or other characteristics might
 make an order suspicious, despite the particular order not being of unusual size, pattern or frequency. In
 other words, orders placed by a pharmacy that engages in suspicious activity, but places orders of regular
 size, pattern, and frequency, could still be deemed suspicious.”); id. at *55478 (noting that “suspicion” is
 a low bar: it “is simply a far lower standard of proof than whether it is ‘likely’ that the circumstance
 exists,” and “the regulation’s adoption of suspicion as the threshold for triggering the requirement that a
 distributor inform the Agency about the order does not even rise to the level of probable cause.”)”
 Discovery Ruling No. 12, fn 2.
                                                      12
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           30-day period—requested more doses of a controlled medication than the pharmacy
           had requested in any of the previous six calendar months.” Id. at 213.)

           As noted, once it has identified a suspicious order, a distributor is required to report
           it to the Drug Enforcement Agency (“DEA”). See 21 C.F.R. §1301.74(b) (“The
           [distributor] shall inform the Field Division Office of the Administration in his area
           of suspicious orders when discovered by the [distributor].”). Furthermore, having
           received a suspicious order, the distributor “must make one of two choices: decline
           to ship the [suspicious] order, or conduct some ‘due diligence’ and—if it is able to
           determine that the order is not likely to be diverted into illegal channels—ship the
           order (the Shipping Requirement).” Id. at 212–13. Of course, a distributor’s due
           diligence efforts must be thorough: “the investigation must dispel all red flags
           indicative that a customer is engaged in diversion to render the order non-suspicious
           and exempt it from the requirement that the distributor ‘inform’ the Agency about
           the order. Put another way, if, even after investigating the order, there is any
           remaining basis to suspect that a customer is engaged in diversion, the order must
           be deemed suspicious and the Agency must be informed.” Masters
           Pharmaceuticals, Inc., Decision and Order, 80 Fed. Reg. 55418-01 at *55477 (DEA
           Sept. 15, 2015) (hereinafter, “Decision and Order”). Indeed, the DEA may revoke
           a distributor’s certificate of registration as a vendor of controlled substances if the
           distributor identifies orders as suspicious and then ships them “without performing
           adequate due diligence.” Masters Pharmaceuticals, 861 F.3d at 212.16

         The Order noted the “legal authorities reviewed above leave unclear exactly when an
 order is deemed suspicious, and thus when a distributor is required to inform the DEA that it
 received a suspicious order. The following flowchart illustrates the issue.”17




 16
   Discovery Ruling No. 12 [Doc. 1174]. See also, id., at n.3 (“The Decision and Order was a final order
 entered by the DEA revoking Masters Pharmaceutical’s certificate of registration, without which Masters
 Pharmaceutical could not sell controlled substances. In Masters Pharmaceutical, the D.C. Circuit Court
 of Appeals denied a petition for review, leaving intact the DEA’s analysis and conclusion in the Decision
 and Order.”)
 17
      See Discovery Ruling No. 12 issued December 9, 2018 at page 5.
                                                     13
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                This flowchart shows how a distributor’s Suspicious Order Monitoring
       System must work and diagrams the process a distributor must undertake when it
       receives a suspicious order. Notably, there is a “yellow light” (caution) and a “red
       light” (stop) in the process. When a distributor first identifies an order as suspicious,
       this is a “yellow light” – it cannot ship the order without doing some investigation.
       If that investigation does not “dispel all red flags indicative that a customer is
       engaged in diversion,” then the distributor gets a “red light” and must not ship the
       order. Masters Pharmaceutical, 861 F.3d at 222. Beyond requiring that a distributor
       must employ some Suspicious Order Monitoring System (“SOMS”), the federal
       regulations do not make explicit exactly what algorithm(s) the SOMS must use to
       identify suspicious orders, or exactly what due diligence efforts are required when
       investigating an order after it is identified as suspicious. For example, a distributor
       is not required to use the Monthly Total Rule or the Pharmacy Comparison Rule;
       it is free to design its SOMS using any algorithms and rules it believes will get the
       job done.

               With regard to the Reporting Requirement, it is not entirely clear whether a
       distributor’s obligation to inform the DEA attaches: (1) when the “yellow light”
                                               14
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           flashes – that is, when the distributor first identifies an order as suspicious; or (2)
           only after the “red light” flashes – which would mean a distributor does not have to
           inform the DEA it received a suspicious order if investigation shows the order was
           legitimate, after all. Indeed, the authorities cited above provide support for each
           approach, as shown by the following quotations.

           “Red Light”

               •    “[I]f, even after investigating the order, there is any remaining basis to
                   suspect that a customer is engaged in diversion; the order must be deemed
                   suspicious and the Agency must be informed. Decision and Order, 80 Fed.
                   Reg. at *55478.

               •    “DEA regulations expressly provide that deviations in size, frequency, or
                   pattern are the sort of indicia that give rise to a suspicion and, unless the
                   suspicion is dispelled, the obligation to report. Masters Pharmaceuticals,
                   861 F.3d at 215 (citing Decision and Order, 80 Fed. Reg. at *55,479; and
                   21 C.F.R. §1301.74(b)).

           “Yellow Light”

               •   “Once a distributor has reported a suspicious order, it must make one of
                   two choices: decline to ship the order or conduct some ‘due diligence’
                   and—if it is able to determine that the order is not likely to be diverted into
                   illegal channels—ship the order (the Shipping Requirement).” Masters
                   Pharmaceutical, 861 F.3d at 212–13.18

         In other words, the Court determined it is unclear whether an order is “suspicious” (and so
 must be reported to the DEA) as soon as a distributor’s SOMS flags it as suspicious, or only after
 due diligence fails to dispel any suspicion.19 In any event, it is clear that distributors are required
 to identify suspicious orders from pharmacies and cannot ship those orders unless they conduct
 “due diligence” that determines those orders are not likely to be diverted. Further, distributors are
 required to report suspicious orders to the DEA upon discovery.




 18
      Discovery Ruling No. 12 [1174].
 19
   The Court clarified in its Ruling on Motion to Withdraw Portion of Discovery Ruling No. 12 [1189] that
 while Discovery Ruling No. 12 was “not a definitive pronouncement on [the Defendants’] legal
 obligations[,]” it was also not “in any way incorrect.”
                                                     15
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           D. ARCOS/DADS

         The Automated Records and Consolidated Orders System/Diversion Analysis and
 Detection System (ARCOS/DADS)20 system is used to track and report the transfer of
 pharmaceuticals and to detect potential diversion. This system of records is maintained pursuant
 to the reporting requirements of the Comprehensive Drug Abuse Prevention and Control Act of
 197021 and to fulfill the United States treaty obligations under the Single Convention on Narcotic
 Drugs and the Convention on Psychotropic Substances of 1971.22

         The Automation of Reports and Consolidated Orders System (ARCOS) is the automated
 system developed by DEA to monitor selected controlled substances. ARCOS software enables
 the government to maintain a current and historical record of selected controlled substance
 inventories and transactions from the point of manufacture to the point of sale, distribution, or
 other disposition, and finally, to the dispenser level.23
        The information contained in the ARCOS system consists of documentation of individual
 business transactions between individuals who handle controlled substances at every level, from
 manufacturers down to the pharmacies. Records include copies of controlled substances
 inventories, drug codes, deletion and adjustment reports, sales, and purchase orders, and includes,
 among other things the date of the transaction, the name, quantity, and quality of the
 chemicals/substances purchased or dispensed, the parties to the transaction, NCD code, and the
 DEA registrant numbers. This information provides an audit trail of all manufactured and/or
 imported controlled substances.



 20
    “ARCOS” refers to the automated, comprehensive drug reporting system which monitors the flow of
 DEA controlled substances from their point of manufacture through commercial distribution channels to
 point of sale or distribution at the dispensing/retail level - hospitals, retail pharmacies, practitioners, mid-
 level practitioners, and teaching institutions. Included in the list of controlled substance transactions
 tracked by ARCOS are the following: All Schedules I and II materials (manufacturers and distributors);
 Schedule III narcotic and gamma-hydroxybutyric acid (GHB) materials (manufacturers and distributors);
 and selected Schedule III and IV psychotropic drugs (manufacturers only). ARCOS accumulates these
 transactions which are then summarized into reports which give investigators in Federal and state
 government agencies information which can then be used to identify the diversion of controlled
 substances into illicit channels of distribution. The information on drug distribution is used throughout the
 United States (U.S.). by U.S. Attorneys and DEA investigators to strengthen criminal cases in the courts.
 See United States Department of Justice, Drug Enforcement Administration, Diversion Control Division,
 Automation of Reports and Consolidated Orders System (ARCOS), Background: What is ARCOS and
 What Does it Do?, https://www.deadiversion.usdoj.gov/arcos/#background (last visited September 7,
 2017).
 21
      21 U.S.C. 826(d).
 22
      69 FR 51104-02.
 23
  See ARCOS Registrant Handbook, United States Department of Justice, Drug Enforcement
 Administration, Office of Diversion Control, Section 1.1.1, ARCOS Defined (Version 1.0 August 1997).
                                                       16
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         All automated data files associated with ARCOS/DADS are maintained in the Department
 of Justice Data Center and the Drug Enforcement Administration Data Center and the system is
 located at Drug Enforcement Administration, 700 Army Navy Drive, Arlington, VA 22202. 69
 FR 51104-02.
         The ARCOS/DADS system uniquely has access to all of the data submitted by each DEA
 registrant from the across the country.24 These distribution transactional records are compiled by
 the DEA through a portal and the data is compiled by DEA in accordance with law for determining
 quota, distribution trends, internal audits, inspection, investigations and other analyses.25
 Additionally, the DEA provides internet access to summary data from this system.
         The DOJ/DEA disclosed the national ARCOS database to the Plaintiffs’ Executive
 Committee (2006-2014) and additional transactional data was independently disclosed by some of
 the defendants. Both sets of data were then uploaded to a database managed by Craig J. McCann,
 PhD, CF, of Securities Litigation and Consulting Group, Inc. (“SLCG”) (retained as an expert by
 the PEC). I have relied upon data derived from and provided by SLCG in the formulating of
 specific requests.
        The ARCOS data, defendant transactional data, and the SLCG reports generated therefrom
 are consistent with the types of data, facts, information, and reports I would typically rely on in
 conducting the analysis and reaching the opinions contained herein. I am very familiar with the
 ARCOS data and defendant transactional data and have experience analyzing the data and reports
 generated therefrom. I have reviewed SLCG’s methods and reports and they are consistent with
 my understanding, based on my experience, of how the data should be analyzed.
           E. DEA DIVERSION INVESTIGATOR’S MANUAL.
        The DEA published a manual which provides further guidance related to the statutory and
 regulatory duties of registrants. Portions of the manual have previously been publicly available
 and accurately set forth the charge for DEA investigators as follows:
           Registrants, who routinely report suspicious orders, yet fill these orders, with
           reason to believe they are destined for the illicit market, are expressing an attitude
           of irresponsibility that is a detriment to the public health and safety as set forth in
           21 U.S.C. 823 and 824. Suspicious orders include those which are in excess of
           legitimate medical use or exhibit characteristics leading to possible diversion such
           as: orders of unusual size, unusual frequency, or those deviating substantially from
           a normal pattern. The supplier can determine whether the order is excessive by
           checking their own sales and establishing the average amount of controlled
 24
   The DEA maintains the Automation of Reports and Consolidated Orders System (“ARCOS”), an
 official automated comprehensive drug reporting system that monitors the flow of DEA controlled
 substances from their point of manufacture through commercial channels to the point of sale or
 distribution at the dispensing/retail level. Drug wholesalers do not have access to the ARCOS data or to
 the data of other wholesalers and distributors. Keysource Med., Inc. v. Holder, No. 1:11-CV-393, 2011
 WL 3608097, at *2 (S.D. Ohio Aug. 16, 2011).
 25
      https://www.deadiversion.usdoj.gov/arcos/retail_drug_summary/index.html.
                                                     17
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          substances shipped to registrants of the same apparent size in a particular
          geographic area. If the customer exceeds this threshold, the request should be
          viewed as suspicious. This activity, over extended periods of time, would lead a
          reasonable person to believe that controlled substances possibly are being
          diverted. An investigation will be conducted for possible violation of the CSA and
          regulations upon determining that the reporting registrant, as a general practice,
          does not voluntarily halt shipments of controlled substances to registrants involved
          in suspected diversion or to registrants against whom previous action has been
          taken. In these instances, the registrant is subject to the appropriate prosecution
          and/or administrative action.26

        Importantly, the DEA does not approve or disapprove supplier shipments of controlled
 substances. The responsibility for making the decision to ship rests with the supplier.27
          F. DEA DISTRIBUTOR INITIATIVE BRIEFINGS.
          In August 2005, the DEA designed and implemented the DEA Distributor Initiative. The
 initiative was in response to the growing number of rogue Internet pharmacies illegally dispensing
 controlled substances and their pattern of purchasing extremely large amounts of a limited type of
 controlled substances from distributors. This program consisted of an individual meeting between
 the DEA and distributors to re-iterate to DEA registrants their responsibilities under the Controlled
 Substances Act and Code of Federal Regulations and to discuss current trends and methods of
 diversion.
        In February 2014, at a conference in North Carolina, DEA Deputy Assistant Administrator
 Joseph T. Rannazzisi reported that the DEA had conducted distributor briefings to 81 registrants
 that had a total of 233 registered locations. The DEA has produced in discovery summaries of
 some of these meetings as follows:
             •   Memorandum, Meeting with Cardinal Health, Inc. Concerning Internet Pharmacies
                 on August 22, 2005;28

 26
   See DEA Diversion Investigators Manual (1996) (CAH_MDL2804_02203353,
 CAH_PRIORPROD_DEA07_01176914 at 01176957) ; see also DEA Diversion Manual (1990)
 (CAH_PRIORPROD_DEA_01176247 at 01176301); DEA Diversion Investigators Manual (2011)
 (CAH_MDL2804_00953317 at 00953396, CAH_MDL2804_01483146, CAH_MDL2804_01563592)
 (“By its very nature, an order is a request to purchase controlled substances and has not yet been filled.
 Reporting a filled order is potentially allowing controlled substances to be diverted. Therefore, suspicious
 orders will not be filled.”)
 27
   See DEA Diversion Investigators Manual (1996) (CAH_MDL2804_02203353,
 CAH_PRIORPROD_DEA07_01176247); see also DEA Diversion Investigators Manual (2011)
 (CAH_MDL2804_00953317, CAH_MDL2804_01483146, CAH_MDL2804_01563592) (“DEA field
 offices will not approve or disapprove a registrant's shipment of controlled substances, nor their
 procedures for detecting suspicious orders. The responsibility for detecting suspicious orders and making
 the decision to ship rests solely with the registrant.”)
 28
      US-DEA-00000352.
                                                     18
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              •   Memorandum, Conference Call with. Mr. John. Gilbert of McKesson Corp. on
                  November 28, 2005;29
              •   Memorandum, Meeting Between Office of Diversion Control (OD) and McKesson
                  Corp. on January 3, 2006;30
              •   Memorandum, Internet Presentation; with AmerisourceBergen on August 10,
                  2005;31 and
              •   Memorandum, Distributor Initiative Briefing with AmerisourceBergen Drug on
                  May 16, 2017.32
         At these briefings DEA personnel would reiterate the registrant’s requirement to maintain
 effective controls to prevent diversion as required in U.S.C. 21 § 843(e) and 21 C.F.R. §
 1301.71(a). During these meetings the DEA specifically focused on discussing 21 C.F.R. §
 1301.74(b) which states, “The registrant shall design and operate a system to disclose to the
 registrant suspicious orders of controlled substances. The registrant shall inform the Field Division
 Office of the Administration in his area of suspicious orders when discovered by the registrant.
 Suspicious orders include orders of unusual size, orders deviating substantially from a normal
 pattern, and orders of unusual frequency.” DEA also advised the registrant at these meetings that
 DEA cannot tell a distributor if an order is legitimate or not.33 The distributor has the responsibility
 to determine which orders are suspicious and, once identified, the distributor should report those
 orders to DEA and should not distribute suspicious orders.34 Further, it was reiterated that a
 distributor was advised prior to shipping any order that had been determined to be suspicious, the
 distributor should conduct a due diligence investigation to ensure the controlled substances in the
 order are not likely to be diverted and document their due diligence actions.35 Failure to do so
 could result in action against their DEA registration.


            G. SEPTEMBER 2006 DEA GUIDANCE LETTER
         In September 2006, in response to the nationwide growing health problems involving
 diversion of controlled substances, DEA Deputy Assistant Administrator Joseph T. Rannazzisi


 29
      US-DEA-00000369.
 30
      US-DEA-00000371.
 31
      US-DEA-00000147.
 32
      US-DEA-00000144.
 33
      US-DEA-00000352, 00000360.
 34
      Id.
 35
   See also Novelty Distributors, Inc., 73 Fed. Reg. 52,689, 52,669 (Drug Enf’t Admin. September 3,
 2008) (“Fundamental to its obligation to maintain effective controls against diversion, a distributor must
 review every order and identify suspicious transactions. Further, it must do so prior to shipping the
 products. Indeed, a distributor has an affirmative duty to forgo a transaction if, upon investigation, it is
 unable to determine that the proposed transaction is for legitimate purposes.”)
                                                      19
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 forwarded a letter to all DEA registered distributors and manufacturers. 36 The purpose of the letter
 was to reiterate the legal duties of distributors as DEA registrants and provide some examples of
 activities that may be indicative of diversion.
         Mr. Rannazzisi’s letter referenced 21 U.S.C. 823(e) that restated the requirement that
 distributors and manufacturers have a legal requirement to maintain effective controls against
 diversion. Mr. Rannazzisi’s letter further cited DEA Regulation 21 C.F.R. 1301.74(b) which states
 the requirement for a registrant to design and operate a system to disclose suspicious orders of
 controlled substances and to report suspicious orders to the D.E.A. when discovered. The system
 should be capable of identifying a suspicious order based on size, pattern and frequency and of
 reporting that order to DEA. Contained in the written notification was a list of circumstances that
 may be indicative of diversion, which included the following:
          a.     Ordering excessive quantities of a limited variety of controlled substances.
          b.     Ordering a limited variety of controlled substances in quantities disproportionate to
                 the quantity of non-controlled medications ordered.
          c.     Ordering excessive quantities of a limited variety of controlled substances in
                 combination with excessive quantities of lifestyle drugs.
          d.     Ordering the same controlled substances from multiple distributors.
          The written communication also listed some guidance for a distributor by providing some
 possible inquiries of a customer’s business activity that could be indicative of diversion. Mr.
 Rannazzisi further stated and reiterated:
          The DEA regulations require all distributors to report suspicious orders of
          controlled substances. Specifically, the regulations state in 21 C.F.R. 1301.74(b):
                 The registrant shall design and operate a system to disclose to the
                 registrant suspicious orders of controlled substances. The registrant
                 shall inform the Field Division Office of the Administration in his
                 area of suspicious orders when discovered by the registrant.
                 Suspicious orders include orders of unusual size, orders deviating
                 substantially from a normal pattern, and orders of unusual
                 frequency.
          It bears emphasis that the foregoing reporting requirement is in addition to, and
          not in lieu of the general requirement under 21 U.S.C. 823(e) that a distributor
          maintain effective controls against diversion.
          This, in addition to reporting all suspicious orders, a distributor has a statutory
          responsibility to exercise due diligence to avoid filling suspicious orders that
          might be diverted into other than legitimate medical, scientific, and industrial
          channels. Failure to exercise such due diligence could, as circumstances warrant,

 36
      See CAH_MDL_PRIORPROD_DEA07_00837645.
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           provide a statutory basis for revocation or suspension of a distributor’s
           registration.37
           H. JUNE 2007 SOUTHWOOD PHARMACEUTICALS, INC. DISTRIBUTOR
              CASE
         DEA Deputy Administrator Michele M. Leonhart issued an Order on June 22, 200738,
 detailing the revocation of DEA registration for Southwood Pharmaceuticals, Inc (“Southwood”).
 The Order further denied any pending applications for renewal or modification of registration
 because of the imminent danger to the public health or safety.
         The language contained in this Order clearly re-iterated the requirement for a distributor to
 have a suspicious order monitoring program. The Order states the following: “a registrant must
 ‘design and operate a system to disclose to the registrant suspicious orders of controlled
 substances’”; suspicious orders must be reported to the local Field Division Office upon discovery
 by the registrant.39 Under the regulation, suspicious orders include orders of unusual size, orders
 deviating substantially from a normal pattern, and orders of unusual frequency.’’
         This Order also contains a description of the conduct of Southwood causing the revocation
 of their DEA registration as described in the Order to Show Cause and Immediate Suspension
 Order of Registration (OTSC/ISO) issued on November 30, 2006. The OTSC/ISO detailed that
 Southwood distributed controlled substances to customers they knew or should have known were
 diverting controlled substances. The OTSC/ISO stated Southwood repeatedly supplied excessive
 quantities of hydrocodone to fifteen pharmacies that were orders of unusual size and frequency as
 well as substantially deviating from the normal pattern. The OTSC/ISO further stated Southwood
 never reported any of the orders as suspicious to the DEA.
         The OTSC/ISO also stated that Michael Mapes of the DEA conducted a meeting with
 Southwood by conference call on July 17, 2006. The content of the meeting described in the
 OTSC/ISO is consistent with the DEA Distributor Program being conducted by the DEA and
 described in this timeline. During this meeting Mr. Mapes discussed the purchasing activities of
 several pharmacies who were customers of Southwood. During this meeting Mr. Mapes also
 provided Southwood with a description of the illegal conduct of Internet pharmacies and described
 factors to consider when assessing customers for potential diversion. These factors included the
 size and frequency of order, range of product order, and the percentage of control substances
 ordered when compared to non-controlled substances. Mr. Mapes further discussed the factors
 that are required to ensure a prescription is legally prescribed by a physician.
         The following statement is contained in the OTSC/ISO, “a pattern of drugs being
 distributed to pharmacies [which] are diverting controlled substances demonstrates a lack of
 effective controls against diversion by the distributor” and could lead to the revocation of the
 distributor's registration.” Mr. Mapes further stated, “… any distributor who was selling controlled

 37
      See id. (emphasis added).
 38
      Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501 (Drug Enf’t Admin. July 3, 2007).
 39
      21 CFR 1301.74(b).
                                                     21
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 substances that are being dispensed outside the course of professional practice must stop that
 distribution immediately.”40
         The OTSC/ISO stated Mr. Mapes discussed with Southwood representatives whether it
 could ship an order which it had reported as suspicious. Mr. Mapes advised Southwood
 representatives if they reported a suspicious order to the DEA, they still needed to make the
 decision as to whether to ship the order. The OTSC/ISO further detailed that Southwood
 representatives asked Mr. Mapes whether they should stop shipping controlled substances to the
 internet pharmacies and Mr. Mapes replied the DEA cannot tell a distributor whether a particular
 order is legitimate, and that the decision of whether to ship was “a business decision,” but
 Southwood had an obligation to ensure that the controlled substance being distributed were used
 for legitimate medical purposes.
            I. DECEMBER 2007 DEA GUIDANCE LETTER
        In December 2007, DEA Deputy Assistant Administrator for the Office of Diversion
 Control Joseph T. Rannazzisi issued a second letter to all DEA registered distributors and
 manufacturers restating much of the information contained in the previous letter.41
         This letter was focused on reiterating the responsibilities of manufacturers and distributors
 to inform DEA of suspicious orders as required by 21 CFR 1301.74(b).
         The letter reiterated that 21 CFR 1301.74(b) requires a manufacturer or distributor to
 design and operate a system to disclose to the registrant suspicious orders of controlled substances.
 The letter further notified registrants that it is the sole responsibility of registrants to design and
 operate the system. The letter advised registrants of the following: “Past communications with
 DEA, whether implicit or explicit, that could be construed as approval of a particular system for
 report suspicious orders, should no longer be taken to mean that DEA approves a specific
 system.”42
         The letter also notifies that filing a monthly report of transactions to the DEA, often referred
 to as excessive purchase reports, does not meet the regulatory requirement to report suspicious
 orders.
            The letter also reiterated the following requirements:
            1. 21 CFR 1301.74(b) requires DEA registrants inform the DEA of suspicious orders
               when discovered by the registrant.
            2. DEA registrants must conduct an independent analysis of suspicious orders prior to
               completing a sale to determine if the controlled substances are likely to be diverted.



  Southwood Pharmaceuticals, Inc.; Revocation of Registration, 72 Fed. Reg. 36,487, 36,492(Drug Enf’t
 40

 Admin. July 3, 2007).
 41
      CAH_MDL_PRIORPROD_DEA07_00092296.
 42
      Id.
                                                    22
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         3. The regulation states suspicious orders include orders of an unusual size, deviating
            substantially from a normal pattern, and orders of an unusual frequency. The criteria
            are disjunctive and are not all inclusive.
         4. DEA registrants who routinely report suspicious orders, yet fill these orders without
            first determining whether the orders are not being diverted may be failing to maintain
            effective controls against diversion that may result in possible action against their DEA
            registration.
         J. DEA ADMINISTRATIVE ACTIONS
         Distributors in this industry regularly monitor DEA administrative actions involving
 maintenance of effective controls against diversion and failure to identify and/or report suspicious
 orders. There are many different types of sources that make the details of DEA administrative
 action available for the industry to review. The type of information available can be a very in-
 depth article or a publication as simple as a press release. Two examples of in-depth sources of
 information are the information published in the Federal Register involving DEA cases against
 Masters Pharmaceutical Inc. and Southwood Pharmaceuticals Inc.

         The DEA posts administrative case information on the Internet on their website at
 www.deadiversion.usdoj.gov. The DEA and Department of Justice also normally issue press
 releases on administrative actions that subsequently generate media coverage and reviews by law
 firms. Further, trade organizations like the Healthcare Distribution Alliance (HDA) typically
 publish articles regarding DEA administrative actions for review by their members. Typically,
 when a DEA administrative action occurs, several of the law firms that closely follow the
 industry, post articles on their websites that describe the action and offer opinions of future impact
 to the industry.

         Listed below are some of the significant administrative action against distributors and
 manufacturers for failing to maintain effective controls against diversion and for failing to identify
 and/or reports suspicious orders:

      1. April 24, 2007, the DEA issued an Order to Show Cause and Immediate Suspension Order
         against the AmerisourceBergen Orlando, Florida distribution center alleging failure to
         maintain effective controls against diversion of controlled substances. On June 22, 2007,
         AmerisourceBergen entered into a settlement and release agreement with the DEA related
         to the allegations made by the agency.43



 43
   AmerisourceBergen Corporation, AmerisourceBergen Signs Agreement with DEA Leading to
 Reinstatement of its Orlando Distribution Center’s Suspended License to Distribute Controlled
 Substances, June 22, 2007, available at https://investor.amerisourcebergen.com/news/news-
 details/2007/AmerisourceBergen-Signs-Agreement-with-DEA-Leading-to-Reinstatement-of-Its-Orlando-
 Distribution-Centers-Suspended-License-to-Distribute-Controlled-Substances/default.aspx (last visited
 August 3, 2020).
                                                  23
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      2. June 22, 2007, the DEA revoked the Registration of Southwood Pharmaceuticals, Inc. 72
         Fed. Reg. 36,487 (Department of Justice; Southwood Pharmaceuticals, Inc.; Revocation of
         Suspension (July 2, 2007)) on Tuesday, July 3, 2007July 3, 2007, Department of Justice,
         Drug Enforcement Administration article in the Federal Register, titled, Southwood
         Pharmaceuticals, Inc.; Revocation of Registration.44

      3. November 29, 2007, the DEA issued an Order to Show Cause and Immediate Suspension
         Order against the Cardinal Health Auburn, Washington Distribution Center which
         suspended their DEA registration for failure to maintain effective controls against diversion
         of hydrocodone.45

      4. December 7, 2007, DEA issued an Order to Show Cause and Immediate Suspension Order
         against the Cardinal Health Lakeland, Florida Distribution Center for failure to maintain
         effective controls against diversion of hydrocodone.46

      5. December 7, 2007, the DEA issued an Order to Show Cause and Immediate Suspension
         Order against the Cardinal Health Swedesboro, New Jersey Distribution Center for failure
         to maintain effective controls against diversion of hydrocodone.47

      6. January 30, 2008, the DEA issued an Order to Show Cause against the Cardinal Health
         Stafford, Texas Distribution Center for failure to maintain effective controls against
         diversion of hydrocodone. Cardinal agreed to suspend shipping any controlled substances
         from the location pending a resolution with the DEA.48

      7. May 2, 2008, McKesson Corporation agree to pay a $13 million civil penalty and entered
         into an Administrative MOA with the DEA which provided that McKesson would

 44
    Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501 (Drug Enf’t Admin. July 3, 2007)(also available
 at https://www.deadiversion.usdoj.gov/fed_regs/actions/2007/fr07032.htm (last visited March 10, 2019)).
 45
   Cardinal Health, Press Release, Cardinal Health Receives DEA Order to Temporarily Cease
 Distribution of Controlled Substances from Auburn Wash. Facility, November 29, 2007, available at
 https://ir.cardinalhealth.com/news/press-release-details/2007/Cardinal-Health-Receives-DEA-Order-to-
 Temporarily-Cease-Distribution-of-Controlled-Substances-from-Auburn-Wash-Facility/default.aspx (last
 visited March 11, 2019).
 46
   Cardinal Health, Press Release, Cardinal Health to Cease Distribution of Controlled Substances from
 Florida Facility, December 7, 2007, available at
 https://cardinalhealth.mediaroom.com/newsreleasearchive?item=122500 (last visited August 3, 2020).
 47
   Drug Topics, “DEA hits third Cardinal Health distribution center,” December 21, 2007, available at
 https://www.drugtopics.com/pharmacy/dea-hits-third-cardinal-health-distribution-center (last visited
 August 3, 2020).
 48
   Drug Topics, “Cardinal caught between DEA and pharmacies over diversion control,” April 14, 2008,
 available at https://www.drugtopics.com/community-practice/cardinal-caught-between-dea-and-
 pharmacies-over-diversion-control (last visited August 3, 2020).
                                                   24
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         “maintain a compliance program designed to detect and prevent the diversion of controlled
         substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and
         follow the procedures established by its Controlled Substance Monitoring Program.”49

      8. On September 30, 2008, Cardinal Health agreed to pay a $34 million civil penalty and
         entered into a Settlement and Release Agreement and Administrative Memorandum of
         Agreement (MOA) with the DEA related to its Auburn Facility, Lakeland Facility,
         Swedesboro Facility and Stafford Facility. The MOA also referenced allegations by the
         DEA that Cardinal failed to maintain effective controls against the diversion of controlled
         substances.50

      9. January 9, 2009, Rite Aid agreed to pay $5 Million in civil penalties to resolve allegations
         that Rite Aid knowingly filled prescriptions for controlled substances that were not issued
         for legitimate medical purposes; failed to notify the DEA of significant thefts and losses of
         controlled substances; failed to maintain or failed to furnish to the DEA upon request
         records required to be kept under the Controlled Substances Act for a period of two years;
         and failed to properly execute DEA forms used to ensure the amount of Schedule II drugs
         ordered by Rite Aid were actually received violations of the Controlled Substances Act in
         eight states.51

      10. April 21, 2009, Settlement and Release Agreement and Administrative Memorandum of
          Agreement between DOJ/DEA and Masters Pharmaceutical Inc.52




 49
    Settlement and Release Agreement and Administrative Memorandum of Agreement, entered into May
 2, 2008, between DEA and McKesson Corporation, available at
 https://www.dea.gov/sites/default/files/2018-06/Pharmaceutical%20Agreements%20-
 %20McKesson%20-%202008_0.pdf (last visited August 3, 2020).
 50
   United States Attorney’s Office. (October 2, 2008) Cardinal Health Inc., Agrees to Pay $34 Million to
 Settle Claims That It Failed to Report Suspicious Sales of Widely-Abused Controlled Substances [Press
 Release]. Available at https://www.justice.gov/archive/usao/co/news/2008/October08/10_2_08.html (last
 visited August 3, 2020).
 51
   United States Department of Justice, (January 12, 2009) Rite Aid Corporation and Subsidiaries Agree
 to Pay $5 Million in Civil Penalties to Resolve Violations in Eight States of the Controlled Substances Act
 [Press Release]. Available at https://www.justice.gov/opa/pr/rite-aid-corporation-and-subsidiaries-agree-
 pay-5-million-civil-penalties-resolve-violations (last visited August 3, 2020).
 52
   Settlement and Release Agreement and Administrative Memorandum of Agreement between DEA and
 Masters Pharmaceutical, Inc. Available at https://www.dea.gov/sites/default/files/2018-
 06/Pharmaceutical%20Agreements%20-%20Masters%20Pharmaceutical%20-%202009.pdf (last visited
 August 3, 2020).
                                                     25
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      11. June 15, 2010, Order to Show Cause – Immediate Suspension Order served to The Harvard
          Drug Group, Livonia, MI.53

      12. June 10, 2010, DEA suspended Sunrise Wholesale, Inc. from selling controlled substances
          for supplying excessive amounts of oxycodone to “pill mills.”54

      13. October 13, 2010, settlement was reached between the DEA and CVS Pharmacy, Inc.
          resolving the criminal investigation of unlawful distribution and sales of pseudoephedrine
          (“PSE”) by CVS/pharmacy stores in Southern California and Nevada and a CVS/pharmacy
          distribution center in Southern California. CVS paid a penalty of $75,000,000.00 and
          forfeited $2.6 million in profits for a total payment of $77.6 million.55

      14. April 18, 2011, Harvard Drug Group agreed to pay $8,000,000 in civil penalties as part of
          settlement with DEA related to allegations that Harvard failed to have in place an effective
          system for identifying suspicious orders of controlled substances, violating the Controlled
          Substances Act.56

      15. June 10, 2011, Order to Show Cause and Immediate Suspension Order served on
          Keysource Medical Inc. Keysource Medical distributed 48 million doses of oxycodone
          products to Florida Pharmacies.57




 53
   Administrative Memorandum of Agreement between DEA and The Harvard Drug Group, LLC dated
 March 28, 2011. Available at https://www.dea.gov/sites/default/files/2018-
 06/Pharmaceutical%20Agreements%20-%20Harvard%20Drug%20Group%20-%202011.pdf (last visited
 August 3, 2020).
 54
   LaMendola, Bob. “DEA accuses Sunrise company of supplying painkillers to ‘pill mills.’” Sun-
 Sentinel. June 22, 2010. Available at https://www.sun-sentinel.com/business/fl-xpm-2010-06-22-fl-drug-
 wholesaler-stopped-20100621-story.html (last visited August 3, 2020).
 55
   United States Attorney’s Office. (October 14, 2010) CVS Admits Illegally Selling Pseudoephedrine to
 Criminals who made Methamphetamine, Agrees to Pay $77.6 Million to Resolve Government
 Investigation [Press Release]. Available at
 https://www.justice.gov/archive/usao/cac/Pressroom/pr2010/148.html (last visited August 3, 2020).
 56
   United States Drug Enforcement Administration. (April 18, 2011) Michigan Based Pharmaceutical
 Wholesaler Harvard Drug Group to Pay $8,000,000 in Settlement [Press Release]. Available at
 https://www.dea.gov/press-releases/2011/04/18/michigan-based-pharmaceutical-wholesaler-harvard-
 drug-group-pay-us (last viewed on August 3, 2020).
 57
   United States Drug Enforcement Administration. (June 10, 2011) Cincinnati Pharmaceutical Supplier’s
 DEA License Suspended [Press Release]. Available at https://www.dea.gov/press-
 releases/2011/06/10/cincinnati-pharmaceutical-suppliers-dea-license-suspended (last visited August 3,
 2020).
                                                   26
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      16. July 6, 2011, Order Denying Plaintiff’s (Keysource Medical) Motion for Temporary
          Restraining Order and for Preliminary Injunction.58

      17. February 2, 2012, the DEA issued an Order to Show Cause and Immediate Suspension
          Order against the Cardinal Health Lakeland, Florida Distribution Center for failure to
          maintain effective controls against diversion of oxycodone.59

      18. March 7, 2012, Memorandum of Opinion [Doc. 32] from the United States District Court
          for the District of Columbia, Cardinal Health, Inc., vs. Eric H. Holder, Jr., Civil Action
          No. 12-185 (RBW), denying Cardinal’s challenge of the DEA’s Order to Show Cause and
          Immediate Suspension of Registration of Cardinal’s Lakeland Distribution Center. 60

      19. April 5, 2012, A United States Attorney Office press release stated Keysource Medical
          agreed to pay a $320,000 fine for failing to guard against diversion of controlled
          substances. and states Keysource Medical agreed to voluntarily surrender its DEA
          registration in September 2011.61

      20. May 14, 2012, Cardinal Health entered into an Administrative MOA with the DEA, which,
          among other things, stipulated that its compliance with the terms of the 2008 MOA was
          inadequate in certain respects and that its Lakeland, Florida Distribution Center’s DEA
          registration would be suspended for two years.62

      21. March 28, 2013, a settlement was reached among the United States and the DEA and CVS
          Pharmacy, Inc and Oklahoma CVS Pharmacy, L.L.C., to resolve claims that CVS violated
          the CSA by: (1) filling prescriptions for certain prescribers whose DEA registration
          numbers were not current or valid; (2) entering and maintaining invalid DEA registration
          numbers on CVS dispensing records for certain prescriptions, which were at times provided
          to state prescription drug monitoring programs; and (3) entering and maintaining CVS

 58
    Keysource Medical, Inc., v. Attorney General of the United States, et al., No. 1:2011cv00393, Order
 Denying Plaintiff’s Motion for Temporary Restraining Order and for Preliminary Injunction [Doc. 22],
 available at https://law.justia.com/cases/federal/district-courts/ohio/ohsdce/1:2011cv00393/147299/22/
 (last visited August 3, 2020).
 59
  2012 Administrative Memorandum of Agreement entered into between DEA and Cardinal Health,
 CAH_MDL2804_02465982.
 60
   Copy of Order available at https://www.govinfo.gov/content/pkg/USCOURTS-dcd-1_12-cv-
 00185/pdf/USCOURTS-dcd-1_12-cv-00185-0.pdf (last visited August 3, 2020).
 61
    United States District Attorney’s Office, Southern District of Ohio. (April 5, 2012) Cincinnati
 Pharmaceutical Distributor to Pay $320,000 for Failing to Guard Against Diversion of Controlled
 Substances [Press Release]. Available at https://www.justice.gov/archive/usao/ohs/news/04-05-12.html
 (last visited August 3, 2020).
 62
  2012 Administrative Memorandum of Agreement entered into between DEA and Cardinal Health,
 CAH_MDL2804_02465982.
                                                   27
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           dispensing records including prescription vial labels that identify a non-prescribing
           provider as the prescribing provider for certain prescriptions. CVS paid a fine of
           $11,000,000.00.63

       22. In July, 2013, the DEA initiated a regulatory investigation at CVS Indiana. After the
           investigation and after the DEA had informally indicated its displeasure with what it found
           at CVS, Mark NiCastro, the CVS Indiana Director of Operations, sent correspondence to
           the DEA. In the correspondence, Mr. NiCastro attempted to explain to the DEA why the
           CVS Indiana distribution center had never reported a suspicious order and he wrote:

                   “In your recent email, you asked for information concerning CVS store
                   orders that have been stopped outside of Indiana. Across the chain, the CVS
                   SOM process has stopped and cancelled orders. I have attached the dates
                   and the offices to which we reported these orders. As we discussed during
                   the DEA audit and during our recent phone call, it is important to remember
                   that CVS is shipping only to its own stores, and there are additional due
                   diligence processes in our pharmacy operations group which monitor the
                   dispensing of prescriptions across the entire CVS chain to ensure
                   appropriate dispensing by stores. This is a primary contributor to the limited
                   number of suspicious orders identified through our distributor SOM
                   process.”64

       23. July 17, 2013, Walgreens agreed to pay $80 Million in civil penalties related to
           allegations that Walgreens was filling numerous prescriptions that Walgreens employees
           knew, or should have known, were not issued for a legitimate medical purpose.65

       24. June 19, 2014, In Regards to Masters Pharmaceutical the Administrative Law Judge issued
           a Recommended Decision in regards to the Order to Show Cause Hearing that occurred on
           February 24 through 28 and March 3 through 4, 2014. 66

       25. On September 2, 2014, a settlement was reached among the United States and the DEA
           and CVS Pharmacy, Inc. The settlement resolved claims against CVS for filling from April
           1, 2012 to July 31, 2012, 153 prescriptions at eight different pharmacies, written by Dr.



 63
      CVS-MDLT1-000060822 – 000060829.
 64
      See NiCastro Depo. at 204-207; Ex. 42.
 65
   United States Attorney’s Office, Eastern District of New York. (July 17, 2013) Eastern District U.S.
 Attorney’s Office Participates in Record Settlement: Walgreens Agrees to Pay $80 Million in Civil
 Penalties Under the Controlled Substnaces Act [Press Release]. Available at
 https://www.justice.gov/usao-edny/pr/eastern-district-us-attorney-s-office-participates-record-settlement-
 walgreens-agrees (last visited August 3, 2020).
 66
      Masters Pharm., Inc., 80 Fed. Reg. 55,418-55,501 (Drug Enf’t Admin. Sept. 15, 2015).
                                                     28
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           Pedro Garcia during a time period for which his Texas Department of Public Safety
           Controlled Substances registration was expired. CVS paid a $1,912,500 fine.67

       26. On May 12, 2015, a settlement was reached among the United States and the DEA and
           CVS Health and all of its subsidiaries and affiliates. The settlement resolved claims that
           CVS failed “to fulfill its corresponding responsibility to ensure that CVS dispensed
           controlled substances only pursuant to prescriptions issued for legitimate medical purposes
           by practitioners acting in the usual course of their professional practice, as required by 21
           CF.R. §1306.64.” The Settlement also covered CVS’s “Florida Distribution Center[s]
           failure to maintain effective controls against the diversion of controlled substances into
           other than21 U.S.C. §823(e)” and failure to timely detect and report suspicious orders of
           controlled substances. CVS's conduct complained of is set forth in the February 2, 2012
           Orders to Show Cause and Immediate Suspension Orders issued to CVS stores 219 and
           5195. CVS paid a fine of $22,000,000.00.68

       27. On July 24, 2015, a settlement was reached among the United States and the DEA and
           CVS Health to resolves claims that from May 1, 2013 through July 30, 2014, CVS failed
           to keep complete and accurate records of Schedule II controlled substances at a CVS store
           in Massachusetts in violation of 21 U.S.C. § 827(a)(3) and 21 C.F.R. §§ 1304.11(e)(3)(i),
           1304.21, and 1304.22; and that CVS failed to report a March 14, 2014 robbery to the DEA
           within one business day in violation 21 C.F.R. § 1301.76(b). CVS paid a $50,000 fine.69

       28. On August 7, 2015, a settlement was reached among the United States, the DEA and CVS
           Health. The settlement resolved claims that between March 3, 2010 and August, 2015
           CVS stores in Rhode Island (1) filled prescriptions with invalid prescriber DEA number
           (“knew or should have known” in violation of 21 U.S.C. § 842(a)(1) and 21 C.F.R. §
           1306.04); (2) filled prescriptions for Schedule III controlled substances written by
           psychiatric nurse practitioners who were not authorized under state law or by terms of their
           DEA registration to issue such prescriptions in violation of 21 U.S.C. § 842(a)(1) and 21
           C.F.R. § 1306.03(a)(1); and (3) entering, creating, or maintaining CVS dispensing records
           in which the DEA registration numbers of non-prescribing practitioners, were substituted
           for the DEA registration numbers of prescribing practitioners in violation of 21 U.S.C. §
           842(a)(5) and 21 C.F.R. § 1306.24. CVS paid a $450,000 fine.70

       29. September 8, 2015, Masters Pharmaceutical – DEA Acting Administrator Chuck
           Rosenberg issued a Final Order revoking the DEA registration of Master Pharmaceutical
           Inc.71

 67
      CVS-MDLT1-00060907–000060914.
 68
      CVS-MDLT1-000060796–000060804.
 69
      CVS-MDLT1-000099702–000099704.
 70
      CVS-MDLT1-000060847–000060855.
 71
      Masters Pharm., Inc., 80 Fed. Reg. 55,418-55,501 (Drug Enf’t Admin. Sept. 15, 2015).
                                                     29
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       30. On December 18, 2015, a settlement was reached among the United States and the DEA
           and CVS Pharmacy, Inc. The settlement was the result of a DEA Inspection that was
           performed after CVS reported the theft of over 40,000 dosages of controlled substances by
           two former employees from a Texas CVS pharmacy. The inspection that was started due
           to theft demonstrated that CVS again failed its CSA obligations. CVS paid a fine of
           $345,000.00.72

       31. On December 31, 2015, the DEA issued a letter of admonishment for violations in
           distributing hydrocodone combination products (HCPs) at the CVS Indiana distribution
           center. This DEA finding was the result of the July 2013 investigation. Before the
           admonishment, Agent Gillen of the DEA sent an email to Mr. Nicastro outlining that CVS
           Store No. 6880 ordered 1,888,600 dosage units of hydrocodone between January 1, 2012
           and October of 2013. The pharmacy is located in Vincennes, IN with a population of
           approximately 18,000 people. Additionally, he indicated that Store No. 6757 ordered
           2,012,400 of hydrocodone tablets for Columbus, IN, which has a population of 45,000.
           Agent Gillen then writes: “Both stores have purchased a large quantity of Hydrocodone
           given their population.”73

       32. On February 12, 2016, settlement was reached among the United States and the DEA and
           CVS Pharmacy, Inc. In the settlement, CVS acknowledged that between 2008 and 2012,
           “certain CVS/pharmacy retail stores in Maryland did dispense certain controlled
           substances in a manner not fully consistent with their compliance obligations under the
           CSA…” CVS paid a fine of $8,000,000.00.74

       33. June 30, 2016, CVS agreed to pay $3.5 Million to resolve allegations that 50 of its
           stores violated the Controlled Substances Act by filling forged prescriptions for
           controlled substances – mostly addictive painkillers – more than 500 times between 2011
           and 2014.75

       34. On October 20, 2016, a settlement was reached among the United States and CVS
           Pharmacy, Inc. The settlement resolved claims from an investigation that the DEA began
           in January 2016. The DEA investigated two CVS stores in Connecticut. Although the
           offending conduct occurred after CVS quit distributing HCPs, it is indicative of the overall
           pattern and practice of CVS. The settlement resolved claims that CVS failed to keep paper

 72
      CVS-MDLT1-00060915-00060921.
 73
      See CVS-MDLT1-00008014-00008015; CVS-MDLT1-000076135.
 74
      CVS-MDLT1-000060805-00060811.
 75
   United States District Attorney’s Office, District of Massachusetts. (June 30, 2016) CVS to Pay $3.5
 Million to Resolve Allegations that Pharmacists Filled Fake Prescriptions [Press Release]. Available at
 https://www.justice.gov/usao-ma/pr/cvs-pay-35-million-resolve-allegations-pharmacists-filled-fake-
 prescriptions (last visited August 3, 2020).
                                                    30
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          Schedule III-V prescriptions either in a separate prescription file or readily retrievable from
          other prescription records, which allegedly violated 21 U.S.C. 827(b)(2)(A) and (B) and
          21 C.F.R. 1304.04(h)(4) and failed to keep Schedule III-V purchase invoices on at least 31
          occasions in separate or in a readily retrievable manner from all other records of the
          pharmacy, which allegedly violated 21 U.S.C. 827(b)(2)(A) AND (b) AND 21 C.F.R.
          1304.04(h)(3). CVS paid a $600,000 fine.76

       35. December 22, 2016, Consent Order entered into between the United States and Kinray,
           LLC, a subsidiary of Cardinal Health.77

       36. December 23, 2016, Cardinal Health agreed to pay a $34 million civil penalty to the DEA
           to resolve allegations that it failed to report suspicious orders and meet its obligation under
           the CSA in Florida, Maryland, New York, and Washington.78

       37. January 5, 2017, McKesson Corporation entered into an Administrative MOA with the
           DEA wherein it agreed to pay a $150 million civil penalty for violation of the 2008 MOA
           as well as failure to identify and report suspicious orders at its facilities in Aurora,
           Colorado; Aurora, Illinois; Delran, New Jersey; LaCrosse, Wisconsin; Lakeland, Florida;
           Landover, Maryland; La Vista, Nebraska; Livonia, Michigan; Methuen, Massachusetts;
           Santa Fe Springs, California; Washington Courthouse, Ohio; and West Sacramento,
           California.79

       38. January 18, 2017, Walgreens agreed to pay $200,000 following an investigation by the
           Massachusetts Attorney General’s Office, which found that Walgreens failed to track the
           opioid use of high-risk patients in the state’s Medicaid program.80




 76
      CVS-MDLT1 000060830 – 000060838.
 77
   United States of America v. Kinray, LLC, Case #16 Civ. 8767-RA. Available at
 https://www.justice.gov/usao-sdny/press-release/file/920806/download (last visited August 3, 2020).
 78
   United States Attorney’s Office, Middle District of Florida. (December 23, 2016) United States
 Reaches $34 Million Settlement with Cardinal Health for Civil Penalties Under the Controlled
 Substances Act [Press Release]. Available at https://www.justice.gov/usao-mdfl/pr/united-states-reaches-
 34-million-settlement-cardinal-health-civil-penalties-under (last visited August 3, 2020).
 79
   United States Department of Justice. (January 17, 2017) McKesson Agrees to Pay record $150 Million
 settlement for Failure to Report Suspicious Orders of Pharmaceutical Drugs [Press Release]. Available at
 https://www.justice.gov/opa/pr/mckesson-agrees-pay-record-150-million-settlement-failure-report-
 suspicious-orders (last visited August 3, 2020).
 80
   Associated Press, “Walgreens to pay $200k, change opioid procedures,” The Washington Times,
 January 19, 2017, available at https://www.washingtontimes.com/news/2017/jan/19/walgreens-to-pay-
 200k-change-opioid-procedures/) (last visited August 3, 2020).
                                                     31
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       39. March 9, 2017, Rite Aid paid $834,200 to the United States to settle claims that Rite Aid
           pharmacies in Los Angeles, California dispensed and/or recorded controlled substances
           using a medical practitioner’s incorrect or invalid DEA registration number.81

       40. June 30, 2017, the United States Court of Appeals for the District of Columbia Circuit
           published an opinion denying Masters Pharmaceutical’s petition of review and upholding
           the Final Order.82

       41. On July 5, 2017, a settlement was reached among the United States and the DEA and CVS
           Pharmacy, Inc. The settlement was the result of an investigation began by the DEA as a
           result of “an increase in the number of thefts and explained losses of Hydrocodone…” at
           numerous Eastern District of California CVS retail stores. The settlement resolved claims
           for the following misconduct: 1) failure to “provide effective controls and procedures to
           guard against theft and diversion of controlled substances (see 21 C.F.R. §1301.71(a)) and
           failure to notify DEA of certain thefts or significant losses of controlled substances within
           one business day of the discovery (see 21 C.F.R. §1301.74(c)); 2) failure to maintain
           schedule 3-5 invoices (21 CFR §1304.04(a)); 3) failure to maintain Schedule 3-5 records
           separate from non-controlled substance records (21 CFR §1304.04 (h)(3)); 4) failure to
           conduct a Biennial Inventory on one specific day (21 CFR §1304.11(c)); 5) failure to
           maintain complete and accurate records (21 CFR §1304.21(a)); 6) failure to record the date
           of acquisition of controlled substances (21 CFR §1304.22(c), 1304.22(a)(2)(iv); 7) failure
           to record the amount received on Schedule 3-5 invoices (21 CFR §1304.22(c)); 8) failure
           to record the amount received and the date received on DEA 222 forms (21 CFR
           §1305.13(e)); 9) failure to maintain DEA-222 forms (21 CFR §1305. 17(a)); and 10) failure
           to maintain DEA-222 forms separate from other records (21 CFR §1305. 17(c)). CVS
           admitted that between April 30, 2011 and April 30, 2013 the retail stores violated their
           recordkeeping obligations, but it denied that the recordkeeping obligations caused any
           diversion. CVS paid a fine of $5,000,000.00.83

       42. July 7, 2017, the Department of Justice/DEA and Mallinckrodt entered into a
           Memorandum of Agreement to resolve allegations that Mallinckrodt failed to maintain
           effective controls to prevent diversion and to detect and report suspicious orders.84



 81
    United States Attorney’s Office, Central District of California. (March 9, 2017) Rite Aid Corporation
 Pays $834,300 to Settle Allegations of Violating the Controlled Substances Act [Press Release]. Available
 at https://www.justice.gov/usao-cdca/pr/rite-aid-corporation-pays-834200-settle-allegations-violating-
 controlled-substances-act (last visited August 3, 2020).
 82
      Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206 (D.C. Cir. 2017).
 83
      CVS-MDLT1 000060856-000060871.
 84
   Administrative Memorandum of Agreement between DEA and Mallinckrodt, plc and its subsidiary
 Mallinckrodt, LLC, dated July 7, 2017. Available at https://www.justice.gov/usao-edmi/press-
 release/file/986026/download (August 3, 2020).
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       43. January 24, 2018, the U.S. Attorney's Office entered into a settlement with Rite Aid for
           improper sales of the meth precursor pseudoephedrine.85

       44. On June 15, 2018, a settlement was reached among the United States, the DEA and CVS
           Health. The settlement resolved claims that between February, 2013 and January, 2015,
           CVS failed to report to the DEA in writing, within one business day of discovery, thefts or
           significant losses of controlled substances, including hydrocodone, from certain Long
           Island CVS Pharmacy retail stores, as required by 21 C.F.R. §1301.76(b). CVS agreed to
           pay a $1,500,000.00 fine. (CVS-MDLT1-000060839 – 000060846).

       45. On July 29, 2018, a settlement was reached among the United States and the DEA and
           CVS Pharmacy, Inc., to resolve claims related to a November 2013 inspection of a CVS
           Pharmacy in Calera, Alabama. The settlement resolved claims that CVS violated the CSA,
           as a result of violations of : (1) 21 C.F.R. 1305.13(c) (requirement to record the amount
           received and/or the date received on DEA 222 forms); (2) 21 C.F.R. 1304.21(a)
           (requirement to maintain complete and accurate records); and (3) 21 C.F.R. 1304.21(a)
           and/or (d) (requirement to document the number of packages received or the date package
           received on Schedule III through V purchase invoices). CVS agreed to pay a $1,000,000
           fine.86

       46. August 21, 2018, CVS agreed to pay $1 Million to settle allegations that CVS stores in
           Alabama failed to keep adequate records in violation of the Controlled Substances Act.87

       47. December 31, 2018, the DEA and the Rhode Island Attorney General announced a
           $300,000 settlement with Rite Aid for filling prescriptions of Schedule III controlled
           substances in excess of statutory maximums.88

          K. INDUSTRY GUIDELINES - HEALTHCARE DISTRIBUTION ALLIANCE


 85
   United States Attorney’s Office, Southern District of West Virginia. (January 24, 2018) U.S. Attorney’s
 Office enters settlement with Rite Aid based on improper sales of meth precursor pseudoephedrine [Press
 Release]. Available at https://www.justice.gov/usao-sdwv/pr/us-attorneys-office-enters-settlement-rite-
 aid-based-improper-sales-meth-precursor (last visited August 3, 2020).
 86
      CVS-MDLT1-000060812 –000060821.
 87
   United States Attorney’s Office, Northern District of Alabama. (August 21, 2018) CVS Pharmacy Pays
 $1 Million Penalty in Settlement with DOJ for Violations of the Controlled Substances [Press Release].
 Available at https://www.justice.gov/usao-ndal/pr/cvs-pharmacy-pays-1-million-penalty-settlement-doj-
 violations-controlled-substances-act (last visited August 3, 2020)
 88
   United States Drug Enforcement Administration. (December 31, 2018) DEA and Attorney General
 Kilmartin announces $300,000 settlement with Rite Aid for filling prescriptions of Schedule III controlled
 substances in excess of statutory maximums [Press Release]. Available at https://www.dea.gov/press-
 releases/2018/12/31/dea-and-attorney-general-kilmartin-announces-300000-settlement-rite-aid (last
 visited August 3, 2020).
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        A large number of drug distributors and manufacturers are members of The Healthcare
 Distribution Alliance (HDA), a trade organization that provides industry information, as well as
 guidance on best practices, industry standards, regulation/legal changes, and other related services.
        A review of the website for The Healthcare Distribution Alliance (HDA) provided the
 following history of the organization.89 The Western Wholesale Druggists’ Association (WWDA)
 was formed on March 15, 1876 and consisted of 95 wholesale druggists. In 1882 the WWDA
 became the National Wholesale Druggists Association (NWDA) that was representing distribution
 companies as an advocate in the distribution industry.
         In 2000 the NWDA organization was renamed the Healthcare Distribution Management
 Association (HDMA). The website stated the organization’s name change reflected the
 “Association’s vision of a progressively more efficient and effective distribution system.” In 2016
 the HDMA changed names to the Healthcare Distribution Alliance (HDA). The website states the
 following, “Now headquartered in Arlington, Virginia, HDA represents 36 distribution companies
 — national, regional and specialty — as well as more than 130 manufacturer and more than 50
 service provider/international members, respectively. These members serve more than 200,000
 licensed healthcare providers, delivering over 15 million lifesaving products to these outlets every
 day. But just as in 1876, HDA’s mission has remained the same, which is to protect patient safety
 and access to medicines through safe and efficient distribution; advocate for standards, public
 policies and business processes that enhance the safety, efficiency and value of the healthcare
 supply chain; and, create and exchange industry knowledge and best practices.”
           1. NWDA 1984 Suspicious Order Monitoring Policy
        A review of Cardinal Health discovery material revealed a thirty-eight page document from
 1984 by NWDA which was a draft outline of a suspicious order monitoring system. The
 documents can be found in the Cardinal Health discovery material in a group of documents that
 begin with a cover page containing, “NWDA Suspicious Order Monitoring System” with this
 stamped information, “Received Jun 21 1993 by Folsom.”90
         The first seven pages of the document describes some of the elements of a suspicious order
 monitoring system. These seven pages do not contain a date indicating when the system was
 designed. There are two DEA letters in the documents that do identify a date. These DEA letters
 provide comment and guidance to NWDA in regards to the suspicious order monitoring system.
 The first DEA letter was addressed to Mr. Ronald J. Streck, Vice President of Government Affairs
 (NWDA), and signed by G. Thomas Gitchel, Acting Chief Diversion Operations Section (DEA).
 The letter contained a stamped date of April 27, 1984, which details a meeting between the two on
 April 13, 1984. This letter stated the DEA reviewed a draft form of the suspicious order monitoring
 system. This DEA letter contained the following comment:



 89
      See https://www.hda.org/ (last viewed on August 3, 2020).
 90
  The group of documents described in this section can be found in the Cardinal Health discovery
 material with a Bates stamp range of CAH_MDL2804_01465723 to CAH_MDL2804_01465761.
                                                      34
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          The NWDA’s draft format for a suspicious order monitoring system provides an
          excellent framework for distributor registrants to “…design and operate a system
          to disclose to the registrant suspicious orders of controlled substances.” (21 CFR
          1301.74(b).) However, I am compelled to note, as I have in our previous
          discussions, that any automated data compliance processing system may provide
          the means and mechanism for compliance when the data is carefully reviewed and
          monitored by the wholesaler. As previously discussed, an after-the-fact computer
          printout of the sales data does not relieve a registrant of its responsibility to report
          excessive or suspicious orders when discovered. I am enclosing a copy of your
          draft with my pen-and-ink changes.”91
        The second DEA letter was addressed to Mr. Ronald J. Streck, Vice President of
 Government Affairs (NWDA), signed by G. Thomas Gitchel, Acting Chief Diversion Operations
 Section (DEA) that was stamped with a date of May 14, 1984, which appeared to be a follow-up
 communication from the April 27, 1984 letter. This letter details that there was an NWDA meeting
 that was attended by DEA employee David Walkup. This DEA letter contained the following
 comment:
          I want to assure you that DEA fully supports NWDA’s effort to introduce a uniform
          reporting system among its members. This system, as proposed, will meet the
          reporting requirements of 21 CFR 1301.74(b). However, I want to make it clear
          that the submission of a monthly printout of after-the-fact sales will not relieve a
          registrant from the responsibility of reporting excessive or suspicious orders. DEA
          has interpreted “orders” to mean prior to a shipment.92
        The background section of the system details it was created in co-operation with the DEA.
 Further, the document states that the DEA may be providing some variances and limits that would
 be incorporated into the suspicious order monitoring system.
         On page 7 of the suspicious order monitoring system document is “Section IX” that
 contains the following statement: “Single orders of unusual size or deviation must be reported
 immediately. The submission of a monthly printout of after-the-fact sales will not relieve a
 registrant from the responsibility of report these excessive or suspicious orders. DEA has
 interpreted ‘orders’ to mean prior to a shipment.” This statement along with the letter from DEA
 is an important communication that shows that the DEA was requiring the suspicious order
 monitoring system to identify single orders of controlled substances that must be reported
 immediately, prior to being shipped.
          2. 2008 Healthcare Distribution Management Association (HDMA) Industry Compliance
             Guidelines: Report Suspicious Orders and Preventing Diversion of Controlled
             Substances.



 91
      CAH_MDL2804_01465723, 01465732.
 92
      CAH_MDL2804_01465723, 01465734.
                                                    35
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          In 2008, the HDMA posted on their website industry compliance guidelines that were
 titled, “Reporting Suspicious Orders and Preventing Diversion of Controlled Substances.” The
 introduction of the document contained this comment:
          At the center of a sophisticated supply chain, distributors are uniquely situated to
          perform due diligence in order to help support security of controlled substances
          they deliver to their customers. Due Diligence can provide a greater level of
          assurance that those who purchase CS from distributors intend to dispense them for
          legally acceptable purposes. Such due diligence can reduce the possibility that
          controlled substances within the supply chain will reach locations they are not
          intended to reach.93
         On October 17, 2008, DEA Chief Counsel Attorney Wendy H. Goggins sent a written
 statement to HDMA President and CEO John M. Gray commending the HDMA for their efforts
 to assist their members in fulfilling the obligations regarding the Controlled Substance Act and
 corresponding regulations.94
        The HDMA compliance guidelines document contains a general framework for a basic
 suspicious order monitoring system.95 The document contains the following elements with
 accompanying suggested guidelines:
          1.     Know Your Customer Due Diligence
          2.     Monitoring for Suspicious Orders
          3.     Suspend/Stop an Order of Interest Shipment
          4.     Investigation of Orders of Interest
          5.     File Suspicious Order of Interest
          6.     Employees, Training and Standard Operating Procedures (SOPs)
          7.     Additional Recommendations
          8.     Glossary of Abbreviations
         Although there are several areas or concerns which might render a suspicious order
 monitoring system less effective, the guidance provided by HDMA does contain several elements
 that are consistent with compliance with 21 C.F.R. Section 1301.71(a) and 1301.74(b). Some of
 the areas of guidance are the following:




 93
   February 10, 2012 Declaration of Joseph Rannazzisi, CAH_MDL_PRIORPROD_DEA12_00014479,
 00014512.
 94
      CAH_MDL_PRIORPROD_DEA12_00000825.
 95
      CAH_MDL_PRIORPROD_DEA12_00000826.
                                                  36
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             1.   Recommending distributors conduct thorough due diligence investigations that are
                  documented and retained is essential in establishing a customer and providing a
                  history for any further compliance actions or investigations.96
             2.   Providing guidance for a distributor to develop an electronic suspicious order
                  system as detailed in a standard operation procedure, although not required by
                  regulation, demonstrates HDMA recognizes the manual review of orders for
                  deviations in size, frequency, or pattern would render it ineffective.97
             3.   Separating customers by business activity or class of trade is an essential system
                  element. Further enhancement for monitoring and setting averages would be to
                  form subgroups by the size of the customer.98
             4.   Recommending of placing the controlled substances being monitored into groups
                  or families provides a starting point for setting an average and monitoring. Only
                  monitoring drug families and failing to evaluate the unusual order size, pattern, or
                  frequency of any specific drug within a drug family has a much higher probability
                  of failing to identify diversion of specific highly abused drugs.99
             5.   Thresholds may be set by using averages shipped to a customer’s facility that are
                  consistent with that class of customer. Threshold are recommended to be calculated
                  for single orders and average monthly orders per family, per customer, and class of
                  trade. Thresholds should utilize the information obtained in the due diligence
                  investigation. A sales history of a minimum of six months and a maximum of 24
                  months is recommended. Thresholds for new customer accounts should be
                  established at the lowest level indicated by the due diligence investigation. An
                  important component is the periodic review of cumulative orders for the customer
                  to evaluate purchasing trends. 100 Note: The use of a six-month average does not
                  provide a sufficient purchase history for establishing accurate thresholds.
             6.   A distributor should consider allowing use of alternative criteria, outside of the
                  suspicious order system, to be utilized to identify a suspicious order.101
             7.   On page 9, Section III in the section titled, SUSPEND/STOP AN ORDER OF
                  INTEREST SHIPMENT, there is clear guidance from HDMA of what action
                  should be taken by a distributor when an order exceeds a threshold which is
                  contained in the following statement, “If an order meets or exceeds a distributor’s
                  threshold, as defined in the distributor’s monitoring system, or is otherwise

 96
      CAH_MDL_PRIORPROD_DEA12_00000826, 00000829-00000832.
 97
      CAH_MDL_PRIORPROD_DEA12_00000826, 00000832.
 98
      CAH_MDL_PRIORPROD_DEA12_00000826, 00000833.
 99
      Id.
 100
       Id.
 101
       Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000834.
                                                   37
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                   characterized by the distributor as an order of interest, the distributor should not
                   ship to the customer, in fulfillment of that order, any units of the specific drug code
                   product as to which the order met or exceeded a threshold or as to which the order
                   was otherwise characterized as an order of interest.”102
             8.    Recommending that if an order meets or exceeds a threshold the distributor
                   examine the order further. The examination aids the distributor in deciding to either
                   fill the order and ship or to continue to hold the order. This section also states,
                   “Further examination will also aid in determining whether the and when to report
                   the order to DEA under 21 C.F.R. Section 1301.74(b).”103
             9.    The following statement is made in regard to an order of interest, “The drug or
                   drugs that cause an order to become an order of interest should not be shipped to
                   the customer placing the order while the order is an order of interest.”104
             12.   A customer interview should be conducted in regards to order. Any information
                   provided by the customer should be verified and documented.105
             13.   All investigation conducted by the distributor should be “fully documented,” and
                   all records retained in an appropriate section. A critical element of guidance states
                   the following, “The documentation should include a clear statement of the final
                   conclusion of the investigation, including why the order investigated was (or was
                   not) determined to be “suspicious.” The statement should be signed and dated by
                   the reviewer.”106
             15.   An order determined to be “suspicious” should be reported immediately upon being
                   so determined.107
             18.   The following guidance was provided for the content of the standard operating
                   policy:
                   a.     Describe how an initial review and investigation will be conducted;
                   b.     Reflect the distributor’s and its customers’ business conditions;
                   c.     Are sufficiently flexible to adjust the review/investigation to address the
                          individual product/order/customer circumstances that are likely to occur;



 102
       Id.
 103
       Id.
 104
       Id.
 105
       Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000835.
 106
       Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000836.
 107
       Id.
                                                     38
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                   d.     Include a process and/or guidance/criteria for making the final
                          determination that an order is, or is not, “suspicious”;
                   e.     Define a process for reporting to DEA under 21 C.F.R. Section 1301.74(b);
                          and
                   f.     Define a process for allowing release of a shipment, or cancellation of an
                          order, as appropriate.108
             19.   If a distributor concludes an order is suspicious after conducting an investigation it
                   is recommended the distributor make a determination whether it will subject future
                   orders from the same customer for the same drug product to more rigorous scrutiny
                   and/or consider whether to cease filling all future orders of that drug product or all
                   controlled substances.109
             L. DEA CHEMICAL HANDLERS MANUAL
         Cardinal Health (and others) have responded to discovery referencing the DEA’s Chemical
 Handlers Manual and/or the 1998 Reno Report as “guidance” provided by the DEA regarding its
 suspicious order monitoring system for Schedule II and III controlled substances, including
 prescription opiates.110 It is worth noting that these guidelines relate to “Listed Chemicals”, rather
 than Schedule II and III controlled substances, primarily focused on the sale of chemicals used to
 make illicit methamphetamine. “Suspicious orders” of Listed Chemicals are defined by 21 USC
 § 830(b)(1)(A) as orders of “extraordinary” size [based on a formula which generally multiples a
 monthly base weight average per base code by a multiplier (3x)]. Notably, the Chemical Handlers
 Manual also mandates:
             When a regulated person suspects that an order may be intended for illicit
             purposes, good practice requires that every reasonable effort be made to
             resolve those suspicions. In addition to making required reports, the
             transactions should not be completed until the customer is able to eliminate
             suspicions.111
 Relying upon a threshold of “extraordinary” size fails to detect orders of “unusual size” and is not
 compliant with 21 CFR 1301.74(b). Nor is shipping suspicious orders after reporting. Further,
 reliance on this threshold also does not detect orders of unusual pattern or frequency.
             M. U.S. HOUSE OF REPRESENTATIVES INVESTIGATION INTO OPIOID
                DISTRIBUTIONS IN WEST VIRGINIA



 108
       Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000837.
 109
       Id.
 110
   See, e.g., CAH_MDL_PRIORPROD_HOUSE_0002207;
 CAH_MDL_PRIORPROD_DEA07_01198690.
 111
       CAH_MDL_PRIORPROD_DEA07_01198690, 01198713.
                                                    39
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         In May 2017, the United States House of Representatives, Energy and Commerce
 Committee (E&C Committee), opened an investigation into allegations that large amounts of
 opioids were shipped by wholesale drug distributors to small-town pharmacies located in
 southwestern West Virginia over the last decade. The purpose of the investigation was to determine
 whether wholesale distributors played a role in the opioid crisis in West Virginia, “part of the
 epicenter of the nation’s opioid epidemic and the state with the highest drug overdose death rate
 in the country,”112 and to examine the efforts of the Drug Enforcement Administration’s response
 to the crisis. In December 2018, the E&C Committee published a report of their findings in a
 document titled, “Red Flags and Warning Signs Ignored: Opioid Distribution and Enforcement
 Concerns in West Virginia.”
         A major portion the E&C Committee report is spent detailing the conduct of the following
 five (5) wholesale distributors who were distributing opioids to pharmacies in West Virginia:

            a. AmerisourceBergen Drug Company
            b. Cardinal Health, Inc.
            c. McKesson Corporation
            d. H.D. Smith Wholesale Drug Company
            e. Miami Luken, Inc.

          The E&C Committee report detailed its investigation into wholesale distributors’ due
 diligence efforts, use of drug thresholds, suspicious order reporting, and shipping opioids to
 pharmacies despite the presence of red flags of diversion. The E&C Committee utilized company
 records and statements by company representatives to review each company’s due diligence
 efforts, which are essential in maintaining effective controls to prevent the diversion of controlled
 substances. The E&C Committee provided the following statement summarizing its findings:

            “Despite these processes and procedures, documents obtained during the
            Committee’s investigation showed, by large, a cursory due diligence process.

            The documents also showed little evidence that distributors considered, or
            requested additional explanation, when provided with information during the
            diligence process that should have raised a red flag. The Committee found
            instances where wholesale distributors established, or in some case, reestablished
            business relationships with questionable pharmacies despite the presence of
            multiple red flags.”113




 112
    United States, Congress, House, Committee on Energy and Commerce. Red Flags and Warning Signs
 Ignored: Opioid Distribution and Enforcement Concerns in West Virginia, December 19, 2018, p. 4
 (available    at     https://republicans-energycommerce.house.gov/wp-content/uploads/2018/12/Opioid-
 Distribution-Report-FinalREV.pdf) (last visited August 3, 2020).
 113
       Id. at p. 124.
                                                   40
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 The Committee’s findings regarding the distributors’ failures to adequately conduct and document
 due diligence efforts, are consistent with my own review of the documents, testimony, and due
 diligence files produced in this litigation by Cardinal, McKesson, and AmerisourceBergen.
         Additionally, the Committee’s findings with respect to the defendants’ distributions to
 pharmacies in Southwestern West Virginia are consistent with my review of defendants’
 distribution to pharmacies in the City of Huntington and Cabell County. I have asked SLCG to
 compile ARCOS data for prescription oxycodone and hydrocodone distributions to the West
 Virginia pharmacies identified in the Committee’s report.

                        Pharmacy                             Dosage Units114

                    Westside Pharmacy
                      Oceana, WV                                 7,538,690
                    DEA #BW9777559


              Family Discount Pharmacy, Inc.
                  360 Mount Gay Road
                                                                15,544,160
                     Mount Gay, WV
                    DEA #BF0660565


            Strosnider DBA Sav-Rite Pharmacy
                     50 Lincoln Street
                                                                13,169,550
                        Kermit, WV
                    DEA #BS7437064


                Hurley Drug Company, Inc.
                     210 Logan Street
                                                                 9,869,830
                     Williamson, WV
                    DEA #BH6954401


                Tug Valley Pharmacy, LLC
                     54 w. 2nd Ave.
                                                                 9,827,750
                    Williamson, WV
                    DEA #FT0251227

                                                                 2,307,700
                    Beckley Pharmacy

 114
       McCann Report, App. 10(B).
                                               41
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                 455 Stanaford Road
                    Beckley, WV
                 DEA #BB8263066


            Family Discount Pharmacy of
                   Stollings, Inc.
                 153 Stollings Ave.                                3,308,400
                    Logan, WV
                 DEA #BF1736567



         One or more of each of Cardinal Health, McKesson, and AmerisourceBergen distributed
 to these pharmacies between 2006 and 2014. As the E&C Committee found, the amount of opioids
 distributed to these pharmacies in tiny West Virginia towns was extremely disproportionate to
 what could be considered legitimate use. This volume, in addition to the failures identified by the
 E&C Committee with respect to the defendants’ due diligence, threshold setting processes, and
 suspicious order reporting support my opinion that Cardinal Health, McKesson, and
 AmerisourceBergen failed to maintain effective controls against the diversion of prescription
 opiates into other than legitimate medical, scientific, and industrial channels in violation of 21
 U.S.C.A. § 823(b)(1).
        N. MAINTENANCE OF EFFECTIVE CONTROLS AGAINST DIVERSION OF
           CONTROLLED SUBSTANCES
         Registrants engaged in actively distributing controlled substances must implement
 measures to comply with the legal and regulatory requirements. These measures should be
 documented as a standard operating policy for the company and be distributed to all relevant
 employees. These standardized policies should be designed by distributors and manufacturers to
 take the utmost precautions to prevent diversion by maintaining the “closed system” of
 distribution. Included below are some key components that one would expect to see in an
 operational system designed to maintain effective controls against diversion:
    ● Registrants must have a comprehensive system in place and conduct an investigation on a
      customer who will be purchasing controlled substances. The following are some of the
      activities utilized to establish a new customer:

            ○ The review to establish a new customer and begin distribution of controlled
              substances is a critical first step to ensures a potential customer has a business plan
              consistent with compliance with the Controlled Substances Act. The review should
              confirm the information provided by the potential customer is accurate. One
              commonly used procedure by distributors is to utilize a customer questionnaire
              which asks a series of questions similar to the following:

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                   ■   Past history of DEA registration to determine compliance history
                   ■   Check of state and local licensure compliance.
                   ■   Compliance history with state medical/pharmacy board
                   ■   Review the business plan to determine legitimacy of the customer
                   ■   Identify any affiliation with pain management doctors
                   ■   Review percentage of controlled substance business
                   ■   Identify any other distributors providing controlled substances
                   ■   Review the percentage of cash payments and insurance payments
                   ■   Review of pharmacy utilization reports
                   ■   On-site inspection of customer
                   ■   Internet search to determine any negative information

    ● 21 C.F.R. §1301.74(b) requires all manufacturers and distributors to design and operate a
      system to disclose to the registrant suspicious orders of controlled substances. This
      regulation states that suspicious orders include orders of an unusual size, orders deviating
      substantially for a normal pattern, and orders or an unusual frequency. The regulation
      further states that a registrant shall inform the local DEA Division Office of suspicious
      orders when discovered by the registrant. The regulation indicates it is the responsibility
      of the registrant to design and operate a suspicious order monitoring system. The design
      of a suspicious order system must clearly identify when a suspicious order is identified by
      the system. A system that establishes thresholds that are legitimate needs of a customer
      identified through a comprehensive “know your customer” should consider any orders
      exceeding that threshold as a suspicious order. The identified order should not be shipped
      and should be reported to the DEA. The subsequent shipping of that order would be after
      a due diligence investigation has determined the order is being shipped for legitimate use.
      An effective suspicious order monitoring system should include, but not be limited to, the
      following:

           ○ Customer Types – Customers should be placed into customer types based on the
             business activity identified through the due diligence documentation.
           ○ Scope of Practice – The system should monitor and/or restrict customers to only
             allow the ordering of controlled substances by schedule and type which have been
             identified as required for the legitimate medical needs of the practice.
           ○ Customer Tiers/Groups – Customers who have been placed into customer types
             should be segregated by size into a minimum of three groups, based on the volume
             of their ordering history as identified through the due diligence documentation.
           ○ Drug Types – To be effective, a suspicious order monitoring system should design
             drug types with more specificity that by drug group or drug code. Monitoring
             controlled substances only by the drug code or drug family is too broad and reduces
             the effectiveness of the system. Thresholds should also be designed for those
             controlled substances identified with a higher probability of being targeted for
             diversion.
           ○ Thresholds – A distributor must identify the amount of controlled substances
             required by a customer for the legitimate operation of their business based on the

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               registrant’s knowledge of the customers business model, due diligence
               investigation, and comparison of purchase amounts by other similar customers.
               Thresholds should be calculated based on the history of usage of a customer for a
               period of at least 12 months.
           ○   Population – The geographic distribution of controlled substances should be
               analyzed with relevant population information of available end users. The
               cumulative amount of controlled substances being distributed by a registrant to a
               geographic area or region should be monitored to ensure it is consistent with
               legitimate population consumption. Customers who identify activity of filling
               prescriptions from patients traveling from outside the area require a thorough due
               diligence type investigation including the review of dispensing records (without
               patient information) to confirm the legitimacy of the activity.
           ○   Pattern of Orders – Reviewing orders to determine if there are patterns of ordering
               of controlled and non-controlled drugs with a comparison with relevant industry
               information on the most frequently prescribed drugs. If the review reveals an
               ordering pattern that deviates from established levels or from what would be normal
               for another similarly situated customer, this could indicate potential diversion.
           ○   Pattern of Orders - Reviewing orders to determine if controlled substances are
               ordered in combinations of frequently abused drugs. As an example, purchasing
               the combination of oxycodone or hydrocodone products with Soma, Valium, and/or
               Xanax. The pattern of ordering of known highly abused controlled substances in
               comparison of other drugs can indicate diversion.
           ○   Frequency of Orders – Reviewing orders to determine if the frequency of orders for
               controlled substances has increased disproportionately for specific controlled
               substances that have been identified as being highly diverted.
           ○   Geographic Distribution – The density of like businesses in geographic areas should
               be reviewed. Further, there should be a comparison of like customers in similarly
               situated geographic areas for deviation of volume and/or pattern of controlled
               substance orders. The system should identify a large volume of controlled
               substances consistently being received from a customer(s) in a state, county and
               city/township that does not have the appropriate customer base density.

    ● A robust and well-documented due diligence program is key for every compliance system
      to identify suspicious orders of controlled substances. When orders of controlled
      substances are identified due to factors such as size, pattern, or frequency, those orders may
      only be shipped if any suspicion is dispelled after adequate due diligence is conducted, and
      it is determined that such orders are not likely to be diverted for illicit purposes. The
      elements and procedures involved in a due diligence compliance program for suspicious
      orders should be contained in a standard operation policy and should be readily available
      to all employees whose responsibilities touch on suspicious order monitoring.
      Characteristics of a robust due diligence program should include the following:

           ○ An established procedure and criteria for setting threshold quantities.


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          ○ The person or department who is responsible for approving threshold quantities is
            specifically identified.
          ○ A procedure for adjusting threshold quantities that requires thorough review and
            documentation.
          ○ Justification for the increase or decrease of thresholds documented by the registrant,
            and made after a review of factors such as the following:

                 ■ Analysis of historical orders from the customer as well as any previous
                   adjustments in thresholds and the justification previously provided;
                 ■ Analysis of the patient population serviced by the customer;
                 ■ Analysis of the physician population serviced by the customer;
                 ■ Analysis of the results of an adequate on-site customer review program;
                   and,
                 ■ Analysis of other factors that could indicate to the registrant whether or not
                   controlled substances are likely to be diverted for illicit purposes.

          ○ Compliance review programs that have independent authority from other corporate
            entities/divisions to review thresholds as well as to approve or disapprove
            customers or threshold adjustments.
          ○ Sales role (if any) in the compliance review program must be appropriately
            managed.
          ○ On-site review includes the acquisition and review of utilization report.
          ○ Request for threshold changes necessitates an on-site review.
          ○ The person(s) is specifically identified who is responsible for reporting suspicious
            orders to the DEA.
          ○ Orders reported as suspicious that are subsequently shipped by the registrant have
            sufficient due diligence review being conducted and documented prior to
            distribution.
          ○ The documentation of due diligence performed and the results thereof being
            retained
          ○ Suspicious orders also being reported to states where applicable.
          ○ Suspicious orders being reported as drug families and by individual drugs.
          ○ Sufficient training and education for all involved in the distribution of controlled
            substances.
          ○ Acquisition and review of prescriber reports to determine any unusual prescribing
            patterns or practices, to be analyzed for the following information:
                ■ A disproportionate ratio of controlled to non-controlled substances
                    prescriptions relative to the prescriber’s field of practice or local
                    population.
                ■ A prescriber issuing prescriptions for high volumes of controlled
                    substances or disproportionately large volumes of controlled substances
                    relative to the prescriber’s field of practice.
                ■ Large variances or sharp increases in controlled substances prescribing.

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                     ■ A high ratio of high dose or highly abused controlled substances
                       prescriptions issued by a prescriber when compared to other strengths of
                       the same drug type.
                     ■ Whether a practitioner or small number of practitioners are responsible for
                       issuing a large amount of controlled substances prescriptions that are
                       dispensed by the pharmacy.
                     ■ Prescriber who issues similar prescriptions of the same type, strength, and
                       quantity with the same directions for a large number of patients.
                     ■ Prescriptions issued by a prescriber whose practice is an unusual distance
                       from the pharmacy.
                     ■ Prescriptions issued for an unusual volume or pattern of
                       antianxiety/antidepressants along with opioids.
                     ■ A high percentage of controlled substances paid for with cash/credit cards.
                     ■ Practitioners who issue prescriptions for a “cocktail” of controlled
                       substances which are known in the medical and pharmacy professions as
                       being favored by drug-seeking individuals.
         Almost as essential as the due diligence being conducted is that efforts made to dispel
 suspicions and the results thereof are adequately documented and retained. Thorough
 recordkeeping and documentation of the steps taken to justify flagged orders are necessary not
 only to explain why decisions were made in any particular instance, but also to inform future
 decisions regarding flagged orders. One important aspect of every due diligence review should
 always be an examination of the historical transactions and information of the customer who
 placed the flagged order. Such an examination is necessary to evaluate trends over time and to
 make informed decisions about whether or not orders of controlled substances are likely to be
 diverted into illicit channels. For purposes of conducting a historical review of a customer when
 evaluating a flagged order, if prior due diligence investigations are not adequately documented
 and retained, they may as well have not occurred at all.115

          As explained above, the goal of suspicious order monitoring is to ensure that bulk orders
 of controlled substances are being shipped for legitimate purposes rather than being diverted for
 illicit purposes. A suspicious order monitoring system has a self-policing aspect with the twin
 aims of both stopping the shipment of orders at risk of diversion and investigating those who have
 placed orders that are identified as suspicious. Not shipping a suspicious order is only part of the
 equation. The other parts are investigating the buyer and the circumstances surrounding the order
 and, if necessary, reporting the suspicious order to the DEA. Any order that is suspicious requires
 action to dispel suspicion and confirm legitimacy. Otherwise the order should not ship. When a
 distributor neglects to dispel suspicion and ships the order anyway, the risk of diversion does not
 disappear when the order ships. For this reason, any future order or shipment to that particular


 115
    Thomas Prevoznik testified on behalf of the DEA that it would be “very hard to maintain effective
 controls” without maintaining and retaining due diligence files. See Depo. of Prevoznik (Vol III; May 17,
 2019), pp. 994-996.
                                                    46
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 pharmacy or buyer should not ship until an investigation of the initial suspicious order occurs,
 because there is an outstanding concern about the past shipment that has not been addressed.
 Otherwise, a distributor is potentially sending larger and larger quantities of controlled substances
 to a buyer that is under suspicion of being a diversion risk. The suspicious order monitoring system
 failures described above directly led to massive quantities of pills being shipped to buyers who
 had placed suspicious orders of controlled substances. These orders never should have shipped
 until after the suspicion of diversion was dispelled.

           IV.     Identifying Suspicious Orders Distributed in the City of Huntington and
                   Cabell County, West Virginia
         I have described in this report the ways in which Cardinal Health, McKesson, and
 AmerisourceBergen’s inadequate response to their statutory and regulatory requirements to
 maintain effective controls related to the sales of prescription opioids would potentially cause the
 diversion of these pills for non-medical use. I have reviewed six suspicious order methodologies,
 some of which were utilized by one or more of the defendants. These methodologies are identified
 in the Report of Craig J. McCann as “Maximum Monthly, Trailing Six-month Threshold,”
 “Trailing Six-month Maximum Monthly, Fixed After First Triggered Threshold,” “Twice Trailing
 Twelve-month Average,” “Three Times Trailing Twelve-month Average,” “Maximum 8,000
 Dosage Units Monthly,” and “Maximum Daily Dosage Units.” The purpose of each system was
 to identify suspicious orders that should not have been shipped unless the distributors’ due
 diligence eliminated the suspicion of diversion.
         With the exception of the method titled Trailing Six-month Maximum Monthly, Fixed
 After First Triggered Threshold,116 under each of these methodologies, once an order by a
 pharmacy is flagged and the distributor does not conduct sufficient due diligence to dispel the
 suspicion of diversion, each subsequent order by that pharmacy is also flagged. The failure to
 conduct adequate due diligence on the initial triggering order, means that all subsequent orders by
 that pharmacy are likewise suspicious. This is consistent with the testimony of Thomas Prevoznik
 who testified on behalf of the DEA that distributors should not ship a suspicious order and should
 terminate all future sales to that same customer until they can rule out that diversion is occurring.117
 This is also consistent with Cardinal Health’s statement in Cardinal Health, Inc. v. Holder, 1:12-
 cv-00185, that “as early as 2009” Cardinal’s policy was to “terminate controlled-substance sales
 to the customer and report the termination to DEA” if the “customer’s order could not be filled
 because it was suspicious[.]”118 Cardinal also trained its people on this very same approach. The
 slide below is from one of Cardinal’s training presentation in which they indicate that if a

 116
     Under the Trailing Six-month Maximum Monthly, Fixed After First Triggered Threshold, when a
 transaction causes the number of dosage units shipped to a pharmacy in a month to exceed the highest
 number of dosage units shipped to the pharmacy in any one of the six preceding months, the dosage units
 of highest month in the preceding six months becomes threshold which is then applied in all subsequent
 months.
 117
       Depo. of Thomas Prevoznik (Vol. II), 627:7-629:15.
 118
       CAH_MDL_PRIORPROD_DEA12_00014702, 719.
                                                     47
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 suspicious order is triggered it should be reported and the customer would be cut off altogether, or
 at least from purchasing controlled substances.119




         McKesson likewise stated in its SMP Operations Manual that its policy was to cease all
 controlled substance sales to a customer once an order by that customer was deemed suspicious.120
         Each method would have identified a significant volume of orders of opiates as shown in
 the tables below.
                        Cabell County and City of Huntington: 1996-2018121
       A. Maximum Monthly, Trailing Six-month Threshold

                                       Flagged Orders of                 Flagged Orders of
                                    Oxycodone (Dosage Units)         Hydrocodone (Dosage Units)
                                     11,610,920 (90.6% of total       20,621,360 (91.1% of total
          AmerisourceBergen
                                           dosage units)                    dosage units)


 119
       CAH_MDL2804_00227518, 587.
 120
       MCKMDL00409224, 239.
 121
       McCann Report, App. 7.
                                                 48
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                                 15,997,400 (93.1% of total    14,795,350 (82.5% of total
        Cardinal Health
                                       dosage units)                 dosage units)
                                 3,501,970 (87.9% of total     3,261,250 (87.4% of total
          McKesson
                                       dosage units)                 dosage units)


    B. Trailing Six-month Maximum Monthly, Fixed After First Triggered Threshold

                                   Flagged Orders of              Flagged Orders of
                                Oxycodone (Dosage Units)      Hydrocodone (Dosage Units)
                                 3,763,580 (29.4% of total     5,616,380 (24.8% of total
      AmerisourceBergen
                                       dosage units)                 dosage units)
                                 11,325,200 (65.9% of total    7,252,580 (40.5% of total
        Cardinal Health
                                       dosage units)                 dosage units)
                                  805,300 (20.2% of total      2,390,800 (64.0% of total
          McKesson
                                       dosage units)                 dosage units)


    C. Twice Trailing Twelve-month Average

                                   Flagged Orders of              Flagged Orders of
                                Oxycodone (Dosage Units)      Hydrocodone (Dosage Units)
                                 10,477,680 (81.8% of total    18,877,140 (83.4% of total
      AmerisourceBergen
                                       dosage units)                 dosage units)
                                 14,011,880 (81.5% of total    16,593,780 (92.6% of total
        Cardinal Health
                                       dosage units)                 dosage units)
                                 2,405,620 (60.4% of total     2,362,420 (63.3% of total
          McKesson
                                       dosage units)                 dosage units)


    D. Three Times Trailing Twelve-month Average

                                   Flagged Orders of              Flagged Orders of
                                Oxycodone (Dosage Units)      Hydrocodone (Dosage Units)
                                 8,360,740 (65.3% of total     15,701,930 (69.4% of total
      AmerisourceBergen
                                       dosage units)                 dosage units)
                                 9,567,580 (55.7% of total     14,957,360 (83.5% of total
        Cardinal Health
                                       dosage units)                 dosage units)

                                             49
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                                          1,005,320 (25.2% of total           1,245,640 (33.4% of total
               McKesson
                                                dosage units)                       dosage units)


        E. Maximum 8,000 Dosage Units Monthly

                                            Flagged Orders of                  Flagged Orders of
                                         Oxycodone (Dosage Units)          Hydrocodone (Dosage Units)
                                          10,446,280 (81.5% of total         21,679,760 (95.8% of total
          AmerisourceBergen
                                                dosage units)                      dosage units)
                                          13,274,080 (77.2% of total         16,159,150 (90.2% of total
             Cardinal Health
                                                dosage units)                      dosage units)
                                          2,098,560 (52.7% of total           2,484,640 (66.6% of total
               McKesson
                                                dosage units)                       dosage units)


        F. Maximum Daily Dosage Units

                                            Flagged Orders of                  Flagged Orders of
                                         Oxycodone (Dosage Units)          Hydrocodone (Dosage Units)
                                          12,459,020 (97.3% of total         22,582,020 (99.8% of total
          AmerisourceBergen
                                                dosage units)                      dosage units)
                                          16,527,880 (96.2% of total         17,688,100 (98.7% of total
             Cardinal Health
                                                dosage units)                      dosage units)
                                          3,713,000 (93.2% of total           3,648,650 (97.7% of total
               McKesson
                                                dosage units)                       dosage units)


         I have been asked to identify the number of opioid pills that entered Huntington and Cabell
 County unlawfully. This is an impossible task due to the defendants’ failure to comply with their
 Federal statutory and regulatory requirements.122 However, it is my opinion to a reasonable degree
 of professional certainty that applying the test set forth in Masters Pharmaceutical, Inc. v. Drug
 Enforcement Administration, 861 F.3d 206 (2017) provides a reasonable estimate and an initial
 trigger and first step to identifying orders of unusual size.123 See Methodologies A and B above.
 Pursuant to Masters, “as a matter of common sense and ordinary language, orders that deviate

 122
    This includes, but is not limited to, the requirement of the defendants to maintain effective controls
 against diversion, the reporting requirement, and the not shipping requirement. The detail of some of
 these failures is set out more completely below in the Distributor-specific sections of this report.
 123
       This approach does not take into consideration unusual pattern or frequency.
                                                       50
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 from a six-month trend are an ‘unusual’ and not ‘normal’ occurrence” Id. at 216. I further opine
 that the controlled substances identified by the application of this algorithm would more likely
 than not be diverted from its intended use.
         Based on my education, background, and experience, as well as my review of relevant
 documents, the absence of adequate distributor due diligence and failure to respond to indicators
 of suspicious orders as described in this report constitutes the Defendants’ failures to comply with
 the requirements of the Controlled Substances Act. It is my opinion that this misconduct led to
 the excess quantity of opiate pills flooding the illicit market in Huntington and Cabell County.
 Methodologies A and B above are designed to identify orders of “unusual size” pursuant to 21
 CFR 1301.74(b). Therefore, by definition, the orders identified by these methodologies are
 suspicious under the Controlled Substances Act and must be reported to the DEA. I have seen no
 evidence in the Defendants’ productions provided to me that the Defendants conducted adequate
 due diligence on the orders identified in Methodologies A and B or reported the orders to the DEA
 as required by law. It is foreseeable that failing to comply with the Controlled Substances Act,
 specifically 21 U.S.C. § 823 et al., and 21 C.F.R. 1301.74, enables the diversion of controlled
 substances.124 Congress has also declared that “[t]he illegal importation, manufacture, distribution,
 and possession and improper use of controlled substances have a substantial and detrimental effect
 on the health and general welfare of the American people.”125 Based on my education, background,
 and experience, it is my opinion, to a reasonable degree of professional certainty, that the pills
 identified in Methodology A and B were more likely than not diverted and used for an illicit
 purpose.
          My opinion on diversion is also supported by and consistent with other evidence in this
 case. West Virginia has the highest drug overdose death rate in the country.126 Jan Rader, Chief
 of the City of Huntington Fire Department, testified that people she has seen responding to
 overdose calls have told her that their use of opioid pills began with prescription pills obtained
 with a legal prescription and then moved to buying pills illegally.127 While Chief Rader testified
 that she sees all sorts of “prescription” opioids in her role, the most common types of opioids she
 sees on the street are hydrocodone and oxycodone.128 Captain Rocky Johnson, who worked for
 the Huntington Police Department for 28 years, focused on drug-related crimes from 2012 until
 his retirement in 2019, found that one of the primary illegal drugs he was seeing on the street in




 124
       Prevoznik Depo. (Vol. II), 642:3-643:1.
 125
       21 U.S.C. § 801(2).
 126
    United States, Congress, House, Committee on Energy and Commerce. Red Flags and Warning Signs
 Ignored: Opioid Distribution and Enforcement Concerns in West Virginia, December 19, 2018, p. 4
 (available    at     https://republicans-energycommerce.house.gov/wp-content/uploads/2018/12/Opioid-
 Distribution-Report-FinalREV.pdf) (last visited August 3, 2020).
 127
       Depo. of Rader, 32:7-19.
 128
       Depo. of Rader, 68:3-22.
                                                  51
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 2012 was Oxycontin.129 Until his retirement Captain Johnson continued to see “diverted opioids”
 on the streets of Huntington.130
            V.        Opioids in West Virginia
         It is my opinion that the amounts of opioids distributed into Cabell County, Huntington,
 and the State of West Virginia greatly exceeded what would be reasonable when compared to other
 locations..131 In my opinion, the disproportionate volume of opioids distributed into these areas
 should have triggered immediate action by Cardinal, McKesson and AmerisourceBergen.
         According to 2006-2014 ARCOS data, West Virginia received, per capita, the third highest
 amount of oxycodone and hydrocodone by dosage units in the nation, averaging 72.03 dosage
 units per capita per year. In comparison, Illinois, with a population roughly seven times that of
 West Virginia, ranks 46th in the country, averaging 27.00 oxycodone and hydrocodone dosage
 units per capita per year. Texas’s population is 16 times West Virginia’s and it ranks 35th and
 averaged 33.5 oxycodone and hydrocodone dosage units per capita per year. And Idaho, with a
 population similar to West Virginia’s, ranks 25th, with 40.11 oxycodone and hydrocodone dosage
 units per capita per year.


Rank132          Year    2006   2007    2008       2009        2010   2011   2012   2013    2014 Average
       3         WV     58.48 67.13 74.32 76.73 74.09 77.29 76.69 72.85 70.71                          72.03
       25        ID     31.23 32.05     34.4 36.16 41.17 45.22 47.23 46.93 46.61                       40.11
       35        TX     28.11 32.98 32.23 33.87 35.13 37.36 35.97 34.51 31.36                           33.5
       46        IL     24.26 26.05 28.03 22.79 25.76                 28.7 29.24 29.33       28.8         27


        Cabell County, which includes the City of Huntington, received the eighth most oxycodone
 and hydrocodone by dosage units, per capita, of all West Virginia counties from 2006-2014,
 according to ARCOS data.
                                                                                                      per
                                                                                      2 drug        capita,
   Rank133 State County Population Oxycodone Hydrocodone
                                                                                       Total          per
                                                                                                     year

 129
       Depo. of Johnson, 14:14-15:8; 33:6-33:17.
 130
       Depo. of Johnson, 35:17-36:7.
 131
   See Direct Sales Co. v. United States, 319 U.S. 703 (1943)
 (CAH_MDL_PRIORPROD_DEA07_01178176).
 132
       McCann Report, App. 9(I).
 133
       McCann Report, App. 10(D).
                                                          52
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           8        WV      Cabell      96,037      23,412,160     51,852,360      75,264,520    87.08


         In addition to the excessive distributions into Cabell County/Huntington and West
 Virginia, the Defendants were aware that an influx of even more opioids were making their way
 into West Virginia from Florida and other states via the route often referred to as the “Oxy
 Express” or “Blue Highway.” Since at least the late 2000’s, residents of the Appalachia region
 have traveled to Florida to obtain prescription opioids in Florida and bring them back to their home
 area for illicit purposes. The pills could be sold in the region for many times what they were
 purchased for in Florida. Documents produced by Plaintiffs show that the pills from Florida made
 their way into Cabell County and Huntington.
       •       A 2012 Huntington Police Department Threat Assessment and Strategy Summary stated
               that:
               In 2011, scores of residents in an around Huntington travelled out of the area,
               mainly to south Florida, to obtain thousands of dosage units of strong narcotic and
               other prescription drugs and transported them back to Huntington for use and
               distribution.134
       •       In 2012 the Huntington Police Department advised that:
               Looking at prescription drugs a new variation of the Oxy family of drugs with a
               brand name of Opana (Oxymorphone) has increased in popularity over the past
               year. Huntington has seen multiple overdose deaths due to Opana during this time.
               Most of the prescription medications are trafficked through Florida, into Kentucky
               and Ohio, then onto West Virginia.135
       •       In March 2009, the Cabell County Sheriff’s Department arrested individuals with $20,000
               worth of Oxycodone (at least 548 pills) and receipts showing subjects had been to pain
               clinics in Fort Lauderdale, FL.136

       •       In November 2009, the Cabell County Sheriff’s Department located a woman who was
               reported missing after traveling to Florida with a man to obtain Oxycodone pills. She was
               located at a local motel with large amounts of cash, a card from a pain clinic in Florida,
               driving directions to Florida, a pharmacy receipt from Florida, and multiple bottles of
               prescription pills including Roxicodone and Xanax. The daughter admitted to driving to
               Florida to obtain pain medication on multiple occasions.137



 134
       HUNT_00286731.
 135
       HUNT_00029464.
 136
       CCDS_0044668.
 137
       CCDS_0029884.
                                                       53
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        •   In April 2010, Huntington Police Department arrested a man with three partially full pill
            bottles in his possession for 60 2mg Alprazolam, 90 15mg Roxicodone, and 180 30mg
            Oxycodone pills. The prescriptions for the pills were filled the day before his arrest at a
            pain clinic in Florida. The man stated that he traveled to Florida every month to refill his
            prescriptions.138

        •   In September 2010, the Cabell County Sheriff’s Drug Task Force executed a search warrant
            looking for prescription painkillers and found quantities of Oxycodone, Florida pain clinic
            business cards, driving directions to Florida pain clinics, 60 pill bottles, and over $13,000
            in cash.139 Evidence showed that over the course of 6 months the arrestees obtained over
            4,300 controlled substance pills by getting prescriptions from Florida pain clinics with 90
            percent of the prescriptions being written by one Florida doctor.140

        •   In December 2011, the Barboursville Police Department Drug Unit arrested a man and
            found Oxycodone and Oxymorphone prescription pills. The man arrested admitted to being
            sponsored for a trip to Florida in order to get pills from pain clinics in return for cash
            payments.141
         Defendants were aware of the problem with pills migrating from Florida into Plaintiffs’
 area. In an October 2010 Cardinal QRA Compliance presentation, the presenter notes that “what
 is happening in the marketplace” is that pills “sold on the streets of Central Florida” it could “make
 its way north” and be sold for four times as much.142 The same month, Cardinal VP of Anti-
 Diversion Michael Moné forwarded an article to Gilberto Quintero, Senior VP of QRA, pointing
 out a “key statement” that “49 of the top 50 dispensing doctors of oxycodone in the nation were in
 Florida.”143
        McKesson identified Florida as the state with the highest oxycodone dispensing in 2012.144
 In the same presentation, McKesson included a map showing the path of “Drug Diversion
 Migration Out of Florida” and into states bordering West Virginia.145




 138
       HUNT_00263760.
 139
       CCDS_0028875.
 140
       CCIRC_0303373, CCIRC_0303340.
 141
       HUNT_00730154 .
 142
       CAH_ALASKA_00190590, 597.
 143
       CAH_MDL2804_01103870.
 144
       MCKMDL00407451, 460.
 145
       Id. At 465.
                                                     54
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          AmerisourceBergen Director of Diversion Control and Security, Edward Hazewski,
 testified that he became aware of the problem of pills migrating from Florida into West Virginia
 as early as 2008 when he became manager of AmerisourceBergen’s diversion control team.146
 AmerisourceBergen’s corporate designee, Christopher Zimmerman, testified that the company
 was aware of the problem of pill migration as early as 2007, as shown by a comic strip included
 in an AmerisourceBergen presentation on its “Diversion Control Program.”147
           VI.     REGISTRANT SUSPICIOUS ORDER MONITORING SYSTEMS (SOMS)
         I have been asked to review the documents produced in this litigation to determine whether
 the distributors complied with the statutory and regulatory duties outlined above. In this process,
 I have reviewed numerous documents and depositions for each of the enumerated Defendants.
 Based on my review it is my opinion to a reasonable degree of professional certainty that each of
 the distributors failed to comply with their statutory and regulatory duty to maintain effective
 controls to prevent diversion and to design and operate a system to identify and report suspicious
 orders.


 146
       Depo. of Edward Hazewski, 71:8-72:10.
 147
       ABDCMDL00000124, 14; Depo. of Christopher Zimmerman, 336:13-336:24, 407:1-14
                                                 55
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           A. Cardinal Health
 Distribution Center: Wheeling, WV
 DEA Registrant Number:
 Transactional Data Disclosed: Date range:      01/01/1996 through 05/01/2018148
 Cabell County/Huntington Volume: 149

                      Oxycodone                               17,187,905 dosage units
                     Hydrocodone                              17,923,260 dosage units


                      1. Court ordered SOMS Discovery Disclosure:

       •   Cardinal Health, Inc.’s Objections and Responses to Plaintiffs’ First Combined Discovery
           Requests (July 31, 2018)
       •   Cardinal Health, Inc.’s First Supplemental Objections and Responses to Plaintiffs’ First
           Combined Discovery Requests (November 30, 2018)
       •   Cardinal Health, Inc.’s Second Supplemental Objections and Responses To Plaintiffs’
           First Combined Discovery Requests (January 22, 2019)
       •   Cardinal Health, Inc.’s Third Supplemental Objections and Responses To Plaintiffs’ First
           Combined Discovery Requests (March 4, 2019)
       •   Cardinal Health, Inc.’s Objections and Responses to Track 2 Plaintiffs’ (First) Combined
           Discovery Requests (November 29, 2019)
       •   Cardinal Health, Inc.’s Objections and Responses to Plaintiffs’ First Set of Requests for
           Production of Documents (May 29, 2018)
       •   Cardinal Health, Inc.’s Objections and Supplemental Responses to Plaintiffs’ First Set of
           Interrogatories (November 30, 2018)
       •   Cardinal Health, Inc.’s Objections and Second Supplemental Responses to Plaintiffs’ First
           Set of Interrogatories (March 4, 2019)
       •   Cardinal Health, Inc.’s Revised Objections and Third Supplemental Responses to
           Plaintiffs’ First Set of Interrogatories (March 25, 2019)
       •   30(b)(6) Deposition of Cardinal Health (Jennifer Norris) (August 7, 2018)
       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topic 1 (September 11, 2018)
       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topics (O), 9-11 (October 18,
           2018)
       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topic 2 (October 25, 2018)
       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topics 3-5 (November 9, 2018)
       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topics 13, 15-21 (November
           14, 2018)

 148
       CAH_MDL2804_03468430.
 149
       McCann Report, App. 7.
                                                  56
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       •   Cardinal Health’s Supplemental Written Response to Plaintiffs’ 30(b)(6) Topic (a)
           (January 24, 2019)
       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topics 16-18 (January 24,
           2019)
       •   Cardinal Health’s Revised and Supplemental Written Response to Plaintiffs’ 30(b)(6)
           Topic (a) (March 4, 2019)
       •   Cardinal Health’s Written Response to Plaintiffs’ 30(b)(6) Topic 14 (March 4, 2019)
       •   Cardinal Health, Inc.’s Objections and Responses to Track 2 Plaintiffs’ (First) Combined
           Discovery Requests (November 29, 2019)
       •   Cardinal Health, Inc.’s Second Supplemental Objections and Responses to Plaintiffs’
           (First) Combined Discovery Requests (March 18, 2020)
       •   Cardinal Health, Inc.’s Objections and Responses to Plaintiffs’ Second Combined
           Discovery Requests (March 30, 2020)
       •   Cardinal Health, Inc.’s Objections and Responses to Plaintiffs’ Third Combined Discovery
           Requests (April 8, 2020)
       •   Cardinal Health, Inc.’s Objections and Responses to Plaintiffs’ Fourth Combined
           Discovery Requests (April 30, 2020)
       •   Cardinal Health, Inc.’s Objections and Responses to Plaintiffs’ Fifth Combined Discovery
           Requests (May 6, 2020)
       •   Cardinal Health, Inc.’s Objections and Responses to Plaintiffs’ Sixth Combined Discovery
           Requests (May 11, 2020)
       •   Cardinal Health, Inc.’s Third Supplemental Objections and Responses to Plaintiffs’ (First)
           Combined Discovery Requests (May 14, 2020)
       •   Cardinal Health, Inc.’s Supplemental Objections and Responses to Plaintiffs’ Sixth
           Combined Discovery Requests (June 2, 2020)
       •   Cardinal Health, Inc.’s Fourth Supplemental Objections and Responses to Plaintiffs’
           (First) Combined Discovery Requests (June 2, 2020)
       •   Cardinal Health, Inc.’s Fifth Supplemental Objections and Responses to Plaintiffs’ (First)
           Combined Discovery Requests (July 9, 2020)
       •   Cardinal Health, Inc.’s Supplemental Objections and Responses to Plaintiffs’ (First)
           Combined Discovery Requests (July 10, 2020)
       •   Cardinal Health, Inc.’s Sixth Supplemental Objections and Responses to Plaintiffs’ (First)
           Combined Discovery Requests (July 16, 2020)
       •   Cardinal Health, Inc.’s Third Supplemental Objections and Responses to Plaintiffs’ Sixth
           Combined Discovery Requests (July 16, 2020)

                      2. SOMS Corporate Policy Disclosed:
           Cardinal Health DEA Compliance Manual (April 5, 2000)150
        This system that Cardinal used from April of 2000 until sometime in late 2007/early 2008
 had two operational aspects. First, Cardinal Health utilized the Ingredient Limit Reports, which

 150
       CAH_MDL_PRIORPROD_DEA07_01383895, 01383939-01384041.
                                                  57
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 were generated as a retrospective review of the prior month’s distribution data based on a formula
 that was applied on a monthly basis. A hard copy was then mailed to the local DEA office.
 According to Mr. Reardon, Vice President Quality and Regulatory Affairs from 2005 to 2007 and
 a Director in regulatory prior to 2000, this system was utilized by Cardinal as far back as the early
 1990’s.151 The second part of this system was to have cage/vault employees looking for suspicious
 orders based on the “Excessive Purchases Schedule II” and “Excessive Purchases Schedule III,
 IV, V” charts.152 If Cardinal’s pickers and checkers spotted an excessive order, they were to notify
 the local DEA office prior to shipment of the order if possible and place a copy of these orders in
 the distribution center’s suspicious order file along with a Regulatory Agency Contract Form
 (Form #1) noting any specific instructions from the DEA.153
            Cardinal SOM Program (12/01/2007 through 12/22/2008) 154
         The next step in the evolution of Cardinal’s SOM Programs is unclear. According to
 document CAH_MDL2804_01522227, Cardinal’s policies changed on this date to incorporate
 threshold and a know your customer (KYC) system. However, according to sworn testimony for
 Cardinal via its 30(b) designee Jennifer Norris, Cardinal does not know what changes it made
 within its SOM systems from September 2006 through at least late 2007.155
            Cardinal SOM Program (12/22/2008 to 2012)156
          In 2008 Cardinal implemented several Standard Operating Procedures (SOPs) related to
 anti-diversion. This system also had two primary components. The first component was threshold
 utilization. This included setting a specific threshold (based on dosage unit) for each customer for
 each controlled drug base code or drug family and if the customer exceeded the allotted threshold
 the order was to be held and not shipped. The second component to this system was “Know Your
 Customer” (KYC) and it obligated Cardinal to know who they were dealing with. The threshold
 process and KYC are discussed in more detail in other portions of my report.
            Cardinal SOM Program (2012 forward)
      Beginning around 2012/2013, Cardinal’s system continued to rely on the threshold and
 KYC/due diligence components, but it no longer took into consideration the population of the area




 151
       See Deposition of Steve Reardon, November 30, 2018 at 410: 10 to 411: 11 and 429: 3-10.
 152
       See CAH_MDL_PRIORPROD_DEA07_01383136, 01384160-01384161.
 153
       CAH_MDL_PRIORPROD_DEA07_01383895, 01383940 and 01384080.
 154
       CAH_MDL2804_01522227
 155
       See Deposition of Jennifer Norris, page 292.
 156
   CAH_MDL_PRIORPROD_AG_0004208, CAH_MDL_PRIORPROD_AG_0000323,
 CAH_MDL_PRIORPROD_AG_0000344, CAH_MDL_PRIORPROD_AG_0000101,
 CAH_MDL_PRIORPROD_DEA12_00014535, 00014536; CAH_MDL_PRIORPROD_AG_0000013
                                                      58
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 surrounding a customer nor did it compare customers to similar customers. The revised system
 based threshold solely on the individual customer’s information.157
                      3. Enforcement Actions
       a) On December 26, 2006, Cardinal entered into an Assurance of Discontinuance Pursuant
          to Executive Law §63(15) with the NY AG related to its failures to prevent and monitor
          price diversion and closed door pharmacies;158

       b) On September 18, 2007, the DEA issued a Warrant for Inspection against the Cardinal
          Health Stafford, Texas Distribution Center (“Stafford Facility”) for failure to maintain
          effective controls against diversion of hydrocodone;159

       c) On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
          Suspension Order against the Cardinal Health Auburn, Washington Distribution Center
          (“Auburn Facility”) for failure to maintain effective controls against diversion of
          hydrocodone;160

       d) On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
          Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center
          (“Lakeland Facility”) for failure to maintain effective controls against diversion of
          hydrocodone;161

       e) On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
          Suspension Order against the Cardinal Health Swedesboro, New Jersey Distribution
          Center (“Swedesboro Facility”) for failure to maintain effective controls against diversion
          of hydrocodone;162

       f) On January 30, 2008, the DEA issued an Order to Show Cause against the Cardinal
          Health Stafford, Texas Distribution Center (“Stafford Facility”) for failure to maintain
          effective controls against diversion of hydrocodone;163

       g) On September 30, 2008, Cardinal Health entered into a Settlement and Release
          Agreement and Administrative Memorandum of Agreement with the DEA related to its
          Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility. The

 157
       See Depo. of Todd Cameron, pages 54-69.
 158
       CAH_MDL_PRIORPROD_DEA07_00833777.
 159
       CAH_MDL2804_02110916, 02110918-02110923.
 160
       CAH_MDL2804_00641449, 00641465.
 161
       CAH_MDL2804_00641449, 00641469.
 162
       CAH_MDL2804_00641449, 00641474.
 163
       CAH_MDL2804_00641449, 00641479
                                                   59
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          document also referenced allegations by the DEA that Cardinal failed to maintain
          effective controls against the diversion of controlled substances at all 27 of Cardinal’s
          distribution centers nationwide;164

       h) On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
          Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center for
          failure to maintain effective controls against diversion of oxycodone;165 and

       i) On December 22, 2016, Cardinal Health subsidiary Kinray, LLC entered into a Consent
          Order with the United States.166

       j) On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the DEA to
          resolve the civil penalty portion of the administrative action taken against its Lakeland,
          Florida Distribution Center.167

                  4. Suspicious Orders Reported In the City of Huntington and Cabell County, West
                     Virginia168
                                  Pre-Shipment
                                                          Post-Shipment Reporting
                                   Reporting
                    1996                0
                    1997                0
                    1998                0
                    1999                0
                    2000                0
                    2001                0
                    2002                0
                    2003                0
                    2004                0
                    2005                0                            ILRs
                    2006                0                            ILRs
                    2007                0                            ILRs
                    2008                0                      ILRs (April only)
                    2009                0
                    2010                1


 164
       CAH_MDL2804_00641449.
 165
       CAH_MDL2804_02465982.
 166
    United States of America v. Kinray, LLC, Case #16 Civ. 8767-RA. Available at
 https://www.justice.gov/usao-sdny/press-release/file/920806/download (last visited August 3, 3030).
 167
       CAH_MDL2804_02069030.
 168
       CAH_MDL2804_03468434.
                                                   60
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                   2011                  0
                   2012                115
                   2013                 86
                   2014                  5
                   2015                 19
                   2016                 34
                   2017                 32
                   2018                  0


                     5. Due Diligence Conducted
        Due Diligence is one of the core components of any SOMS and must be fully integrated if
 the SOMS is going to work adequately. The basic premise for due diligence is that a registrant
 must know who they are dealing with when distributing controlled substances (potentially
 dangerous drugs) into surrounding communities. Cardinal’s due diligence system has evolved
 over time and while it has made general improvements in theory the overall application of the
 system does not meet its regulatory requirement to maintain effective controls against diversion.
           Cardinal’s due diligence prior to 2008 was very limited, and it is difficult to discern
 exactly what due diligence was conducted by Cardinal prior to 2008. Cardinal produced
 documents CAH_FEDWV_00000001 – 00001109 it identified as centralized due diligence files
 for Cardinal customers in Huntington and Cabell County. Additionally, Cardinal’s Sixth
 Supplemental Objection and Response to Plaintiffs’ First Combined Discovery Requests identified
 additional, non-centralized due diligence documents, It appears that prior to 2008 Cardinal’s
 customer due diligence was limited. It appears that Cardinal’s early due diligence solely sought
 to ensure compliance with 21 CFR 1301.74(a) which reads in pertinent part:

          Before distributing a controlled substance to any person who the registrant does not
          know to be registered to possess the controlled substance, the registrant shall make
          a good faith inquiry either with the Administration or with the appropriate State
          controlled substance registration agency, if any, to determine that the person is
          registered to possess the controlled substance.

 While such due diligence is a first step in the process, it does not meet the required level of
 compliance to ensure a sufficient level of maintenance of effective control by which a registrant
 should operate.

            In 2005 it appears that the NY AG began an investigation of Cardinal related to the
 distribution of its products.169 This matter involved, amongst other allegations, price diversion
 with closed door pharmacies that engaged in contract pricing. This matter resolved in December
 of 2006 with the entry of an Assurance of Discontinuance. This appears to have caused Cardinal
 to create its first customer screening and monitoring process at least as it applies to “closed-door

 169
       See CAH_MDL_PRIORPROD_DEA07_00833777.
                                                  61
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 pharmacy customers at contract pricing.”170 This policy is very limited in its application to
 “closed-door pharmacy customers at contract pricing,” and there was no indication that a like
 policy was enacted for Cardinal’s remaining customers. The main function of this policy as it
 relates to due diligence was to require a “Contract Pricing Declaration” and a “Site Visit
 Form.” This process did not constitute adequate due diligence for these customers. Additionally,
 it appears that these forms were not utilized prior to 2006, confirming the lack of due diligence
 even for closed-door pharmacies prior to that date.171

             In 2007/2008, when Cardinal was being investigated by the DEA and received
 immediate suspension orders for three of its distribution centers, I see the next significant change
 in the due diligence process in place at Cardinal. This is first demonstrated in a training manual
 that was prepared by Eric Brantley (at least the manual bears his name) and dated October 2007
 and is titled Know Your Customer Program: Retail Pharmacy Questionnaire Training. 172 There is
 also a related document that is an email from Gary Cacciatore sent on December 9, 2007, indicating
 this training was being rolled out to the “independent retail sales team” to be completed by
 December 19, 2007.173 For this time frame up until 2012 there appears to have been some due
 diligence/know your customer functions occurring in Huntington and Cabell County for retail
 independent pharmacies/drug stores but not to the extent I have outlined above.

             During this same time, 2007/2008 to 2012, there seems to have been very little
 implementation of actual policies related to know your customer/due diligence.174 Cardinal Health
 provided almost preferential treatment to its chain pharmacies/national accounts as compared to
 their retail independent customers. Cardinal Health’s policies did not reflect this almost
 preferential treatment. Cardinal admittedly did not conduct the same due diligence on its chain
 customers during this time period.175 This practice was not acceptable for maintaining effective
 controls against diversion and was a breach of Cardinal’s obligation as a registrant. As indicated
 above, there was clearly some due diligence being conducted, some of which occurred in the way
 of on-site investigations, however, according to the Special Demand Committee Report of
 Cardinal’s Board of Directors, those investigations were not being reviewed properly.176 These
 requirements are not intended to be an act in futility but are a useful and necessary tool in meeting
 the registrant’s regulatory requirements.



 170
       See CAH_MDL_PRIORPROD_DEA07_00871842.
 171
       See CAH_MDL_PRIORPROD_DEA07_00008894.
 172
       See CAH_MDL_PRIORPROD_DEA07_02738896.
 173
       See CAH_MDL_PRIORPROD_DEA07_02738893.
 174
       See, e.g., CAH_FEDWV_00000001 - 00001109.
 175
       See Declaration of Michael A. Mone, CAH_MDL_PRIORPROD_DEA12_00014053 at page 13.
 176
   See Investigation Report of the Special Demand Committee,
 CAH_MDL_PRIORPROD_HOUSE_0003331 at page 36.
                                                  62
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                      6. Opinions Related to Cardinal Health
           1.     Cardinal Health failed to maintain effective control against diversion of
                  prescription opiates into the illicit market in violation of 21 U.S.C.A. §
                  823(b)(1) [1970].
        The graphs below demonstrate a clear increase of distribution of prescription oxycodone
 and hydrocodone by Cardinal into Cabell County and the City of Huntington, West Virginia by
 dose, base weight and MME.177




 177
       McCann Report, App. 9(C).
                                                 63
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       In my opinion the massive increase in prescription opioids without sufficient due diligence
 documented is indicative of a failure to maintain effective control.
        2.      Cardinal Health failed to design and operate a system to identify suspicious
                orders of controlled substances in violation of the security requirement set forth
                in 21 C.F.R. § 1301.74(b).
        a.      Policy Period #1 (1996 to 2008):
                i.     Ingredient Limit Reports
        Cardinal Health claims its system from 1996 to 2008 was premised upon “guidance” from
 the 1998 DEA Reno Report.178 The record does not reveal any documentation which supports this


 178
    Cardinal Health’s Supplemental Response to Plaintiffs’ First Combined Discovery Request No. 3
 (November 30, 2018); Deposition of Jennifer Norris (30(b) Designee for Cardinal Health), 134:16-23.
                                                 65
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 contention.179 Moreover, the Reno Report provides guidance on monitoring monthly orders of
 chemicals used to make illicit methamphetamine. The Reno Report, referencing the Chemical
 Handlers Manual, advises a distributor to set an “ingredient limit” as a tool to detect monthly
 orders of extraordinary size. This limit is determined by calculating a monthly average for
 similarly situated customers and multiplying by a factor of three (3). Monthly orders in excess of
 this limit are deemed “extraordinary” and must be reported.
         Cardinal Health used this methodology to monitor controlled substances but used a factor
 of four (4) to identify unusual monthly orders. This design is insufficient to meet the security
 requirement because: (a) it fails to identify suspicious orders before shipment; (b) it uses after-
 the-fact reporting of suspicious orders; (c) it ships suspicious orders; and (d) it uses a 4x factor
 which is in excess of the factor discussed by the Reno Report to detect orders of extraordinary
 size. Cardinal Health knew or should have known that such a system, by itself, was woefully
 insufficient to meet its obligations under federal law.
         I have reviewed a 2008 audit of Cardinal’s suspicious order monitoring system, including
 Cardinal’s use of Ingredient Limit Reports (ILRs), by Ronald Buzzeo of Cegedim Dendrite.180
 Among his conclusions were that because the ILRs were based on historical information they were
 not compliant with Federal suspicious order monitoring requirements as they did not allow for
 “real time automated analysis of pattern and frequency.”181
        If Cardinal Health designed its system in accordance with the DEA Diversion Investigators
 Manual (1996), a copy of which it had in its possession since after requesting it in 2003, it would
 have identified a serious problem in Huntington and Cabell County.182 The Manual states:
            Registrants, who routinely report suspicious orders, yet fill these orders, with
            reason to believe they are destined for the illicit market, are expressing an
            attitude of irresponsibility that is a detriment to the public health and safety as
            set forth in 21 U.S.C. 823 and 824. Suspicious orders include those which are
            in excess of legitimate medical use or exhibit characteristics leading to possible
            diversion such as: orders of unusual size, unusual frequency, or those
            deviating substantially from a normal pattern. The supplier can determine

 179
    See Deposition of Jennifer Norris (30(b) Designee for Cardinal Health); Cardinal Health’s original and
 First, Second, and Third Supplemental Responses to Plaintiffs’ Frist Combined Discovery Request;
 Cardinal Health’s Written Original and Supplemental Responses to Plaintiffs’ First Notice of 30(b)
 Deposition, Topic (a). Furthermore, while there is not necessarily evidence that the “guidance” Cardinal
 allegedly received was communicated by a DEA field agent, to the extent it was, pursuant to the reasoning
 in Novelty Distributors, Inc., 73 Fed. Reg. 52,689, n. 53 (Drug Enf’t Admin. September 3, 2008),
 Cardinal’s reliance on an agent’s “erroneous understanding of the law and regulations” would have been
 misplaced..
 180
       CAH_MDL2804_03309960.
 181
       Id. at 961, 964.
   Cardinal also received the 2010 version of the Diversion Investigator’s Manual in 2013. See
 182

 CAH_MDL2804_00953317.
                                                     66
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          whether the order is excessive by checking their own sales and establishing the
          average amount of controlled substances shipped to registrants of the same
          apparent size in a particular geographic area. If the customer exceeds this
          threshold, the request should be viewed as suspicious. This activity, over
          extended periods of time, would lead a reasonable person to believe that
          controlled substances possibly are being diverted.183
 Cardinal Health did not retain the algorithm nor the formula it used to calculate the average
 purchase of controlled substances by the distribution center servicing the City of Huntington and
 Cabell County, West Virginia.184 However, Cardinal Health produced ILRs from its Wheeling
 Distribution Center from which the following “ingredient limits” of oxycodone and hydrocodone
 can be derived:
                                                                          Limit     for Limit for
  Bates Range                                               Date
                                                                          9143          9193
  CAH_MDL_PRIORPROD_DEA07_01465435                      –
  01465712                                                  August
                                                                          137.03136      42.67696
                                                            2005
  (see CAH_MDL_PRIORPROD_DEA07_01465497)
  CAH_MDL_PRIORPROD_DEA07_01713984                      –
  01714260                                                  September
                                                                          134.53336      43.14248
                                                            2005
  (see CAH_MDL_PRIORPROD_DEA07_01714045)
  CAH_MDL_PRIORPROD_DEA07_01676164                      –
  01676385                                                  October
                                                                          140.26240      43.62120
                                                            2005
  (see CAH_MDL_PRIORPROD_DEA07_01676206)
  CAH_MDL_PRIORPROD_DEA07_01640601                      –
  01640859                                                  November
                                                                          140.00036      43.94216
                                                            2005
  (see CAH_MDL_PRIORPROD_DEA07_01640661)
  CAH_MDL_PRIORPROD_DEA07_01698986                      –
  01699238                                                  December
                                                                          138.63832      44.33880
                                                            2005
  (see CAH_MDL_PRIORPROD_DEA07_01699031)
  CAH_MDL_PRIORPROD_DEA07_01554009                      – January
                                                                          136.70968      44.71368
  01554254                                                2006



 183
       See CAH_MDL2804_02203353.
 184
    See Special Master Cohen Discovery Hearing Transcript of January 25, 2019, pp. 60-67. This system
 applied to all Cardinal Health distribution centers. See Deposition of Steve Reardon, 456:2 – 456:20.
                                                   67
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  (see CAH_MDL_PRIORPROD_DEA07_01554060)


  CAH_MDL_PRIORPROD_DEA07_01538085          –
  01538299                                      February
                                                            134.12484   45.21144
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01538126)
  CAH_MDL_PRIORPROD_DEA07_01611135          –
  01611464                                      March
                                                            131.07688   45.95936
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01611192)
  CAH_MDL_PRIORPROD_DEA07_01641502          –
  01641682                                      April 2006 127.79620    42.21564
  (see CAH_MDL_PRIORPROD_DEA07_01641540)
  CAH_MDL_PRIORPROD_DEA07_01788800          –
  01789058                                      May 2006    125.41532   46.93344
  (see CAH_MDL_PRIORPROD_DEA07_01788850)
  CAH_MDL_PRIORPROD_DEA07_01590839          –
  01591156                                      June 2006   122.04580   47.64656
  (see CAH_MDL_PRIORPROD_DEA07_01590908)
  CAH_MDL_PRIORPROD_DEA07_01573797          –
  01574019                                      July 2006   119.70760   48.77660
  (see CAH_MDL_PRIORPROD_DEA07_01573850)
  CAH_MDL_PRIORPROD_DEA07_01475709          –
  01475962                                      August
                                                            117.42644   49.45828
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01475761)
  CAH_MDL_PRIORPROD_DEA07_01723108          –
  01723339                                      September
                                                            114.11996   49.58536
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01723159)
  CAH_MDL_PRIORPROD_DEA07_01685103          –
  01685339                                      October
                                                            112.16060   49.85244
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01685159)
  CAH_MDL_PRIORPROD_DEA07_01650463          – November
                                                            109.56708   49.98252
  01650717                                    2006


                                       68
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  (see CAH_MDL_PRIORPROD_DEA07_01650518)


  CAH_MDL_PRIORPROD_DEA07_01515965          –
  01516204                                      December
                                                            107.36024   49.75956
                                                2006
  (see CAH_MDL_PRIORPROD_DEA07_01516022)
  CAH_MDL_PRIORPROD_DEA07_01563313          –
  01563602                                      January
                                                            106.47764   50.03312
                                                2007
  (see CAH_MDL_PRIORPROD_DEA07_01563374)
  CAH_MDL_PRIORPROD_DEA07_01546013          –
  01546207                                      February
                                                            105.83396   50.16428
                                                2007
  (see CAH_MDL_PRIORPROD_DEA07_01546054)
  CAH_MDL_PRIORPROD_DEA07_01620843          –
  01621127                                      March
                                                            104.40680   50.17876
                                                2007
  (see CAH_MDL_PRIORPROD_DEA07_01620900)
  CAH_MDL_PRIORPROD_DEA07_01457031          –
  01457282                                      April 2007 104.82816    50.70796
  (see CAH_MDL_PRIORPROD_DEA07_01457086)
  CAH_MDL_PRIORPROD_DEA07_01747160          –
  01747495                                      May 2007    105.42900   50.98644
  (see CAH_MDL_PRIORPROD_DEA07_01747222)
  CAH_MDL_PRIORPROD_DEA07_01601686          –
  01601970                                      June 2007   106.12548   50.75616
  (see CAH_MDL_PRIORPROD_DEA07_01601749)
  CAH_MDL_PRIORPROD_DEA07_01544958          –
  01545544                                      July 2007   116.35200   50.83508
  (see CAH_MDL_PRIORPROD_DEA07_01545069)
  CAH_MDL_PRIORPROD_DEA07_01488350          –
  01488972                                      August
                                                            127.77312   52.07900
                                                2007
  (see CAH_MDL_PRIORPROD_DEA07_01488469)
  CAH_MDL_PRIORPROD_DEA07_01732427          – September
                                                            137.53468   52.34368
  01732872                                    2007


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  (see CAH_MDL_PRIORPROD_DEA07_01732511)


  CAH_MDL_PRIORPROD_DEA07_01696166                         –
  01696738                                                     October
                                                                             148.22516   53.21820
                                                               2007
  (see CAH_MDL_PRIORPROD_DEA07_01696272)
  CAH_MDL_PRIORPROD_DEA07_01660982                         –
  01661449                                                     November
                                                                             158.34500   54.08492
                                                               2007
  (see CAH_MDL_PRIORPROD_DEA07_01661075)
  CAH_MDL_PRIORPROD_DEA07_01525200                         –
  01525688                                                     December
                                                                             166.08928   52.92888
                                                               2007
  (see CAH_MDL_PRIORPROD_DEA07_0155294)
  CAH_MDL2804_00689780 – 00690378
                                                               April 2008 211.60004      49.09028
  (see CAH_MDL2804_00689879)


         Additionally, this chart exemplifies some of the concerns I have with Cardinal Health’s
 SOMS. This ILR information is all from Cardinal Health’s Wheeling distribution center, and we
 can see that for this geographic area the limiter amount for oxycodone is decreasing from October
 2005 through March 2007, from 140.26240 down to 104.40680. Then, in April of 2007, the limiter
 begins to increase until April 2008 (did not have ILR’s for January, February, and March of 2008),
 climbing from 104.82816 up to 211.60004, more than doubling the limiter for oxycodone in a
 year’s time. It is my understanding that this distribution center provides distribution services to
 Ohio, West Virginia, and parts of Pennsylvania.185 This drastic increase should have triggered an
 investigation to ensure the legitimacy of the orders placed by the customers for oxycodone.
                    ii.     Excessive Orders
         Cardinal Health’s system (early 1990’s-2008)186 was also designed to identify “individual
 orders that appear to be excessive” on a daily basis and notify the DEA, if possible, before the
 order is shipped. Excessive orders are defined by the following dosage limits:
            Hydrocodone                                           800 Tabs/Caps

            Oxycodone / Acet                                      1200 Tabs/Caps
            (Tylox, Roxilox, Roxicet. Percocet. Endocet)

            Oxycodone/Asa                                         500 Tabs

 185
       See Deposition of Craig Baranski, p. 82-83.
 186
       See Deposition of Steve Reardon, p. 429.
                                                     70
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           (Percodan, Endodan, Roxiprin)

           Oxycodone                                            600 Tabs187
           (Oxycontin, Roxicodone)

        During this timeframe, Steve Reardon, Vice President Quality and Regulatory Affairs, was
 in charge of the anti-diversion department at Cardinal Health. Mr. Reardon testified that this
 “Excessive Order” system was expected to be implemented uniformly across the whole
 company.188 According to Mr. Reardon, Cardinal Health’s policy was for any order that exceeded
 these “Excessive Order” postings in the cage to be reported to the DEA as a suspicious order prior
 to shipment.189

         I asked SLCG to determine how many daily orders for customers in Cabell County and
 Huntington exceeded the daily limit set by Cardinal Health between 1996 to 2018 which resulted
 in the following:190


                                           Flagged Orders                Flagged Dosage Units
                                     47,440 (93.1% of all oxycodone
              Oxycodone                                                         16,527,880
                                                 orders)
                                         37,183 (89.9% of all
            Hydrocodone                                                         17,688,100
                                         hydrocodone orders)


         Furthermore, evidence in the record indicates that Cardinal Health employees instructed
 its personnel to ignore the daily limits. Cardinal Health’s employee, Dave Strizzi, claims that these
 excess “charts” are for guidance and that orders should not be cut but that staff should “record the
 orders that exceed these limits for possible reporting to the DEA.”191 This is completely
 inconsistent with the way Cardinal Health’s policy reads as well as the way Mr. Reardon explained
 it. Even more concerning, on November 1, 2006, Rafael Varela, one of Cardinal Health’s QA &
 Compliance Managers, wrote, “the Vault Keyers were, until today, overriding the limiters for the
 vault items in the system… This is not supposed to happen without authorization.”192

         Even if the daily limit system was designed properly as a tool to identify suspicious orders,
 there is no evidence the system was sufficiently “operated.” This concern was clear even to the

 187
       CAH_MDL_PRIORPROD_DEA07_01383136, 01383401.
 188
       See Reardon at 455 to 456.
 189
       See Reardon at 453 to 456.
 190
       McCann Report, App. 7.
 191
       See CAH_MDL PRIORPROD_ DEA07_00319489.
 192
       See CAH_MDL PRIORPROD_ DEA07_01052516.
                                                  71
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 employees at Cardinal Health. On December 5, 2007, just after the license suspension of Cardinal
 Health’s Auburn distribution center, Bob Kurtz sent a follow-up email to Rafael Varela, one of
 Cardinal Health’s Compliance and QA Managers, and explained the following related to
 Cardinal’s “picker and checker” system:

            The manual process we perform now with the discovery of suspected excessive
            purchases being left up to the keyer notifying myself, or a picker/double
            checker/QCer questioning an amount being processed seems to leave ample
            opportunity for failure. A system generated “flag” would be a more complete or
            thorough method of determining spikes or excessive quantities than what we are
            currently performing.

            As you know, I’ve investigated many accounts, tracked their ordering history, and
            reached out for guidance and directions. But without “someone” bringing a
            suspected “excessive quantity” order to our attention, many, many more could be
            going out the door under our noses. I wonder could a similar situation happen
            in Lakeland and management be questioned “why wasn’t this discovered?”193

 In my opinion, this represents a breach of the security requirement as it applies to Cardinal Health.

         This is all consistent with the testimony of Mark Hartman, who took over the regulatory
 department in December 2007, as the Senior Vice President of Supply Chain Integrity.194
 According to Mr. Hartman as well as a power point presentation that he prepared, Cardinal Health
 had leaks in its supply chain.195 This is during the same time that Cardinal was addressing three
 Immediate Suspension Orders and one Order to Show Cause across four of its distribution centers
 related to Cardinal Health’s failure to maintain effective controls against diversion.196
 Specifically, Cardinal Health was alleged to have been failing to comply with its regulatory duties
 and distributing excess oxycodone, which is consistent with my opinions for Policy Period #1.

        Even Cardinal Health’s counsel recognized that Cardinal Health did not have a sufficient
 SOMS to properly detect all suspicious orders during this timeframe.197 Prior to and during
 portions of 2008, Cardinal Health was still delivering not only controlled substances, but
 oxycodone in particular, to suspected internet pharmacies after being specifically told that such an
 action would be illegal.198 Further, a spreadsheet produced by Cardinal describes a number of

 193
       See CAH_MDL_PRIORPROD_DEA07_00135433 (emphasis added).
 194
       See Deposition of Mark Hartman at 17:11-16.
 195
       See id. 236: 5-13, see also Hartman Depo. Exhibit 13.
 196
       CAH_MDL2804_00641449.
 197
     See CAH_MDL_PRIORPROD_DEA07_00968964 (“[H]ere, you have an Inet Pharmacy, the account
 is open, and Cardinal does not yet have a system for detecting all suspicious orders.”).
 198
       Id.; see also, Schedule II, distributions to Ross Westbank (2006-2014).
                                                       72
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 pharmacies that Cardinal cut off prior to 2008 and the underlying reasons for termination.199 This
 document shows that Cardinal serviced pharmacies whose purchase histories, ratio of purchases
 of controlled to non-controlled substances, ratio of cash for purchases of controlled substances,
 total volume of certain controlled substances (hydrocodone, oxycodone), and other factors
 indicated potential diversion. Had Cardinal investigated these pharmacies sooner, as it should
 have, Cardinal would have been aware of this activity.

            b.      Policy Period #2 (2008 to 2012):

                    i.      Thresholds

         After the DEA instituted an enforcement action against Cardinal Health, it was forced to
 begin implementing a different SOM system in 2008. Cardinal Health claims that this revised
 system focused on a dual approach. The first approach used in this system required the creation
 of a Threshold for each customer and that the Threshold be specific for each base code. The
 Threshold was designed to operate as a stop on any shipment which exceeded the predetermined
 Threshold.200 The Second step in this process required Cardinal Health to be familiar with its
 customers (Know Your Customers). The record does not support that Cardinal Health complied
 with its own thresholds. To the contrary, Cardinal Health continued to ship orders that exceeded
 its own Thresholds without complying with their KYC requirements or conducting sufficient due
 diligence before shipping suspicious orders.

         Cardinal Health’s approach to setting these Thresholds for its customers, as with the ILR’s,
 was fatally flawed. Cardinal Health’s Threshold system required it to determine the 12 month
 average for its customers, for each base code based on type and size of customer, and multiply that
 average by a multiple of 3 for schedule II’s and a multiple of 5 for schedule III’s. 201 This too is
 insufficient under the security requirement because: (a) it premises setting a threshold limit in the
 middle of a national opioid epidemic;202 and (b) Cardinal Health relies on the Reno Report203 using
 a 3x and 5x multiple respectively, which, again, is recommended only to apply to extraordinary

 199
       CAH_MDL2804_00664969.
 200
       See Deposition of Shirlene Justus, July 13, 2018 at 86:14 to 88:6.
 201
       CAH_MDL_PRIORPROD_AG_0000013.
 202
     See Deposition of Mark Hartman, 286:5-11. Nicholas Rausch testified that Deloitte, Cardinal Health’s
 consultant involved in designing Cardinal Health’s initial threshold system, excluded pharmacies identified
 in the DEA’s 2007/2008 Immediate Suspension Orders in calculating thresholds. Depo. of Rausch, 216:13-
 217:8. It is my opinion that excluding only those pharmacies from Cardinal Health and Deloitte’s
 calculations was insufficient to capture the impact of the national epidemic.
 203
     See Deposition of Jennifer Norris (Cardinal Health 30(b) Designee), 134:16-23 (“An ingredient limit
 report is the report that was required pursuant to the 1998 DEA report to, I believe, the Attorney General.
 It included the algorithm for certain pharmaceuticals, and we on a monthly basis provided the report of the
 customers who had exceeded the designated amount that you achieve pursuant to doing the algorithm, the
 math problem.”).
                                                        73
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 size of controlled substances containing List 1 chemicals, and not to Schedule II and Schedule III
 controlled substances which do not contain List I chemicals.204

          Cardinal Health’s productions demonstrate that it regularly ignored the thresholds it had
 set for its customers. The DEA found that following the 2008 settlement with the DEA, Cardinal
 failed to report any suspicious orders of oxycodone products for pharmacies in Maryland between
 2008 and October 1, 2011.205 During this time, the DEA found that Cardinal Health increased
 thresholds for these Maryland pharmacies despite evidence indicating potential diversion.206 This
 fact was also part of the 2012 DEA enforcement action based on Cardinal Health’s Florida conduct.
 This conduct was further highlighted in the House Energy and Commerce Committee’s December
 19, 2018 report “Red Flags and Warning Signs Ignored: Opioid Distribution and Enforcement
 Concerns in West Virginia.”207 This appears to be a systemic problem that was occurring
 throughout Cardinal Health’s nationwide operations. Documents provided by Cardinal Health
 related to the Holder v. Cardinal Health litigation demonstrate this point. The following are
 examples of the number of times customers were permitted to exceed their predetermined
 thresholds:

           •   CVS 219 allowed to exceed its threshold 14 out of 16 months.
           •   Gulf Coast allowed to exceed its threshold 12 out of 29 months.
           •   CVS 5195 allowed to exceed its threshold 5 consecutive months.
           •   Caremed allowed to exceed its threshold 13 out of 17 months.208

 This conduct is concerning when viewed in light of the information not only available to Cardinal
 Health but that which their people actually reviewed and had knowledge of. The slide below was
 created by Cardinal to provide “talking points” for the “abnormal” buying pattern of CVS 219 in
 Sanford, Florida.209




 204
       See Deposition of Steve Reardon, 432:8-433:3.
 205
       CAH_MDL2804_02509732, 02509741.
 206
       Id. at 02509756, 02509758, 02509764, 02509780
 207
       See pp. 184-186.
 208
       See CAH_MDL_PRIORPROD_DEA12_00004353; Depo. of Christopher Forst at 312:22-320:9.
 209
   See CAH_MDL_PRIORPROD_DEA12_00003244, 00003250; CAH_MDL2804_01103874,
 01103875; and CAH_MDL_PRIORPROD_DEA12_00014224 at 00014248 para 46.
                                                       74
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 Even Christopher Forst, who is a pharmacist and was Director of quality/regulatory affairs,
 testified that he “would be uncomfortable selling that much to the store,” referring to CVS 219.210

         As mentioned above this same practice of exceeding thresholds was not limited to the
 above Florida pharmacies but also is evident in Huntington and Cabell County. I have reviewed a
 spreadsheet produced by Cardinal as CAH_FEDWV_00001115, which contains information
 related to thresholds set by Cardinal for customers in Cabell County and Huntington. The
 spreadsheet contains the dates pharmacies exceeded their thresholds and what action was
 ultimately taken with respect to the orders (e.g., Cut, Released, or Reported). Based on the due
 diligence files produced, Cardinal frequently failed to conduct adequate due diligence with respect
 to orders placed by customers in Huntington and Cabell County that exceeded their respective
 thresholds for controlled substances. The table below identifies a small sample of the orders that
 were ultimately released and allowed to ship despite there being inadequately documented due
 diligence supporting the justification indicated for the release.211


        Date of                                                         Justification
                                          Controlled                                         Due
       Threshold        Pharmacy                            Result   (CAH_MDL2804_000
                                          Substance                                        Diligence
         Event                                                            01115)




 210
       See Deposition of Christopher Forst at 333:22-23.
 211
       See, e.g., CAH_FEDWV_00000001 - 00001109.
                                                       75
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                   T AND J
                  Enterprises,
                 Inc., dba The
                                   DF# 9143
                   Medicine                                       NOT
                                  (Oxycodone
                    Shoppe                                    UNREASONABLE
                                 Hydrochloride)
   11/25/2010                                     Released      QUANTITY,      None
                 2402 Adams      OXYCONTIN
                                                             PATTERN, AND/OR
                   Avenue,       80MG 100 CR
                                                               FREQUENCY
                                      C2
                 Huntington,
                 WV (DEA#
                             )
                   T AND J
                  Enterprises,
                 Inc., dba The
                                   DF# 9143
                   Medicine                                       NOT
                                  (Oxycodone
                    Shoppe                                    UNREASONABLE
                                 Hydrochloride)
   11/27/2010                                     Released      QUANTITY,      None
                 2402 Adams      OXYCODONE
                                                             PATTERN, AND/OR
                   Avenue,       HCL 30MG 100
                                                               FREQUENCY
                                    IR C2
                 Huntington,
                 WV (DEA#


                 West Virginia
                CVS Pharmacy,      DF# 9143
                 LLC (CVS#        (Oxycodone                      “NOT
                    3480)        Hydrochloride)               UNREASONABLE
   6/25/2012    5179 US Route    OXYCODONE/       Released      QUANTITY,      None
                   60 East,        APAP 10-                  PATTERN, AND/OR
                 Huntington,     650MG 100 C2                  FREQUENCY”
                 WV (DEA#
                             )
                 West Virginia
                CVS Pharmacy,      DF# 9143
                 LLC (CVS#        (Oxycodone                      “NOT
                    3480)        Hydrochloride)               UNREASONABLE
   6/25/2012    5179 US Route     PERCOCET        Released      QUANTITY,      None
                   60 East,      10MG-325MG                  PATTERN, AND/OR
                 Huntington,       100 C2                      FREQUENCY”
                 WV (DEA#
                             )




                                             76
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         According to Christopher Forst, when an order is placed by a pharmacy or drug store that
 exceeds a predetermined threshold, the particular order is automatically stopped.212 This means
 that the order would not be filled until it was reviewed by a Cardinal Health employee and a
 conscious decision was made to release the order that exceeded the threshold.213

         By setting a threshold for its respective customers Cardinal Health internally determined
 at what level a specific order would be triggered as potentially suspicious. Such a trigger under
 Cardinal Health’s system then implemented the KYC requirement and required Cardinal Health
 to conduct due diligence to determine whether the triggering order could be shipped or not. Such
 due diligence must be appropriately documented in the respective customers’ due diligence files
 to insure an adequate history of investigative activity.

                    ii. Know Your Customer

        The KYC aspect of Cardinal Health’s system was devised in a way to allow for the
 documentary support of the regulatory decision Cardinal Health is required to make of its
 customers. This system was intended to collect information from several differing functions
 including but not limited to: (a) new account approval process, (b) on-sight investigations, (c)
 additional internal research conducted on the customer, and (d) justifications for changes made
 and due diligence conducted related to any specific order or threshold change.

         Cardinal Health failures came not necessarily in the design of its KYC system but in the
 execution and operation of the system. Due diligence files should be complete, accurate, and
 maintained on each customer to allow a registrant to have a sufficient understanding of each
 specific customer. These customer files also must be accessible to allow a registrant to use this
 information when it receives an order that it believes is potentially suspicious. Based on the
 information that I have reviewed Cardinal did not maintain sufficient KYC/due diligence files on
 each of its customers to establish sufficient knowledge of the customers. The due diligence
 documents Cardinal identified were not organized in a manner that would allow them to be useful
 for future investigations.

         Cardinal also separated its retail customers into two categories: (a) retail independents (RI)
 and (b) retail or national chains. During Policy Period #2, Cardinal treated retail chain customers
 differently from retail independents as it relates to KYC/due diligence. Cardinal Health relied on
 chain customers to conduct their own due diligence and investigations related to potential
 suspicious orders and diversion concerns.214 This practice continued even after Cardinal Health
 was told by the DEA in November 2009 that Cardinal Health “must exercise the same level of



 212
       See Deposition of Christopher Forst at 339: 9-24.
 213
       See id.
 214
   See Declaration of Michael A. Moné, CAH_MDL_PRIORPROD_DEA12_00014053 at page 13;
 CAH_MDL2804_03262274, 03262438.
                                                       77
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 oversight with respect to retail chain pharmacies and retail independent pharmacies.”215 The CSA
 does not permit a registrant to delegate or shift the burden of maintaining effective controls to a
 third party, even if that third party is also a registrant. These practices were not sufficient for
 Cardinal Health to meet its obligations under the security requirement.

           c.      Policy Period #3 (2012 to Present):

        Cardinal Health’s third redesign of its SOM program (2012-present) occurred after the
  second enforcement action by the DEA. Cardinal Health asserted that this system was less
  subjective but in reality, it was the contrary. The system that Cardinal implemented in 2013
  continued to utilize both the threshold system and the KYC/due diligence component. However,
  Cardinal Health’s revised system now based the thresholds solely on the individual customer’s
  information without consideration for the population that it served or comparison to similar
  customers.216 This violated Cardinal Health’s own Standard Operating Procedures (SOP).217

         Cardinal also developed working guidelines, or “General Work Instructions,” that,
 according to Cardinal’s VP of QRA, Supply Chain Integrity, Todd Cameron, are utilized more
 frequently by Cardinal and contain more “action oriented detail” than the Standard Operating
 Procedures.218 One set of these guidelines describe a process for Cardinal to permit customers who
 have exceeded their threshold for a particular drug to receive a certain percentage of dosage units
 over the threshold once per accrual period per drug family.219 The amount a customer was allowed
 to receive above its threshold depended on the current



         According to internal documents produced by Cardinal, it appears that Cardinal did not
 want its use of a “percentage over threshold” process to be disclosed to the DEA. In April 2014,
 Cardinal’s Director of Investigations QRA, Ullrich Mayeski, tasked Cardinal employees Kim
 Howenstein and Kimberly Anna-Soisson to create a presentation for Mayeski to give to Cardinal
 Compliance Officers concerning how the Compliance Officers would “facilitate an overview
 conversation about the SOM program during a DEA Cyclic Inspection.”221 Ullrich also advised
 Howenstein and Anna-Soisson that the presentation would be shared with the DEA during an on-



 215
    See Correcting Declaration of Michael A. Moné, CAH_MDL_PRIORPROD_DEA12_00013747 at
 page 4; Depo. of Steven Morse, 113:8-13; Depo. of Christopher Forst, 33:9-34:5.
 216
       See Depo. of Todd Cameron, 54-69.
 217
       CAH_MDL_PRIORPROD_AG_0028694.
 218
       See Depo. of Todd Cameron, 118:2-119:5.
 219
       CAH_MDL2804_00012244, 00012249-00012267.
 220
       Id. at CAH_MDL2804_00012263-00012264.
 221
       CAH_MDL2804_00012244.
                                                   78
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 site inspection.222 Howenstein and Anna-Soisson developed a draft and in an email on May 1,
 2014, discussing the document, Anna-Soisson stated that she “intentionally left out the part about
 releasing beyond the [threshold]” because she “did not want to draw attention to the practice but
 agree that the CO’s should know it exists.”223 In an instant message exchange, Anna-Soisson then
 told Mayeski that she “did not want to draw attention to what I believe they would consider
 questionable at best so we agreed and put it in the notes only section. That way CO’s know it
 occurs but it isn’t so obvious.”224Anna-Soisson had previously raised issues about this practice in
 an email to Todd Cameron and Christopher Forst, pointing out that analysts were permitted to
 release a percentage over threshold even in instances where a threshold increase was not warranted
 or where the customer was “failing” other objective tests.225

        With the exception of one order from 2010, this is the first timeframe for which Cardinal
 Health has produced specific suspicious orders related to the City of Huntington and Cabell
 County, West Virginia. Cardinal Health identified 292 suspicious orders for Huntington and
 Cabell County combined from August 2012 to present.226

             3.   Cardinal Health failed to report suspicious orders of controlled substances in
                  violation of the reporting requirement set forth in 21 C.F.R. § 1301.74(b).

         Cardinal Health timely reported zero suspicious orders in the City of Huntington and Cabell
 County, West Virginia from 1996 to at least 2008, based on the records provided. The ILR is an
 after-the-fact distribution report which is insufficient. Cardinal has produced information related
 to 116 suspicious orders that were reported to the DEA for Huntington and Cabell County during
 Policy Period #2 (2008-2012), though nearly all were reported in the second half of 2012.227
 However, it was Cardinal Health’s practice not to report suspicious orders but to “report an order
 as suspicious when the customer appeared suspicious” and Cardinal Health was going to terminate
 service to that customer.228 Waiting to the point of termination of a customer before reporting any
 suspicious orders related to the customer is not sufficient to meet the reporting requirement. This
 conclusion is supported by several documents produced by Cardinal Health. First, Cardinal’s
 November 1, 2012, Audit Committee Meeting packet indicates that during fiscal years 2010 and
 2011 Cardinal only reported 30 and 47 suspicious orders, respectively, nationwide. This is in stark
 222
       Id.
 223
       CAH_MDL2804_00012953.
 224
       CAH_MDL2804_02350970.
 225
       CAH_MDL2804_00009412, 00009413.
 226
       CAH_MDL2804_03468434.
 227
       CAH_MDL2804_03468434.
 228
    See Investigation Report of the Special Demand Committee,
 CAH_MDL_PRIORPROD_HOUSE_0003331 at page 36; also see Supplemental Declaration of Michael
 A. Mone, CAH_MDL_PRIORPROD_DEA12_00014762 at page 8; also see CAH_MDL2804_03262274,
 03262438.
                                                 79
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 contrast to the 6,326% increase of reported suspicious orders that allegedly occurred in 2012,
 according to the document.229 Additionally, during this same period the Baltimore DEA office
 provided a presentation to Cardinal Health that, among other things, outlined that between 2008
 and October 1, 2011, Cardinal did not report any suspicious orders of oxycodone products in
 Maryland.230

         Finally, during Policy Period #3 Cardinal Health reported 176 suspicious orders but
 continued to ship the same base codes to many of those customers.231 Any additional orders from
 these customers without having been cleared would also constitute a suspicious order and should
 have been reported to the DEA as such.232 Also during the 2012-2015 timeframe, Cardinal’s
 employee testified that Cardinal failed to report to the DEA approximately 14,000 separate
 suspicious orders from around the country. According to Mr. Cameron these were for “subbase
 codes” which would generally be for more highly abused dosages. 233 Additionally, using any of
 the methodologies described in the Expert Report of Craig McCann, it is apparent Cardinal Health
 failed to report thousands of suspicious orders arising out the City of Huntington and Cabell
 County.234

            4.      Cardinal Health failed to stop shipment of suspicious orders of controlled
                    substances in violation of the requirement to maintain effective controls against
                    diversion as set forth in 21 U.S.C.A. § 823(b)(1) [1970].

         Again, the premise of the CSA is to ensure that when dealing with these controlled
 substances that are highly addictive in nature and dangerous that we do so in a way that best
 protects our communities. This is signified in the CSA’s requirement to all registrants’ to “maintain
 effective controls” against diversion. With this understanding, even if Cardinal Health had
 properly identified suspicious orders, its corporate policy from 1996 to 2008 was to ship anyway.
 This is a blatant failure to maintain effective controls to prevent diversion and a breach of their
 regulatory obligations as a registrant.

        Being that I have not specifically seen any suspicious orders identified by Cardinal Health
 as being reported for customers in Huntington and Cabell County during Policy Period #2, other
 than those reported the final months of 2012 and a single order from 2010, I cannot say whether
 Cardinal Health shipped any orders into Huntington and Cabell County that Cardinal Health



 229
       CAH_MDL2804_03262274, 03262438.
 230
       CAH_MDL2804_02509732, 02509741.
 231
       See “Know Your Customer” section above; also see CAH_MDL2804_03468434.
 232
       CAH_MDL2804_00227518, 587.
 233
       Depo. of Todd Cameron, pp. 268-271.
 234
       See Section III above.
                                                   80
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 identified as suspicious. However, I can say that Cardinal Health during this timeframe did ship
 suspicious orders that should have been identified.235

            B. McKesson Corporation
 Distribution Center: Washington Courthouse, OH
 DEA Registrant Number:
 Transactional Data Disclosed: Date Range: 10/01/04 – 6/30/2018236
 Cabell County/Huntington Volume: 237
                       Oxycodone                              3,983,350 dosage units
                      Hydrocodone                             3,732,930 dosage units


                1. Court Ordered SOMS Discovery Disclosures:

 •      McKesson Corporation’s Objections and Responses to Plaintiffs’ First Combined Discovery
        Requests to Distributors (Nos. 1-11) (November 29, 2019);

 McKesson Corporation’s Supplemental Objections and Responses to Plaintiffs’ First Combined
 Discovery Requests to Distributors (February 28, 2020)

 •      McKesson Corporation’s Second Supplemental Objections and Responses to Plaintiffs’ First
        Combined Discovery Requests to Distributors (March 17, 2020)
 •      McKesson Corporation’s Objections and Responses to Plaintiffs’ Requests for Production
        (March 30, 2020)
 •      McKesson Corporation’s Objections and Responses to Plaintiffs’ Third Set of Combined
        Discovery Requests (April 13, 2020)

                2. SOMS Corporate Policy Disclosed:
            McKesson Drug Operations Manual – Section 55 (January 15, 1997)238
        McKesson Corporation (hereinafter “McKesson”) utilized this system from at least 1997
 to May 2007. Section 55 outlines five different reports concerning a customer’s purchases
 (Controlled Substances Sales Report, Controlled Substances Customer Purchase Report, Daily

 235
       See Section III above.
 236
     MCKMDL01391112.
 237
       McCann Report, App. 7.
 238
       MCKMDL00651873.
                                                 81
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 Controlled Substance Suspicious Order Warning Report, Monthly Controlled Substance
 Suspicious Purchases Report and the Monthly ARCOS Customer Recap Variance). 239 However,
 the output from these reports was rather basic. McKesson created daily and monthly reports that
 documented retrospective sales of controlled substances, including opioids, when those sales
 exceeded three times of that customer’s 12 month purchase average for that base code.240 After it
 was generated, a hard copy of the report was mailed or faxed to the local DEA office. The reports
 that were generated were known as DU-45 reports. However, it should be noted that McKesson
 has not been able to locate any DU-45 reports that were allegedly generated from the Washington
 Courthouse Distribution Center.241

           Lifestyle Drug Monitoring Program (May 2007)242

         In May 2007, McKesson launched the Lifestyle Drug Monitoring Program (hereinafter
 “LDMP”). The LDMP was limited to four drug products (oxycodone, hydrocodone, alprazolam
 and phentermine).243 For these four drugs, an 8,000 monthly dosage unit threshold was set for
 every customer nationwide.244 Once the 8,000 dosage unit threshold was hit in a given month, a 3
 level review process was to be triggered.245 However, the LDMP had no mechanism to block
 orders once the 8,000 unit threshold was hit and an investigation was ongoing.246 Therefore,
 despite the 8,000 unit threshold being hit by a particular customer, that customer was still permitted
 to place and receive orders for opioids, including oxycodone and hydrocodone.

           Controlled Substances Monitoring Program (May 2008)247
        In May 2008, McKesson launched the Controlled Substances Monitoring Program
 (hereinafter “CSMP”). The CSMP continued to apply monthly thresholds, however, under the
 CSMP monthly thresholds applied to all opioid products. Thresholds were initially set under the
 CSMP by reviewing the customer’s 12 month purchase history for each base code, reviewing the
 highest month of purchases in that 12 month period, and adding a 10% buffer to that purchase


 239
       MCKMDL00651873 at 00651919-20.
 240
       MCKMDL00651873 at 00651919-20; 1/10/19 Gary Hilliard Depo. at 163:21-169:7.
   McKesson Corporation’s Second Supplemental Objections and Responses to Plaintiffs’ First Combined
 241

 Discovery Requests to Distributors at pp. 9-10.
 242
       MCKMDL00355251.
 243
       MCKMDL00355251.
 244
       MCKMDL00355251.
 245
       MCKMDL00355251 at MCKMDL00355252-00355255.
 246
       11/28/18 William Mahoney Depo. at 584:11-17.
 247
       MCKMDL00518064.
                                                      82
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 amount.248 Thresholds could then be adjusted thereafter through a process referred to as a threshold
 change request (hereinafter “TCR”).249 In 2015, McKesson supplemented the CSMP by adding
 an analysis of certain statistical and non-statistical red flags.250 Beginning in 2017 and extending
 into 2018 McKesson began implementing a threshold system developed by Analysis Group
 (hereinafter “AGI”).251 This system allowed for the establishment of thresholds using several
 different methodologies including one based on the same customer’s prior orders, another based
 on purchases from similarly situated customer’s in the same geographic region, and others using
 custom methodologies developed by McKesson’s regulatory team.252
              3. Enforcement Actions
          a. On August 4, 2006, DEA issued an Order to Show Cause with respect to McKesson’s
             Lakeland distribution center for failing to maintain effective controls against diversion
             concerning opioid products. 253
          b. On November 1, 2007, DEA issued an Order to Show Cause against McKesson’s
             Landover distribution center for failing to maintain effective controls against diversion
             concerning opioid products.254
          c. On May 2, 2008, McKesson and DOJ entered into a settlement agreement wherein
             McKesson agreed to pay a $13.25 million dollar fine and agreed to make improvements
             to its controlled substances monitoring practices. The settlement involved allegations
             by DOJ that McKesson failed to maintain effective controls against diversion at six of
             its distribution centers.255
          d. On January 5, 2017, McKesson entered into a settlement agreement wherein it agreed
             to pay a $150 million civil penalty for violation of the 2008 settlement agreement as
             well as failure to identify and report suspicious orders at its facilities in Aurora,
             Colorado; Aurora, Illinois; Delran, New Jersey; LaCrosse, Wisconsin; Lakeland,
             Florida; Landover, Maryland; La Vista, Nebraska; Livonia, Michigan; Methuen,
             Massachusetts; Santa Fe Springs, California; Washington Courthouse, Ohio; and West



 248
       MCKMDL00267635 at MCKMDL00267641; MCKMDL00633917.
 249
       MCKMDL00267635 at 00267649; MCKMDL00518064 at MCKMDL00518064, 67.
 250
       MCKMDL00330099 at MCKMDL0033114, MCKMDL0033122-23.
 251
       MCKMDL00437057.
 252
       MCKMDL00437057 at 00437059-60.
 253
       MCKMDL00337001.
 254
       MCKMDL00337001.
 255
       MCKMDL00337001 at 00337013-15.
                                                   83
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             Sacramento, California.256 Moreover, as part of this settlement agreement McKesson
             accepted responsibility for failing to identify and report suspicious orders following the
             2008 settlement agreement.257
              4. Suspicious Orders Reported in the City of Huntington and Cabell County,
                 West Virginia Jurisdictions258
                               Pre-Shipment Reporting             Post-Shipment Reporting
            1996                         0
            1997                         0259                            DU-45 Reports
            1998                         0                               DU-45 Reports
            1999                         0                               DU-45 Reports
            2000                         0                               DU-45 Reports
            2001                         0                               DU-45 Reports
            2002                         0                               DU-45 Reports
            2003                         0                               DU-45 Reports
            2004                         0                               DU-45 Reports
            2005                         0                               DU-45 Reports
            2006                         0                               DU-45 Reports
            2007                         0                               DU-45 Reports
            2008                         0
            2009                         0
            2010                         0
            2011                         0
            2012                         0
            2013                         5260
            2014                        29
            2015                        20
            2016                        10

 256
       MCKMDL00355349 at 00355352-57.
 257
       MCKMDL00355349 at 00355352.
 258
       MCKMDL01391127.
 259
    From 1997 through May 2007 it is possible that McKesson reported excessive orders by way of the
 DU-45 Report for pharmacies in Cabell County, however, as noted above none of those reports could be
 located by McKesson for the Distribution Center servicing Cabell County and McKesson’s own
 employees have not viewed these reports as encompassing true suspicious orders. (See Gary Hilliard, Jan.
 10, 2019 Deposition at 176:8-176:22; MCKMDL00510747). These reports solely listed shipments that
 had already occurred and did not report any orders pre-shipment.
 260
   MCKMDL01391127. All of the suspicious order reports in 2013 occurred on or after August 1, 2013.
 The orders reported from 2013-2018 were orders blocked by McKesson and not shipped unless a TCR
 was subsequently approved.
                                                   84
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              2017                            2
              2018                           13261


               5. Due Diligence Conducted
         From at least 1997 to May 2007, there was no due diligence conducted by McKesson
 regarding potential suspicious orders of controlled substances. From May 2007 to May 2008,
 McKesson represented to DOJ that under the LDMP “customers will not be allowed to exceed the
 8,000 monthly dosage limit until a due diligence review has been completed.”262 However, this is
 not how the program appears to have actually operated, and in fact, documentation indicates that
 customers were routinely permitted to exceed the 8,000 monthly dosage thresholds prior to a due
 diligence review being completed by McKesson.263 Both the LDMP and CSMP had a tiered three-
 level review process that was triggered once a customer met its monthly threshold. However, I
 have reviewed the due diligence files produced for Huntington and Cabell County covering the
 time span of 2006 to January, 1, 2014, and found no evidence of a Level 2 or Level 3 review being
 conducted prior to January 1, 2014.264 Under the CSMP, McKesson also included a Know Your
 Customer Process. Again, however, McKesson’s due diligence files produced in this case show
 that for years this process was very rudimentary and that very few substantive investigations were
 performed.265 In 2015, McKesson began investigating specific statistical and non-statistical red
 flags.266 However, each of the red flags included beginning in this time frame should have been
 monitored by McKesson for many years prior. McKesson’s failure to do so serves as additional
 evidence of its failure to perform due diligence in preventing the diversion of opioid products.
         Based on my review of documents and testimony and as noted throughout this report,
 historically the due diligence conducted by McKesson has generally been substandard, at best.
 McKesson conducted no due diligence until 2007. Once a due diligence program was finally
 instituted to require a review before a customer’s opioid dosage unit threshold could be increased,
 threshold increases were routinely authorized with little to no justification. Also, as McKesson
 regularly showed complete deference to threshold increase requests from chain pharmacies, the

 261
       The data I have reviewed runs through December 31, 2018 presently.
 262
       MCKMDL00330924 at 00330926; also stamped MCK-HOI-002-0000001 at 0000003.
 263
       See e.g., MCKMDL00540033.
 264
  MCKMDL01581299;     MCKMDL00361092-MCKMDL00361103;                           MCKMDL00356945-
 MCKMDL00356992;     MCKMDL00368075-MCKMDL00368093;                            MCKMDL00358572-
 MCKMDL00358624;      MCKMDL0035741-MCKMDL00359817;                            MCKMDL00368103-
 MCKMDL00368105;     MCKMDL00359956-MCKMDL00359978;                            MCKMDL00357132-
 MCKMDL00357219;     MCKMDL00365652-MCKMDL00365836;                            MCKMDL00359877-
 MCKMDL00359015; MCKMDL00360871-MCKMDL00360890.
 265
        Id.
 266
       MCKMDL00330099 at 00330118-120, 126-130.
                                                     85
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 due diligence for those customers was consistently lacking. Therefore, while McKesson has had
 some sort of due diligence program in place since 2007, a review of those programs in practice
 makes clear that for all practical purposes, McKesson’s due diligence efforts have fallen short of
 what is required.
               6. Opinions Related to McKesson Corporation:
         McKesson Corporation failed to maintain effective controls against diversion of
 prescription opiates into the illicit market in violation of 21 U.S.C.A. § 823(b)(1) [1970]. The
 graphs below demonstrate a clear escalation of prescription oxycodone and hydrocodone by
 McKesson into Huntington and Cabell County by dose, base weight, and MME.267




 267
       McCann Report, App. 9(C).
                                                86
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        The most effective control to prevent diversion is blocking a suspicious order before it is
 shipped. This notion is consistent with DEA guidance that has been provided to industry for
 decades, including guidance provided directly from DEA to McKesson as early as 1993.268 As
 discussed above, from at least 1997 to May 2008, McKesson had no controls in place to block
 suspicious orders before they were shipped. Thus, any controls that were in place during this time
 period were completely ineffective in meeting the ultimate goal - the prevention of diversion.
        With the launch of the CSMP in May 2008, for the first time McKesson established a
 process for blocking orders that were identified as suspicious. However, it is clear that from the
 time the CSMP was launched that McKesson’s programs contained multiple loopholes to ensure
 as few orders as possible were blocked, thereby ensuring that the controls that were put in place
 remained completely ineffective. In fact, at the outset of the program McKesson notified all of its
 customers they should not expect any change in their ability to order controlled substances under

 268
   (See e.g., 1996 DEA Investigators Manual (CAH_MDL2804_02203346); DEA Memorandum, Legal
 Guidance on Reporting Suspicious Orders (March 1, 2007)
 (CAH_MDL_PRIORPROD_DEA12_00000609); US-DEA-00026154.
                                                 88
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 the CSMP. In a document that was to be shared with McKesson’s pharmacy customers when
 introducing them to the CSMP, McKesson stated “[t]his program addresses the DEA’s
 requirements to ensure controlled substances are used in the way they were intended, but it also
 ensures that you as a McKesson customer can continue with business as usual.”269 Given that
 this document was written just after McKesson entered into a $13.25 million dollar settlement with
 DOJ for failing to have effective controls against diversion as it pertained to opioid distribution,
 the message to McKesson’s customers should have been that it would be anything but business as
 usual for them. However, unfortunately, this mentality appears to have been pervasive within
 McKesson’s regulatory department for years to come, contributing to the following significant
 shortcomings with its SOM programs.
         First, while McKesson established thresholds under the CSMP, those thresholds were
 frequently set far too high to ever be triggered. In fact, in August 2014, DOJ pointed out this fatal
 flaw in McKesson’s CSMP. DOJ noted that McKesson’s review process under the CSMP was not
 even triggered until a customer purchased more than 10% of their average270 ordering month in
 the prior 12-month period. Not to mention, these thresholds were set based on purchases from
 2007-2008 which DOJ noted was a “year in which McKesson had settled claims because diversion
 was flourishing in McKesson-supplied pharmacies.”271 The extremely high thresholds set by
 McKesson for controlled substances did not go unnoticed within the company. On August 31,
 2011, Director of Regulatory Affairs, David Gustin, noted “I have thought of an area that needs to
 be tightened up in CSMP and it is the number of accounts we have that have large gaps between
 the amount of Oxy or Hydro they are allowed to buy (their threshold) and the amount they really
 need. (Their current purchases) This increases the ‘opportunity’ for diversion by exposing more
 product for introduction into the pipeline than may be being used for legitimate purchases.”’272
 Despite Mr. Gustin’s concerns, no serious efforts were undertaken to systematically reduce
 thresholds until 2015, a full four years later.273 McKesson also continued to utilize a form of this
 system to set new thresholds until switching to the AGI based threshold algorithm in the 2017-
 2018 time period. In fact, the “business as usual” mentality noted above continued even after
 McKesson entered into a $150 million settlement with DOJ for its continuing failure to have
 effective controls against diversion following the 2008 settlement. Only two weeks after the
 settlement agreement was signed, McKesson’s Senior Director of Regulatory Affairs, Nate Hartle,


 269
       MCKMDL00543610 at 00543613 (emphasis added).
 270
    The reference to the thresholds being set based on the average orders from the prior 12 months also
 underestimates how McKesson actually set thresholds. According to McKesson’s own documents, these
 thresholds were set based on the highest ordering month from the prior 12 months, not the average month.
 (See e.g., MCKMDL00626898; MCKMDL00633917).
 271
       MCKMDL00409224 at 00409234.
 272
       MCKMDL00507799.
 273
       See MCKMDL00410744; MCKMDL00402184.
                                                   89
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 attempted to calm customer concerns that McKesson would be stricter on its supply of controlled
 substances by once again noting it would be “business as usual from a threshold perspective.”274
          Second, McKesson routinely increased thresholds without requiring adequate justification
 for the increases. In order to have a threshold increased under the CSMP, a customer was supposed
 to provide documentation supporting a legitimate change in business that warranted the threshold
 increase.275 However, these requirements were routinely ignored. As an example, in April 2011,
 Director of Regulatory Affairs, David Gustin, expressed that McKesson needed to tighten up the
 process regarding threshold increases because threshold increases were “almost automatic” and
 being granted for insufficient reasons, like “business increase”.276 Regulatory Affairs Director
 Tom McDonald reiterated these concerns in July 2012. Mr. McDonald noted that the company
 was too liberally granting threshold increases without proper documentation and often based only
 a stated claim of business growth by the customer.277 Mr. Gustin became so concerned about the
 lack of due diligence being conducted by McKesson that he even noted to other colleagues in
 regulatory affairs that “[w]e as DRAs need to get out visiting more customers and away from our
 laptops or the company is going to end up paying the price . . . big time.”278 279 Another Regulatory
 Affairs Director, Michael Oriente, responded, “I am overwhelmed. I feel that I am going down a
 river without a paddle and fighting the rapids. Sooner or later, hopefully later I feel we will be
 burned by a customer that did not get enough due diligence. I feel it is more of when than if we
 have a problem rise up.”280 McKesson ultimately acknowledged the problem of deficient due
 diligence, especially as to threshold increase requests. A November 2013 training deck noted a
 desire to make threshold change increases “the exception, not the rule” going forward in order to
 address the lack of due diligence that had become the norm at McKesson related to threshold
 increase requests.281 The lack of due diligence surrounding threshold increases was also apparent
 to DOJ. In August 2014, DOJ noted that McKesson appeared to be willing to approve threshold
 increases for opioids for the flimsiest of reasons.282



 274
       MCKMDL00418094 (emphasis added).
 275
       MCKMDL00518064, 067.
 276
       MCKMDL00507221 at 00507223.
 277
       MCKMDL00633455.
 278
       MCKMDL00634329 at 00634331.
 279
    Mr. Gustin recently entered a plea agreement to the criminal offense of knowingly failing to file
 suspicious order reports related to his time spent as a Director of Regulatory Affairs for McKesson. See
 David B. Gustin Plea Agreement, 6:20-cr-00038-REW-HAI, Doc. # 7.
 280
       MCKMDL00634329 at 00634330-31.
 281
       MCKMDL00516748 at 00516754.
 282
       MCKMDL00409224 at 00409235.
                                                   90
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         An example of McKesson’s overall poor due diligence and its willingness to increase
 thresholds without proper due diligence can be found by analyzing Medicine Cabinet #5 (also
 referred to at times as Custom Script Pharmacy), was onboarded as a customer by McKesson on
 July 29, 2010.283 On or about May 11, 2013, Medicine Cabinet #5 moved to 3436 U.S. Route 60
 East, Barboursville, West Virginia. On October 7, 2010, this pharmacy sought a threshold increase
 for oxycodone from 23,500 doses per month to 30,500 doses per month.284 The rationale for the
 proposed increase offered by the customer was the customer’s plan to aggressively market for
 business from clinics that the pharmacy expected would result in a “25% surge in usage of product
 containing oxycodone.”285 No further justification was provided and I have seen no evidence
 supporting that any additional investigation was conducted by McKesson as to the basis for the
 request, including the suspicious nature of the request only relating to oxycodone containing
 products. The threshold increase requested was approved by McKesson on October 8, 2010, which
 was only 1 day after the request was made.286 A further review revealed there were numerous
 oxycodone threshold increases for Medicine Cabinet on the following dates:
               •   July 29, 2010 – initial threshold of 8,000 dosage units
               •   August 10, 2010 – threshold increased to 16,000 dosage units
               •   September 17, 2010 – threshold increased to 23,500 dosage units
               •   October 8, 2010 – threshold increased to 30,500 dosage units
         Data collected later by McKesson ultimately indicated that this pharmacy was almost
 exclusively purchasing controlled substances from McKesson with control/RX ratios for the
 months following the above noted threshold increase topping out consistently at 94%-98%.287
 ARCOS data further indicates that Custom Script Pharmacy was purchasing oxycodone from
 additional distributors.288 I have seen no information in the diligence files for this pharmacy
 indicating that McKesson considered that it was not the only distributor supplying oxycodone to
 Custom Script Pharmacy in assessing the thresholds it set for this pharmacy or in determining
 whether to continue to supply oxycodone to this pharmacy. Transactional data also indicates that
 the oxycodone purchases for Custom Script Pharmacy were predominantly for the 30mg dosage
 strength, which is another red flag which should have been investigated.289 However, I have seen
 no evidence that McKesson actually undertook an investigation along those lines.




 283
       MCKMDL00328705.
 284
       MCKSTCT00137351.
 285
       Id.
 286
       MCKMDL00328705.
 287
       MCKMDL00326665.
 288
       McCann Report, App. 9(H).
 289
       McCann report, App. 9(J).
                                                  91
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         There were significant red flags that should have been identified by McKesson to maintain
 effective controls to prevent diversion. The due diligence documents I have reviewed for Custom
 Script reflect that McKesson did not conduct adequate due diligence for this pharmacy.290

        As a result of the October 2010 oxycodone threshold increase, Custom Script Pharmacy
 was permitted to order oxycodone in amounts that significantly exceeded the West Virginia and
 national averages for oxycodone for McKesson customers.291

        The information available to McKesson revealed the Medicine Cabinet #5 (Custom Script
 Pharmacy) was owned by the same individual who owned the Sav-Rite No.1 (also later know as
 Medicine Cabinet #8 located in Kermit, West Virginia. 292 The report of the Energy and Commerce
 Committee of the U.S. House of Representatives related to the suspicious ordering of opioids by
 pharmacies located in West Virginia features this pharmacy prominently. The committee reviewed
 McKesson’s conduct related to the distribution of opioids and compliance activities involving Sav-
 Rite No. 1. The report contained an extensive review of McKesson and the statements below detail
 some of the committee’s findings:

        •   In 2006 and 2007, McKesson distributed more than 5.54 million dosages of
            hydrocodone and more than 204,000 dosages of oxycodone to Sav-Rite No. 1,
            population 406, in Kermit, West Virginia. The hydrocodone and oxycodone
            distributions McKesson made in 2006 and 2007 alone were enough that Sav-Rite
            No. 1 ranked as the company’s third largest West Virginia purchaser of those two
            drugs between all of 2006 and 2017. In 2006, Sav-Rite No. 1 was ranked 22nd in
            the nation in regard to the overall number of hydrocodone pills it received.293

        •   Notably, and as discussed previously, the entirety of the due diligence file that
            McKesson produced to the Committee on Sav-Rite No. 1 contained only a single,
            two-page document—a November 2007 affidavit of James Wooley. The due
            diligence file did not include any documents regarding the level 1 review or the
            8,000 dosage per month threshold imposed by the LDMP. The due diligence file
            also did not include any threshold event documentation indicating that Sav-Rite No.
            1 surpassed the threshold, or any documents indicating that the threshold was raised
            above the 8,000 dosage per month threshold. Based on the documents provided, the
            Committee also cannot confirm the November 14, 2007, site visit by McKesson to


 290
    MCKMDL00364908;    MCKMDL01861247;   MCKMDL01864197;  MCKSTCT00120458;
 MCKMDL00326665;    MCKMDL00328669;    MCKMDL00328705;   MCKMSTCT00128356;
 MCKSTCT00137351; MCKMDL00364912.
 291
       McCann report, App. 9J.
 292
       MCKMDL00364908 at MCKMDL00364912.
 293
    United States, Congress, House, Committee on Energy and Commerce. Red Flags and Warning Signs
 Ignored: Opioid Distribution and Enforcement Concerns in West Virginia, December 19, 2018, p. 224.
                                                    92
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            Sav-Rite No. 1, or the reasons for the termination of the pharmacy by McKesson in
            November 2007.294

          Third, McKesson has a long track record of absolute deference to retail national account
 customers when it comes to threshold increases. McKesson’s Senior Director of Distribution
 Operations, Donald Walker, testified that McKesson did not ask for dispensing data in order to
 verify the legitimacy of threshold increases for retail national account customers and generally
 deferred to those customers to decide when it was appropriate for them to get threshold increases
 for controlled substances.295 Dispensing data was not requested or obtained from these RNA
 customers despite the fact that McKesson was aware that it was not the primary controlled
 substance distributor for these customers.296 These practices resulted in McKesson routinely
 granting threshold increases to retail national account customers without any apparent due
 diligence including pharmacies in Cabell County.297 McKesson’s conduct in this regard was
 patently improper, as the duty to conduct due diligence is non-delegable. McKesson was also on
 notice based on publicly available information that Rite Aid itself had a poor track record of
 compliance with the CSA, which should have further dissuaded McKesson from delegating its
 statutory responsibilities to Rite Aid.298 The impropriety of this conduct is also evidenced by the
 fact that McKesson was keenly aware that RNAs would become a target for diversionary activity
 in the late 2000s as a heightened focus was placed on independent stores.299
         McKesson’s deference to its retail national account customers is exemplified in its dealings
 with its Rite Aid customers across the country, including Cabell County. As described by Ed
 Bissler, manager of the Rite Aid account for McKesson from 1998 to 2010, Rite Aid was one of
 McKesson’s largest customers and was its single largest customer for an extended period of
 time.300 Almost immediately after the CSMP was enacted in 2008, Rite Aid asked to be opted out
 of the program or to have the program modified just for Rite Aid to ensure its supply of controlled
 substances would not be impacted.301 While McKesson did not opt Rite Aid entirely out of the
 CSMP, it did modify the program for Rite Aid in multiple ways which resulted in a deficient


 294
       Id. at 226-227.
 295
   See Donald Walker Deposition; Jan 10, 2019; pp. 190-193; See also MCKMDL01513753;
 MCKMDL01509848.
 296
       See e.g., MCKMDL02065947.
 297
       See e.g., MCKMDL00632877; MCKMDL01391128; MCKMDL00000497 at 00000520.
 298
   See       https://www.justice.gov/opa/pr/rite-aid-corporation-and-subsidiaries-agree-pay-5-million-civil-
 penalties-resolve-violations;        https://www.dea.gov/press-releases/2017/03/09/rite-aid-pays-834200-
 settlement-alleged-controlled-substances-act.
 299
       MCKMDL00735713.
 300
       Ed Bissler Deposition; August 9, 2019, pp. 12-16.
 301
       MCKMDL00632483 at 00632484.
                                                      93
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 monitoring of Rite Aid’s controlled substance purchases. McKesson started by providing Rite Aid
 with a 30% buffer on its thresholds for all controlled substances, rather than the standard 10%
 buffer provided to other customers.302
         Additionally, McKesson offered Rite Aid stores automatic threshold increases for schedule
 II controlled substances and schedule III controlled substances, including opioids. This started
 with 50% unilateral increases for Rite Aid on all schedule II products, including opioids.303 Soon
 thereafter, these automatic increases were also granted specifically for hydrocodone products.304
 Further, McKesson provided daily threshold reports to Rite Aid and completely deferred to Rite
 Aid’s corporate headquarters to dictate when thresholds should be increased.305 In doing so,
 McKesson often ignored significant red flags of potential diversion.306 A significant example of
 McKesson’s historical lack of due diligence as to Rite Aid stores is also found in a McKesson
 investigation in 2016 that was prompted by a DEA subpoena. In September 2016, DEA
 subpoenaed due diligence files for 36 Rite Aid stores.307 Of the 36 stores at issue, McKesson was
 only able to locate due diligence files for 3 of them.308 The lack of due diligence for RNA
 customers was also confirmed in an April 2011 email which referenced that regulatory contacts
 for RNA customers were outdated for most RNA customers and non-existent for many others.309
         Through these deferential practices, Rite Aid’s opioid thresholds rose to excessively high
 levels. For example, in 2016 McKesson reduced the hydrocodone thresholds for Rite Aid by more
 than 24 million doses per month.310 Unfortunately, by this point Rite Aid’s thresholds had been
 excessively high for nearly 8 years. After accounting for the hydrocodone and oxycodone
 distributed to Rite Aid by McKesson and by Rite Aid itself 311, Rite Aid stores in Cabell County
 received large quantities of hydrocodone and oxycodone without any meaningful due diligence



 302
       MCKMDL00627168 at 00627170-71.
 303
    MCKMDL00543795; See e.g., MCKMDL00628036; MCKMDL00781102                               at   00781120;
 MCKMDL00627955; MCKMDL00628187; MCKSTCT00059013.
 304
   See e.g., MCKMDL00628110; MCKMDL00781102 at 00781146, 00781149, & 00781155;
 MCKMDL00628025; MCKMDL00628047.
 305
       See, e.g., MCKMDL00632438.
 306
       See e.g., MCKMDL00631897; MCKMDL00781102 at 00781103, 00781144, 00781160, & 00781174.
 307
       MCKMDL00441794.
 308
       Id.
 309
       MCKMDL01940951.
 310
       MCKMDL00340143.
 311
    McKesson also voluntarily chose not to even question Rite Aid concerning the amount of opioids,
 namely hydrocodone, it was distributing to its own stores. (Deposition of Michael Oriente, Sep. 6, 2019 at
 pp. 267-269).
                                                    94
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 being conducted by McKesson to support the propriety of the pills it distributed to these Rite Aid
 stores.312
         Fourth, McKesson took affirmative steps to reduce the number of controlled substance
 orders it would have to block by warning customers that they were approaching a threshold, so the
 customer could seek an increase before McKesson would be forced to block their orders. In fact,
 this threshold warning system was designed solely to ensure that thresholds could be increased
 before any sales were lost. In discussing the creation of these reports in October 2006 Sharon
 Mackarness of McKesson stated, “[w]e are in the business to sell product. If we could produce a
 report … that warned a customers approach to the threshold, say at 85% of their 10,000 dosages,
 work could begin on justifying an increase in threshold prior to any lost sales.”313 These threshold
 warning reports were utilized for years thereafter to great effect as a preemptive tool to increase
 thresholds before orders had to be blocked. Presumably understanding the impropriety of
 providing these warning reports to customers, in November 2013 McKesson announced to its
 employees a new policy pertaining to threshold warning reports. The presentation states “[w]e are
 not communicating specific thresholds or providing threshold warning reports. We believe this is
 a better practice. Thresholds are not intended to allow customers to manage against a number. We
 strongly believe that customers should exercise their corresponding responsibility one prescription
 at a time.”314 The shift to not providing these warning reports was proper and McKesson should
 have abided by this policy without exception.
        The above measures individually and collectively served to render McKesson’s various
 programs ineffective as anti-diversion tools.
         I have reviewed multiple internal audits conducted by McKesson which confirmed that the
 CSMP was not being implemented by McKesson in a way that it could be effective to prevent
 diversion of controlled substances. In August 2008, several months after the CSMP was launched,
 McKesson conducted an audit to assess the “effectiveness of CSMP policies, procedures, and
 controls.”315 Among the significant issues uncovered in this audit included:
              •   1,359 customers that had not been assigned a threshold such that those customers
                  could order unlimited amounts of controlled substances;316
              •   Level 1 reviews were not being consistently performed;317

 312
    See e.g., Opioid Shipments from 2006-2014 for Rite Aid #968, McCann Report, App. 9H; Opioid
 Shipments from 2006-2014 for Rite Aid #3311, McCann Report, App. 9H; Opioid Shipments from 2006-
 2014 for Rite Aid #3423, McCann Report, App. 9H.
 313
       MCKMDL00543971 at 00543972.
 314
       MCKMDL00476786 at 00476791.
 315
       MCKMDL00721376 at 00721379.
 316
       MCKMDL00721376 at 00721380.
 317
       MCKMDL00721376 at 00721380.
                                                 95
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              •   Threshold change request forms were frequently not completed and when they were
                  completed they were often not completed correctly;318
              •   The CSMP was unclear on when level II or level III investigations should occur or
                  who should report suspicious orders.319
              •   Sales questionnaires and other diligence materials were not being routinely created
                  and/or retained.320
          Future audits confirmed that many of these problems persisted for years to come. In 2011,
 McKesson conducted an internal audit of four distribution centers, including the distribution center
 in Washington Courthouse, Ohio which has serviced Cabell County and surrounding areas.
 Numerous deficiencies were noted in the audit, which prompted Donald Walker to state, “I am
 certain that if we picked four different DC’s we would find the same issues so we should assume
 this is a network-wide concern.”321 Issues outlined in the audit report that are particularly relevant
 here are as follows:
              •   Level 1 forms were routinely not completed including for Washington Courthouse
                  which lacked level 1 forms for all omits in July 2010 and November 2010, the two
                  months examined;322
              •   Threshold change request forms were frequently not completed.323
         In November 2012, McKesson again conducted an internal audit as to the processes and
 procedures outlined in the CSMP. While McKesson concluded that the audit produced satisfactory
 results, some of the findings remained troubling.324 Specifically, the audit report noted the
 following:
              •   A complete lack of customer questionnaires or level 1 review forms for retail
                  national account customers;325




 318
       MCKMDL00721376 at 00721383.
 319
    MCKMDL00721376 at 00721384-85. (I have not found evidence that following this audit more detail
 was provided to assist a regulatory employee in understanding when a level II or level III review should be
 conducted.)
 320
       MCKMDL00721376 at 007211386.
 321
       MCKMDL00498057.
 322
       MCKMDL00498057 at 00498069-70.
 323
       MCKMDL00498057 at MCKMDL00498070-71.
 324
       MCKMDL00721366 at 00721369.
 325
     MCKMDL00721366 at 00721372; (See also MCKMDL00827928 and MCKMDL01940693, which
 further confirm the lack of compliance with due diligence responsibilities as to RNA accounts).
                                                     96
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              •   Level 1 reviews not consistently being completed for other McKesson
                  customers;326
              •   Monthly threshold change request and level 1 review self-audits were not being
                  performed;327
              •   Documentation supporting some threshold change requests did not exist.328
         As noted above, in May 2015, McKesson incorporated a list of statistical and non-statistical
 red flags into the CSMP.329 However, all of these red flags included are concepts McKesson
 should have been monitoring for decades. For example, as part of this newly created red flag
 analysis, McKesson set out to monitor a “customer’s controls/RX ratio, when compared to similar
 customers serviced by the same distribution center”. 330 However, McKesson had specifically been
 told to monitor for exactly that type of information by DEA as far back as 2005.331 Similarly, in
 2015 McKesson began analyzing customer purchases against the “mean for the customer’s
 servicing distribution center.”332 However, this sort of geographic analysis had been encouraged
 by the DEA at least since 1996.333
          McKesson has recently adopted a new threshold system developed by AGI. While it is too
 soon to determine if that program will be effective in preventing diversion, there is reason to be
 concerned that it is flawed as well. Both the benchmark and same customer thresholds are
 premised on historical opioid sales levels for McKesson customers. That foundational construct
 is illogical given that it is the sales of opioids at these levels that has created the opioid epidemic
 and have resulted in McKesson paying significant fines for failing to maintain effective controls
 against diversion in 2008 and 2017.
        An additional audit conducted by an Independent Review Organization (“IRO”) as required
 by McKesson’s 2017 settlement with DEA also noted several continued deficiencies in
 McKesson’s compliance activities. While noting that it had limited visibility into the CSMP334,
 the IRO did list the following concerns about the CSMP based on what it could observe:




 326
       MCKMDL00721366 at 00721373.
 327
       MCKMDL00721366 at 00721374-75.
 328
       MCKMDL00721366 at 00721375.
 329
       MCKMDL00330099 at 00330126-130.
 330
       MCKMDL00330099 at 00330129.
 331
       See MCKMDL00496859 at 00496862.
 332
       MCKMDL00330099 at 00330129.
 333
       See CAH_MDL2804_02203353 at 02203357.
 334
       MCKMDL00450972 at 00450977.
                                                   97
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                • Regulatory affairs personnel needed to better justify their decision-making process
                related to threshold change requests and modifications of thresholds;335
                • Documents supporting threshold change request decisions were routinely not
                included within the customers’ files;336
                • Some investigative reports did not adequately explain the resolution of red flags
                and others were “threadbare”.337
        McKesson Corporation failed to design and operate a system to identify suspicious orders
 of controlled substances in violation of the security requirement set forth in 21 C.F.R. §
 1301.74(b).
                    a. Policy Period #1 (1997-May 2007)
         Like Cardinal Health, McKesson claims the system it utilized from 1997 to May 2007 was
 premised upon guidance from the DEA. As previously noted, no guidance to justify McKesson’s
 actions during this time period has ever been provided by the DEA. Nor does the record reveal
 any document which supports this contention. In fact, DEA correspondence from December 1993
 actually supports the contrary conclusion. In a letter drafted by DEA’s Director at the Office of
 Diversion Control, Gene Haislip, in response to McKesson’s request for “guidelines on suspicious
 order reporting systems,” it was noted that “the registrant should not merely be accumulating data
 on what appear to be excessive purchases for eventual submission to DEA, but rather that the
 system must be monitored so that any such orders will be apparent to the registrant and so that
 they can be reported to DEA upon discovery and, whenever possible, before the order is
 shipped.”338 The letter goes on to provide that the registrant cannot delegate its duty to identify
 suspicious orders to DEA by merely providing excessive order reports. The letter specifically
 states:
             A registrant, whose own personnel are in the best position to determine what is
             excessive or unusual based on knowledge of their customers and usual purchasing
             practices, may not abrogate its responsibility to identify suspicious orders and to
             determine whether to ship, or refuse to ship, the controlled substance order. The
             registrant must also report any suspicious orders as soon as possible to DEA. This
             has been conveyed to McKesson national management in San Francisco …339
         Moreover, McKesson’s own regulatory employees have acknowledged that this system did
 not flag true suspicious orders as required by the regulations. Multiple McKesson regulatory


 335
       MCKMDL00450972 at 00450976.
 336
       MCKMDL00450972 at 00450976.
 337
       MCKMDL00450972 at 00451005-06.
 338
       US-DEA-00026154.
 339
       Id.
                                                     98
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 employees have acknowledged that the DU-45 reports were not meant to detect true suspicious
 orders. As discussed by McKesson’s Regulatory Affairs Director, David Gustin, “the previous
 reports were not the exclusive and proper response to this regulation. We have an obligation to
 report ‘suspicious orders.’ With no clear definition of what constitutes a suspicious order we must
 rely on our own judgment as to what that is. If we report anything we believe to be truly suspicious
 we will be meeting the spirit and letter of the regulation. Simply reporting larger than usual orders
 does not when there are so many plausible and routine reasons for orders to be ‘larger than
 normal.’”340 Further, another Director of Regulatory Affairs for McKesson, Gary Hilliard, has
 testified that McKesson’s suspicious order monitoring system prior to 2007 was not designed to
 detect true suspicious orders.341
         Additionally, because during this time period McKesson was reporting excessive orders it
 had already filled it made no effort to detect, investigate, or block any suspicious orders.
 Consequently, during this time period McKesson blatantly violated the security requirement set
 forth in 21 C.F.R. § 1301.74(b).
                   b. Policy Period #2 (May 2007-May 2008)
        McKesson’s LDMP did not fare better when it came to identifying suspicious orders.
 McKesson has been unable to produce any documentation of true suspicious orders being reported
 during this time period.
                   c. Policy Period #3 (May 2008-present)
          McKesson’s CSMP could have been used as a tool to report suspicious orders, but was not
 used in that fashion until five years after it was initially launched. For Cabell County and
 Huntington customers, McKesson failed to report a single suspicious order from May 2008 to July
 31, 2013.342 This failure to report suspicious orders during this time frame is not an anomaly that
 is restricted to Huntington and Cabell County. As DOJ recognized, there was a “nationwide” and
 “systemic” failure of McKesson to report suspicious orders and otherwise maintain effective
 controls against diversion.343 This conclusion is borne out by McKesson’s failure to report any
 suspicious orders from its Livonia, Washington Courthouse, Lakeland, and Metheun distribution
 centers despite ample evidence of diversion occurring from customers of each of these distribution
 centers.344 The egregiousness of McKesson’s failure to report suspicious orders is further
 supported by the quantity of orders McKesson did report as suspicious once it finally decided to



 340
       MCKMDL00510747.
 341
       1/10/19 Gary Hilliard Depo. at 176:8-176:22.
 342
       MCKMDL01391127.
 343
       MCKMDL00409453 at 00409454.
 344
       See generally MCKMDL00409453.
                                                      99
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 begin engaging in the practice. For example, in 2015 alone, McKesson has acknowledged it
 reported a total of 230,000 suspicious controlled substance orders nationally.345
         It is also apparent that McKesson’s failure to report suspicious orders was not accidental
 or due to a misunderstanding of its regulatory duties. In fact, the term “suspicious” when it came
 to controlled substances was taboo within the company. At the time McKesson’s CSMP was
 created in 2008 it included a section that advised employees to “[r]efrain from using the word
 ‘suspicious’ in communications” because “[o[nce McKesson deems an order and/or customer
 suspicious, McKesson is required to act. This means that all controlled substances sales to that
 customer must cease and the DEA must be notified.”346
         In fact, as late as 2015 McKesson continued to document its failure to identify and report
 suspicious controlled substance orders. In a document dated December 7, 2015, McKesson noted
 that for various reasons the company was failing to report approximately 1,500 suspicious
 controlled substance orders per month.347
            Reporting Requirement:
        McKesson failed to timely report suspicious orders in Huntington and Cabell County and
 nationally from at least 1997 to 2013. This is supported by the fact that McKesson’s own
 regulatory employees have acknowledged that the excessive orders reported on the DU-45 reports
 were not synonymous with the type of suspicious orders outlined in the applicable regulations.348
 Moreover, even under the LDMP and CSMP McKesson continued its pattern of failing to report
 suspicious orders until finally beginning to do so in late 2013. But, as noted above, McKesson
 continued to fail to disclose significant numbers of suspicious orders at least through the end of
 2015.349 Finally, the number of suspicious orders reported in Huntington and Cabell County
 beginning on August 1, 2013 and continuing to December 2018 is insignificant compared to the
 number of opioid orders McKesson has filled during that same time period in those counties.
         Further, using any of the methodologies as described in the Expert Report of Craig
 McCann, it is apparent McKesson failed to report thousands of suspicious orders arising out of the
 City of Huntington and Cabell County.350

            Shipping Requirement:



 345
       McKesson Board of Directors’ Response to International Brotherhood of Teamsters at p. 24.
 346
       MCKMDL00518064 at 005118078.
 347
       MCKMDL02104903 at MCKMDL02104912.
 348
       Deposition of Gary Hilliard, 176:8-176:22; MCKMDL00510747.
 349
       See e.g., MCKMDL02104903.
 350
       See Section III above.
                                                     100
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         From at least 1997 to May 2008, McKesson failed to block any suspicious orders
 nationally. Due to its high thresholds for many customers, as noted above, McKesson has blocked
 an insignificant number of orders in Huntington and Cabell County after it began the practice in
 May 2008. It is apparent that McKesson’s systems have not been designed to properly block
 suspicious orders given the miniscule number of suspicious opioid orders that have actually been
 blocked during that time frame.


           C. AmerisourceBergen Drug Corporation
 Distribution Center: Lockbourne, OH; Glen Allen, VA
 DEA Registrant Number:
 Transactional Data Disclosed: Date range: 2002-2018351
 Cabell County/Huntington Volume: 352
                     Oxycodone                                12,811,320 dosage units
                    Hydrocodone                               22,630,590 dosage units


               1. Court-ordered SOMS Discovery Disclosure:

       •   AmerisourceBergen Drug Corporation’s Objections and Responses to Plaintiffs’ (First)
           Combined Discovery Requests to Distributors (November 29, 2019);

       •   AmerisourceBergen Drug Corporation’s Supplemental Objections and Responses to
           Plaintiffs’ (First) Combined Discovery Requests (February 26, 2020);

       •   AmerisourceBergen Drug Corporation’s Second Supplemental Objections and Responses
           to Plaintiffs’ (First) Combined Discovery Requests to Distributors (March 10, 2020);

       •   AmerisourceBergen Drug Corporation’s Objections and Responses to Plaintiffs’ Second
           Set of Combined Discovery Requests (March 30, 2020);

       •   AmerisourceBergen Drug Corporation’s Objections and Responses to Plaintiffs’ Third Set
           of Combined Discovery Requests (April 8, 2020);



 351
   See Bates Nos. ABDCMDL00037402; ABDCMDL00037404, ABDCMDL00037406;
 ABDCMDL00279848-279853; ABDCMDL00306728-306729; ABDCMDL00308071;
 ABDCMDL00313653-313654; ABDCMDL00316111-316114.
 352
       McCann Report, App. 7.
                                                101
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        •   AmerisourceBergen Drug Corporation’s Third Supplemental Objections and Responses to
            Plaintiffs’ (First) Combined Discovery Requests to Distributors (April 17, 2020);

        •   AmerisourceBergen Drug Corporation’s Objections and Responses to Plaintiffs’ Fourth
            Set of Combined Discovery Requests (April 30, 2020);

        •   AmerisourceBergen Drug Corporation’s Objections and Responses to Plaintiffs’ Fifth Set
            of Combined Discovery Requests (May 8, 2020); and

        •   AmerisourceBergen Drug Corporation’s Supplemental Objections and Responses to
            Plaintiffs’ Third Set of Combined Discovery Requests (June 12, 2020).

                2. SOMS Corporate Policy Disclosed:

                    a. Pre-2007 Overview

                      i.     The Threshold-Based System
         Beginning as early as 1990, AmerisourceBergen Drug Corporation (“ABDC”) utilized a
 threshold-based system to determine if an order is “excessive” (i.e. suspicious). In the deposition
 of Senior Vice President of Corporate Security and Regulatory Affairs, Christopher Zimmerman
 described the threshold history of ABDC’s Suspicious Order Monitoring System. Mr. Zimmerman
 began his employment with ABCS in 1990 and from the time he began his employment until 1998,
 the threshold was described as being calculated through the following procedure: “You take all the
 pharmacies within that category and divide by the number of pharmacies to come up with an
 average volume for the month per drug category. And then there was a multiplier of three. Any
 order that was over the threshold amount would be produced an excessive order report.” 353 Mr.
 Zimmerman made a clarification to the threshold calculation by indicating the “3” multiplier was
 used for Schedule II and Schedule III narcotic drugs (ARCOS reportable) and a “6” multiplier, or
 maybe higher, was used for Non-ARCOS drugs.354 Mr. Zimmerman stated the controlled
 substances identified during that time period were shipped prior to being reported to the DEA in
 the excessive purchase report.355 Such a policy constituted a clear failure to maintain effective
 controls against diversion, as it entailed shipping controlled substance orders identified as
 suspicious (or in this case, “excessive”), was not designed to identify orders of unusual frequency,
 or those that deviated from normal ordering patterns. Further, this system improperly utilized a
 factor of “3” and “6” to establish thresholds well above the calculated average for ABDC’s
 customers.



 353
       See Zimmerman Deposition, 121:12-21.
 354
       Id., 124:18-125:5.
 355
       Id., 108:10-109:10.
                                                  102
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         During the time period of 1998 through 2007, ABDC implemented a new method of
 calculating thresholds. Mr. Zimmerman stated ABDC worked on a threshold project with the DEA
 for a two-year period from 1996 through 1998 to provide DEA with more accurate information.
 The threshold calculation was now calculated by using only a customer’s four-month rolling
 average of that pharmacy’s purchases and then applying a multiplier of three to “identify a trigger
 that would identify a suspicious order.”356 Again, such a policy constituted a clear failure to
 maintain effective controls against diversion because ABDC continued to ship controlled
 substance orders identified as suspicious. In addition, the system failed to identify orders of
 unusual frequency, or deviating from a normal pattern, used a much shorter time period for
 calculating the threshold which would allow the average to increase faster, failed to compare like
 pharmacies purchasing activity, and utilized a factor of “3” to establish threshold well above the
 calculated average for ABDC’s customers.
         ABDC’s use of a threshold based system using a 3x multiplier derived from the DEA’s
 Chemical Handler’s Manual.357 It is worth noting that these guidelines relate to “Listed
 Chemicals”, rather than controlled substances, primarily focused on the sale of chemicals used to
 make illicit methamphetamine. “Suspicious orders” of Listed Chemicals are defined by 21 USC
 § 830(b)(1)(A) as orders of “extraordinary” size [based on a formula which multiples a monthly
 base weight average per base code by a multiplier (3x)]. Relying upon a threshold of
 “extraordinary” size fails to detect orders of “unusual size” and is not compliant with 21 CFR
 1301.74(b). Nor is shipping suspicious orders after reporting. The Chemical Handler’s Manual
 specifies that “when a regulated person suspects that an order may be intended for illicit purposes,
 good practice requires that every reasonable effort be made to resolve those suspicious. In addition
 to making the required reports, the transaction should not be completed until the customer is able
 to eliminate the suspicions. The distributor may have to forego some transactions.” 358 Despite
 this directive from the Chemical Handler’s Manual, ABDC did not consider foregoing such
 transactions at the time.359
         Aside from the manner of calculating thresholds, ABDC’s procedures for identifying
 suspicious orders and making decisions about whether to stop them were also improper. Multiple
 ABDC witnesses testified that ABDC used a DEA-approved system for reporting orders to the
 DEA and that the DEA-approved system allowed them to ship orders deemed to be suspicious and
 then report them to the DEA.360 ABDC relies on letters from the DEA that they claim approve this
 system.361



 356
       See Zimmerman Deposition, 122:18-23.
 357
       Id., 131:7-133:22.
 358
       See Chemical Handler’s Manual, 2001 Edition, at p. 21.
 359
       See Zimmerman Deposition, 143:9-145:2.
 360
       Depo. of Zimmerman (Vol. I) at 109-110; Depo. of Mays (Vol. I) at 85.,
 361
       See ABDCMDL00269347.
                                                     103
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         As discussed above, and pursuant to what a policy summary generated by ABDC after
 2015 describes as its “Legacy Diversion Control Program,”362 ABDC shipped all orders of
 controlled substances before ruling out the possibility of the orders being suspicious.363 Only after
 shipping the orders did ABDC report any orders that it deemed to be suspicious to the DEA through
 an “excessive order report.”364 ABDC sent these reports on a monthly basis to the DEA.365 ABDC
 took no other actions with regards to excessive orders prior to 2005, meaning that ABDC shipped
 all orders - including orders that may have been suspicious – without any further investigation or
 due diligence.366
         However, the testimony of ABDC’s witnesses confirms that this practice actually violates
 the procedural portion of the system that the DEA allegedly approved.367 Specifically, the earliest-
 produced SOMS policy and procedure document from ABDC in 1999 indicates ABDC’s policy
 that “[b]ecause these procedures have been accepted by DEA, compliance with them is mandatory
 at all Bergen Brunswig Drug Company divisions.”368 The same document continues to explain
 that:
           If these customers’ orders fit the suspicious order criteria explained above, you
           must contact the DEA to report the order before actually shipping the merchandise.
           This must be done even if you decide to cut the order back for business reasons.
           Again, in this case, it is the order that is suspicious, not the actual shipment.369
 Here, ABDC’s procedure of shipping before reporting does not comply with the procedure that
 was “mandatory” and allegedly approved by the DEA of shipping after reporting. As such, ABDC
 did not follow or comply with its own stated policies and procedures.
         The determination of whether an order is “excessive” i.e. suspicious, has always been
 determined by ABDC using a threshold-based system.370 ABDC deemed an order to be
 “excessive” if it exceeded a “threshold.”371 In order to create thresholds, ABDC generally
 identified characteristics by which it could group its customers (this analysis changed over time),
 then made certain determinations based on ordering patterns (this analysis also changed over time)


 362
       See ABDCMDL00004578-4602.
 363
    See ABDCMDL00000109 (“Historically Controlled Substance/ Listed Chemical order monitoring has
 been based on a ship and report process.”)
 364
       See Zimmerman Deposition, 110:16-22, 121:7-122:3.
 365
       See Mays Deposition, Part I, 101:7-24; see also Zimmerman Deposition, 108:19-24.
 366
       See Mays Deposition, Part I, 142:15-143:14.
 367
       Depo. of Zimmerman (Vol. I) at 109; Depo of Cherveny at 282.
 368
       See, ABDCMDL00478320.
 369
       Id. at ABDCMDL004478322.
 370
       See ABDCMDL00004578, at 2-4, 7, 10-13.
 371
       See Zimmerman Deposition, 121:7-21.
                                                     104
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 of its customers, and used that information to set a threshold of a drug that could be purchased
 without being deemed suspicious.
         While documentation of ABDC’s suspicious order monitoring program prior to 2005 is
 scant, Mr. Zimmerman testified that it involved a two-step process: “It was an excessive order
 report that was produced monthly to send to DEA, and then we also had a manual process at the
 distribution centers where the order fillers would identify suspicious orders and report those.”372
 ABDC’s written policies and procedures indicate that at least as early as December 1, 2005, ABDC
 operated an “Excessive/Suspicious Order Investigation Program,” to “review the ordering activity
 of its customers to identify possible excessive or suspicious orders of controlled substances and
 listed chemicals.”373 Although the system now allegedly provided for the identification and
 investigation of excessive orders, ABDC’s system still identified these orders using a threshold.
 Therefore, the 2005 system was not new, it merely continued the threshold-based system that was
 in place prior to the newly written policy. And, although ABDC conflated concepts of “excessive”
 orders and “suspicious” orders by treating them identically, ABDC continued its policy of shipping
 such orders to its customers, despite internally identifying them as either excessive or
 suspicious.374 While the 2005 policy and procedures document includes a new “investigation”
 component that was not previously present in ABDC’s suspicious order monitoring system, this
 component was effectively ignored because, as noted above, ABDC confirmed that it shipped all
 orders prior to 2007 without investigating them or reporting them to the DEA.
                       ii.   Discretionary and Subjective Components of the Threshold-Based System
         In addition to the excessive order reports which included orders that exceeded the relevant
 threshold, employees in ABDC’s distribution centers (“DCs”) were provided with guidelines
 instructing them to report orders that were of an unusual size or frequency, or which deviated from
 the normal ordering pattern.375 ABDC placed signs in the distribution center “cages” with the base
 quantity levels that could be ordered, and it was left to a distribution center employee’s discretion
 to determine whether an order was suspicious. ABDC’s order monitoring system at the time also
 required that ABDC confirm whether customers had the appropriate licenses.376
        At this time, ABDC employed the same monitoring policy across all of its customers,
 regardless of the type of customer, or whether they may have operated as “internet pharmacies.”377
 Further, ABDC did not have any policies or procedures in place to compare its customers’ purchase
 of controlled substances with the average purchases of similarly situated customers. 378 Rather,


 372
       See Zimmerman Deposition, 108:19-109:4.
 373
       See ABDCMDL00359957-9961.
 374
       Id.
 375
       See Zimmerman Deposition, 118:1-11.
 376
       See Mays Deposition, 170-174.
 377
       See Mays Deposition II, 57:16-58:15.
 378
       Id., at 68:1-71:23.
                                                   105
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 ABDC only “monitored the average of each customer against its own orders at that time.”379 Nor
 did ABDC have any system in place to monitor its purchasing of Schedule II or III controlled
 substances as it compared to other types of substances,380 or any system to evaluate the frequency
 of orders of controlled substances placed by its customers381.
         Prior to 2007, ABDC did not have a clear hierarchy establishing responsibility for
 preventing diversion. They did not form their Diversion Control Group or Team until after
 2007.382 This group was later referred to as the Corporate Security & Regulatory Affairs
 Department (“CSRA”). Aside from the baseline numeric thresholds, ABDC used to identify
 “excessive” orders, ABDC lacked clear objective standards for determining when orders from its
 customers were “suspicious.” This was due, in part, to the fact that discretion was left to
 distribution center employees to gauge what constituted a normal ordering pattern and when a
 customer’s order deviated from that pattern.
                     b. Post-2007 Overview of the Order Monitoring Program (OMP)

                         i.   The June 2007 DEA Enforcement Action and Settlement
          The year 2007 marks a key shift in ABDC’s suspicious order monitoring policies. That
 year, the DEA initiated an enforcement action against ABDC due to its filling and shipment of
 orders from internet pharmacies, which according to the DEA, ABDC knew to be suspicious.383
 The enforcement action shut down and suspended the license of ABDC’s Orlando distribution
 center. On June 22, 2007, ABDC and the DEA reached a settlement agreement regarding the
 Orlando distribution center, which acknowledged “AmerisourceBergen failed to maintain
 effective controls at the Orlando Facility against diversion of particular controlled substances into
 other than legitimate medical, scientific and industrial channels by sales to certain customers of
 AmerisourceBergen.”384 As a result, to obtain authorization from the DEA to re-open the Orlando
 facility, ABDC was forced to update its diversion control program, including adding (1) a more
 in-depth due diligence process; and (2) a requirement to stop shipping suspicious orders to
 customers.385

        The settlement arose from failures in ABDC’s suspicious order monitoring program, which
 were systemic because ABDC maintained uniform national suspicious order monitoring policies


 379
       Id., at 68:19-69:2.
 380
       id., at 72:1-5.
 381
       id., at 72:22-73:3.
 382
       See ABDCMDL00270533.
 383
       See ABDCMDL00269383-84.
 384
       See ABDCMDL00279854.
 385
   See Zimmerman Deposition, 139:20-140:8; see also Settlement and Release Agreement,
 ABDCMDL00279854–00279865.
                                                   106
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 and procedures.386 According to an April 19, 2007 Order to Show Cause and Immediate
 Suspension of Registration issued by the DEA, ABDC distributed hydrocodone to pharmacies in
 amounts that far exceeded what an average pharmacy orders to meet the legitimate needs of its
 customers, distributed hydrocodone to pharmacies even though they ordered small amounts of
 other drug products relative to those purchases, distributed hydrocodone to pharmacies much more
 frequently than ABDC’s other customers, and shipped to pharmacies that ABDC knew or should
 have known many prescriptions were issued by physicians who did not conduct a medical
 examination of its customers, and instead wrote prescriptions for controlled substances ordered by
 customers over the internet.387 Thus, the settlement between ABDC and the DEA resulted in
 nationwide changes to ABDC’s suspicious order monitoring program. Specifically, ABDC
 revamped its procedures and instituted its Order Monitoring Program (OMP).388 The most
 significant change was ABDC no longer shipped orders to customers that ABDC identified as
 being suspicious.389 The OMP primarily relied on static thresholds to determine whether an order
 was potentially suspicious and should be investigated. If an order exceeded a threshold, it was
 flagged as an excessive or potentially suspicious order.390 ABDC would not automatically
 designate an order that exceeded the threshold as “suspicious.”391

                     ii.   The New Threshold System

         To determine each customer’s threshold under the 2007 system or “Legacy Diversion
 Control Program,” (otherwise referred to as the OMP) ABDC grouped customers within a
 “Customer Type.”392 The “Customer Types” were based on how customers were registered with
 the DEA, e.g. hospital/clinic, retail pharmacy, distributor, etc.393 ABDC would then classify each
 customer by its “Customer Size,” which was based upon its total average monthly total revenue of
 prescription sales of both control and non-controlled drugs (as opposed to its purchasing pattern
 of a specific drug family) relative to its peers in the same “Customer Type.” 394 Customer Sizes

 386
       See Mays Deposition II, 24:18-22.
 387
       See ABDCMDL00269383-387.
 388
       See generally ABDCMDL00000101.
 389
       See ABDCMDL00270533.
 390
    See Zimmerman Deposition, 112:18-113:2; 119:1-6. ABDC has claimed in deposition testimony that
 these were “orders of interest” beginning as early as 2007. However, deposition testimony from ABDC
 employee Kevin Kreutzer confirms that there was no use of that terminology during this time period. See
 Kevin Kreutzer Deposition, 67-68, 91-93, 109 (“Q. Do you recall Mr. Hazewski using the words “orders
 of interest” in 2009 when he trained you? A. No, I do not”), 111-12, 115-117). This inconsistency
 between the recollection of ABDC’s employees undercuts the credibility of ABDC’s witnesses.
 391
    See e.g., ABDCMDL00002405, 2411 (“Depending on certain circumstances, it may be deemed that
 order is suspicious.”); see also Mays Deposition, 131:5-16.
 392
       See ABDCMDL00000110.
 393
       Id.
 394
       Id.; see also ABDCMDL00002325.
                                                  107
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 were small, medium, large, or extra-large.395 Then, ABDC looked at the Customer Type, and
 Customer Size and created an average purchase among of each drug family within each Customer
 Size and applied the same 3x multiplier. Implementation of the arbitrary 3x multiplier, however,
 negates the effectiveness of an effective Suspicious Order Monitoring System. Each customer had
 its own threshold for each drug family that it purchased, as described below, that was based on the
 foregoing analysis.396

         If a customer’s order exceeded a threshold, ABDC placed it in “OMP review.”397 After an
 order exceeded a threshold, all subsequent orders in the same family from that customer were
 rejected while the earlier order was in OMP review.398 Each Distribution Center (DC) was
 responsible for “initial review of all orders in OMP review.”399 DC associates – sometimes
 referred to by ABDC as “responsible persons in charge” (“RPIC”) – were initially responsible for
 this task. However, as ABDC’s program evolved, this role eventually migrated up to the
 Distribution Center Compliance Managers. In 2007, the OMP allowed the DC associates to
 “review, release, or cancel potentially suspicious orders before they are shipped to customers.”400
 Review at the DC level was based on “the knowledge of the customer and the order.”401 If the
 “DC can determine that the order is not suspicious, the DC will release the order,” but if DC is
 unsure, the order will be flagged for investigation by members of the CSRA investigation team
 working under the Director of Diversion Control who were referred to as CSRA Investigators. 402
 The CSRA personnel then would determine whether to report the order to DEA as suspicious.
 ABDC seemingly had no set, concrete rules or criteria for distribution center employees to
 determine what made an order of interest be elevated to CSRA or be released as not suspicious.403
 The DC associates maintained a number of different ways to resolve questions regarding orders.
 However, if a DC canceled an order (meaning that it would not be filled by the DC – with or
 without being reported to the DEA), or released an order (meaning it was approved for processing
 and shipped to the customer), the DC was required to log into the system with an explanation of
 why the action is being taken.404


 395
       See ABDCMDL00002405-2418.
 396
       Id.
 397
       See ABDCMDL00000114.
 398
       Id.
 399
    Id. The RPIC generally was responsible for the DC level review, although there was not a clear
 definition by ABDC of who was supposed to be in charge of reviewing orders at the DC level
 400
       See ABDCMDL00002325.
 401
       See Mays Deposition, 220:11-14; see also Zimmerman Deposition, 457:1-459:19.
 402
       Id.; see also, ABDCMDL00046622.
   See ABDCMDL2405-2418 (describing the DC review process as “arbitrary”); see also
 403

 ABDCMDL00250024-250063.
 404
       See ABDCMDL00002325.
                                                   108
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 A customer who was repeatedly going over threshold or whose business was growing could
 request a “threshold review” to have its threshold adjusted. If approved, a threshold adjustment
 was referred to internally at ABDC as a “Threshold Override.” The procedure for submitting a
 threshold review began when ABDC’s sales teams, who were responsible for acquiring new
 customers and managing existing customers, submitted threshold review forms to the CSRA
 Department. The ABDC sales associate (from the sales team managing customer accounts) would
 request the threshold reviews for the customers.405

                   c. FTI Consulting, Inc. Audit of ABDC Compliance Activities.

         In August 2015, ABDC voluntarily engaged an outside consultant – FTI Consulting, Inc.
 (“FTI”) - to review its order monitoring system. FTI issued a report documenting the findings of
 an audit of ABDC’s compliance activities.406 The FTI report disclosed numerous problems,
 including a lack of resources, a lack of formal training, overburdened workloads, crushing
 administrative demands, inconsistent policies, and communications break-downs.407 In addition
 to the report, for various areas within the company, including Diversion Control, a forty-five page
 chart discussed “findings & observations,” “Gaps & Risks,” and “Recommendations.”408 Notably,
 a “Gap & Risk” concerning ABDC’s Diversion Control program included “[r]egulatory
 obligations related to diversion control.”409 David May, ABDC’s senior director of Diversion
 Control, testified that in response to the report, ABDC took no actions and made no changes to its
 diversion policies or procedures.410

         Despite this willful failure to address specific deficiencies in its OMP, evidence collected
 thus far shows that ABDC understands the importance of diversion control. For instance, David
 May testified that the company has “anti-diversion programs in place to prevent the misuse and
 abuse of controlled substances.”411 Similarly, Chris Zimmerman, ABDC’s chief compliance
 officer, acknowledged, “if we don’t adhere to our effective controls to prevent diversion, yes,
 diversion could occur.”412 As discussed above, however, the evidence shows that ABDC
 consistently ignored critical red flags and warning signs from its customers, which is a clear failure
 to maintain effective controls to prevent the diversion of controlled substances under the CSA, and
 which had real consequences in the communities where ABDC does business.



 405
       See Elkins Deposition, 245:2-246:6.
 406
       See ABDCMDL00274105-18.
 407
       Id.
 408
       See ABDCMDL00250024-63.
 409
       Id.
 410
       See May Deposition, 149:2-5.
 411
       See May Deposition, 97:22-98:1.
 412
       See Zimmerman Deposition, 104:14-17.
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          For example, a DEA suspension order concerning one of ABDC’s Ohio customers, East
 Main Street Pharmacy, documented deaths that occurred as a result of a failure to prevent
 diversion.413 Ms. Julie Fuller, an ABDC sales representative who was responsible for East Main
 Street Pharmacy, testified in the suspension proceedings. Notwithstanding the obvious signs of
 illegal activity occurring at the East Main Street Pharmacy, including the fact that more than half
 of the pharmacy’s prescriptions were written by an out-of-area doctor who was writing high
 volumes of controlled substances, Ms. Fuller “acknowledged that the purpose of her visits was not
 ‘to observe [the pharmacist]’ in the practice of pharmacy but to get his business.”414 Subsequent
 to the suspension proceedings, Ms. Fuller signed a Declaration, where she stated that as an account
 manager, ABDC only provided her general sales training, and did not provide any training or
 information on (a) how to identify questionable pharmacy behavior like suspicious dispensing,
 sales, or prescription filling practices, (b) how to report concerns regarding those behaviors, or (c)
 how to ensure that account managers only signed up and maintained accounts with legitimate
 pharmacies.415

         The failure to conduct proper due diligence and maintain effective controls to prevent
 diversion is evident when examining compliance activity for ABDC customer Safescript Pharmacy
 #6 (“Safescript”), 335 4th Ave. in Huntington, West Virginia. Safescript was a customer of ABDC
 from 2006 to 2012. Safescript received the most opioid pills in Cabell County and was among the
 top five purchasers of oxycodone in West Virginia.416 Safescript operated as a franchise retail
 pharmacy purporting to use proprietary technology for doctors (primarily pain management
 specialists) to transmit their prescriptions electronically to pharmacies as a means of reducing
 errors. Owner Kent Freeman, an Ohio resident, held licenses to operate locations in West Virginia,
 Kentucky, Tennessee, and other states. In May 2002, Freeman, the CEO of Safescript Pharmacies
 of Kentucky Inc., obtained a license to open and operate Safescript Pharmacy locations in
 Huntington, West Virginia, along with other locations in Kentucky and Tennessee. 417 Freeman
 was quoted, as planning to aggressively expand operations in the areas for which he purchased
 franchise rights.418 In 2004, after Safescript became a customer of ABDC the SEC filed a
 complaint against the Safescript parent company for fraud, noting that Safescript’s parent company
 inflated “reported revenue by selling franchise agreements to start-up franchisees in exchange for




 413
       See https://www.deadiversion.usdoj.gov/fed_regs/actions/2010/fr1027_3.htm.
 414
       Id.
 415
       See Declaration of Julie Fuller, ¶ 9 (PLTF_2804_000004483).
 416
    See https://www.herald-dispatch.com/news/million-opioid-pills-flooded-cabell-county-over-years-data-
 show/article_e617a338-1f1d-5600-80ba-ad0a3c81cd0d.html.
 417
    See https://www.bizjournals.com/louisville/stories/2002/05/13/daily12.html (last visited August 3,
 2020).
 418
       Id.
                                                    110
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 worthless stock and promissory notes, and then immediately recognizing revenue from the
 transactions, despite the franchisees’ known inability to pay.”419
        A review ABDC’s Third Supplement Objections and Responses to Plaintiffs’ (First)
 Combined Discovery Requests to Distributors revealed that ABDC submitted a very limited
 number of due diligence documents for Safescript. ABDC reported sixteen suspicious orders to
 the DEA detailed in the below chart.420 There was either insufficient or no due diligence conducted
 by ABDC for the listed suspicious orders on the list. ABDC continued to distribute opioids,
 including the same type of drugs to Safescript after reporting suspicious orders to the DEA.
            ABDC produced information related to sixteen suspicious orders placed by Safescript.421

                                                                                     Item       Item
                  Allocated                                                                               Item
        Order                  Held                Quantity                          Unit       Unit
                   Dosage              Threshold                Item Description                           Size
        Date                  Dosage               Ordered                         Strength   Strength
                   to Date                                                                               Quantity
                                                                                   Quantity     Code
       20070717    27500       1000     22000         2       HYDROCOD/APAP           5/      500 MG       500

       20070717    27500       2000     22000         4       HYDROCOD/APAP          10/        650        500

       20080317     9200       2000     10000        20          METHADONE           10         MG         100

       20080328    37600       600      30000         6          OXYCONTIN           80       MG CR        100
                                                                 OXYCODONE
       20080328    37600       1200     30000        12                              30         MG         100
                                                                    HCL
                                                                 OXYCODONE
       20080328    37600       1200     30000        12                              15         MG         100
                                                                    HCL
       20091231    43800       300      45000         3          OXYCONTIN           80         MG         100
       20091231    43800       200      45000         2          OXYCONTIN           20         MG         100
       20091231    43800       300      45000         3          OXYCONTIN           40         MG         100

       20091231    43800       100      45000         1         OXYCODE/ APAP        10/      325 MG       100

                                                                 OXYCODONE
       20091231    43800       2400     45000        24                              15         MG         100
                                                                    HCL
                                                                 OXYCODONE
       20091231    43800       2400     45000        24                              30         MG         100
                                                                    HCL
       20100130    41000       300      45000         3          OXYCONTIN           80         MG         100
       20100130    41000       200      45000         2          OXYCONTIN           40         MG         100
                                                                 OXYCODONE
       20100130    41000       2400     45000        24                              15         MG         100
                                                                    HCL
                                                                 OXYCODONE
       20100130    41000       2400     45000        24                              30         MG         100
                                                                    HCL



 419
       See https://www.sec.gov/litigation/litreleases/lr18921.htm. (last visited August 3, 2020).
 420
       ABDCMDL01911482.
 421
       ABDCMDL01911482.
                                                          111
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        The first ABDC “SOM Investigation” into Safescript was dated June 20, 2007, and
 contained the following information:
          CSRA opened an inquiry in Safescript Pharmacy, account #010-052670 DEA
          registration             for excessive Hydrocodone purchases in 4/07. During
          4/07 the customer purchased 21K dosage units of Hydrocodone with a 12-month
          average of 25K.”
          This form has a date closed as of June 26, 2007, but also contains a comment under
          a heading titled, “Status,” dated 3/28/2008, as follows: “Below response received
          from ACM – Scott, This account does a lot of this style of Medication. Several Pain
          Clinics in area. They did start buying from Miami Luken for a few months because
          we kept holding orders. They again started buying everything from us because the
          volume was going down and it was affecting their cost of goods. They always have
          done a lot with Oxy and Methadone and most likely always will. Thanks, Michael
          G. Perry.422
 This same incident has an entry in LawTrac with a date entry of June 20, 2007, which contains the
 following:
          Safe Script Pharmacy is owned by Kent Freeman. Troy Whalen is the pharmacist
          in charge. The pharmacy has been a customer of ABC for approximately 4 years
          and does a monthly dollar amount of 190K. The percentage of sales which comes
          from controls is 38%. The pharmacy provided 3 physicians names and DEA #’s as
          prescribers of controls that they see scripts from. The Account Manager, Michael
          Perry, forwarded the CSRA Form 590 and photographs. I communicated with Mike
          Perry via telephone on 6/20 in reference to the account. Mike indicated that the
          pharmacy only has one walk up window due to security reasons and that the
          pharmacy sales very little OTC. Mike has been behind the counter of the pharmacy
          and has not observed anything suspicious. All information concerning an online
          search related to this account and completed Form 590c has been included in this
          file. Investigation does not indicate any type of diversion.423
 ABDC has been unable to produce the CSRA Form 590 or Form 590c for Safescript, or
 photographs as described in the above paragraph.
        A “SIM Investigation” was opened July 12, 2007, after Safescript orders were flagged for
 exceeding their threshold for Oxycodone purchases. The form contains the following notation:
          CSRA initiated an inquiry into Safescript #6, account #010-052670, as this
          customer was flagged on OMP for exceeding their threshold for Oxycodone Solid
          Family.



 422
       ABDCMDL01911322-23.
 423
       ABDCMDL01911371.
                                                 112
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             This form has a dated closed of August 6, 2007, but contains the following entry
             under the status heading with a date of May 10, 2013: Threshold review request
             received. All pertinent information attached.424
 This same incident has an entry in LawTrac with an entry date of July 12, 2007, which contains
 the following:
             After further review of this customer it was discovered that a site visit and Form
             590 had previously been completed under RA07-1051. The customer was cleared
             under that investigation and the order in question appeared to be along the normal
             purchasing pattern. At the time of the previous investigation, the customer’s
             purchase volume was 190K. The percentage of RX purchases that constitutes
             controls was 38%. No indication of diversion; order was released.425
        Later, in October 2007, ABDC ran another report on Safescript’s purchasing pattern and
 discovered the controlled to non-controlled substance purchasing ratio was actually 61.99%.426
 And, this ratio continued to increase over time. In 2008, the controlled to non-controlled substance
 purchasing ration increased to 85.9%.427
        On July 29, 2011 Account Manager Michael G. Perry submitted a form titled, “Request for
 Threshold Review” to Ed Hazewski CSRA Diversion Control Manager requesting a review of
 “Oxycodone (All Oxycontin)” with the following explanation: Ed, this customer and has had
 issues with them exceeding the thresholds on these items. Please review and see if we can up the
 thresholds on these items. Please see additional information in the email, Thanks, Michael G. Perry
 (ACM).428
         Further review of history between ABDC and Safescript indicates similar inattention to
 due diligence in the face of orders exceeding threshold and an ever-increasing ratio of controlled
 substance purchases compared to non-controlled substances. Between 2007 and 2012 ABDC
 “investigated” a total of 589 order lines from Safescript, 214 of which were released, and 41 were
 reported to the DEA.429 In multiple instances, lines of orders for similar or identical products were
 approved within days of a reported order.430 Examples of “due diligence” like the documents
 submitted to justify a threshold increase cited above do not provide sufficient due diligence to
 maintain effective controls to prevent diversion when investigating orders or requests to increase
 thresholds for opioids.


 424
       ABDCMDL01911302-303.
 425
       ABDCMDL01911363.
 426
       ABDCMDL00313879.
 427
       ABDCMDL00360324.
 428
       ABDCMDL01911300; ABDCMDL08021654 and ABDCMDL08026156.
 429
       ABDCMDL01911482; ABDCMDL01911481.
 430
       Id.
                                                    113
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         A year-over-year analysis shows sales to Safescript increasing 37% in one year, driven
 largely by sales of oxycodone and methadone. Increases in benzodiazepines are also present.431

  Drug Family       Mar-May 2008       Mar-May 2009       Increase % Increase % Total            Sales
                                                                              Increase
  Benzodiazepine    55,520 du          60,720 du          5,200 du 9%         37%
  Hydrocodone       52,200             58,000             5,800    11%        37%
  Methadone         32,900             51,400             18,500 56%          37%
  Oxycodone         92,600             119,700            27,100 29%          37%

         Safescript’s ratio of controlled substances purchases compared to non-controlled
 substances also provided ABDC with reason to be concerned. Over time, Safescript’s controlled
 substance purchases accounted for 87% of its total purchasing from ABDC. 432 Not surprisingly,
 in November 2011, Safescript appeared on a list of the “top 100 purchases of OX products among
 food/chain/independent customers.”433 Correspondence from ABDC’s Ed Hazewski indicates that
 he knew that customers on the list were “servicing” pain doctors without “specializing” in pain
 management, and that they “overwhelmingly” purchased oxy 30 without having a varied product
 mix.434 At this time, Safescript was purchasing a monthly average of 36,500 dosage units of
 oxycodone. In July 2011, ABDC’s Michael Perry requested a threshold increase for oxycodone
 produces on behalf of Safescript because Safescript “has had issues . . . exceeding thresholds on
 these items. Please review and see if we can up the thresholds on these items.”435

         Against this backdrop, ABDC continued to service Safescript unabated until February 2012
 when Safescript’s owner was charged with a drug trafficking charge under state law.436 Safescript
 was placed on ABDC’s “Do Not Ship List” February 13, 2012, with a notice citing a “CSRA
 investigation” but not the owner’s arrest.437 It is unclear from ABDC’s records whether this had
 any effect on Safescript’s ability to purchase controlled substances. In the intervening months,
 multiple “OMP Threshold Overrides” were placed on the pharmacy for various drug families, and
 the “business cancellation date” for Safescript was not entered until December 17, 2013.438

 431
       ABDCMDL00170136.
 432
       See, ABDCMDL00170213.
 433
       See, ABDCMDL00280699, ABDCMDL00280700.
 434
       Id.
 435
       See, ABDCMDL01911300.
 436
     Hessler, Courtney, “65 million opioid pills flooded Cabell County over 7 years, data show,” Herald
 Dispatch, July 19, 2019, https://www.herald-dispatch.com/_recent_news/more-than-65-million-opioids-
 flooded-cabell-county-over-7-years-data-shows/article_8f0d8676-a9a9-11e9-98ff-ebdd2586af3f.html.
 (last visited August 3, 2020).
 437
       See, ABDCMDL00047800.
 438
       See, ABDCMDL00353569; ABDCMDL00171203.
                                                  114
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          In contrast to ABDC’s due diligence record on Safescript, news reports regarding the
 investigation into Safescript and its owner indicate that the investigation began in 2009 and
 involved 183,000 unaccounted pain pill doses according to the West Virginia Board of
 Pharmacy.439 After Freeman’s arrest, news reports described Safescript in suspicious terms -
 contrary to Michael Perry’s portrayal. Customers said it was not a “usual pharmacy” – they did
 not sell “bandages or back braces,” only prescriptions. This corresponds with internal ABDC notes
 from 2007, which stated the pharmacy did not sell a lot of OTC products.440 However, media
 coverage of the arrest also described how the facility had “heavy security and no contact – working
 behind what they say appears to be bulletproof glass” as well as transactions being done through
 a “turnstile” where customers would “put money in and the pills come out.”441 Michael Perry’s
 description of Safescript omitted these details when he described being “behind the counter of the
 pharmacy” and not “observ[ing] anything suspicious.”442

               3. Suspicious Orders        Reported     In   Huntington    and    Cabell   County
                  Jurisdictions443
                                     Pre-Shipment Reporting         Post-Shipment Reporting
                 2007                              2                               0
                 2008                              4                               0
                 2009                             12                               0
                 2010                              5                               0
                 2011                              1                               0
                 2012                              4                               0
                 2013                             11                               0
                 2014                              6                               0
                 2015                              0                               0



 439
       See, https://www.wsaz.com/home/headlines/Huntington_Pharmacy_Under_Federal_Investigation_
 139861153.html.
 440
       ABDCMDL01911371.
 441
   https://www.wsaz.com/home/headlines/Huntington_Pharmacy_Under_Federal_Investigation_1398611
 53.html.
 442
       See, ABDCMDL01911371.
 443
       See ABDCMDL01911479; ABDCMDL01911482.
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  2016                                  0                                0
  2017                                  0                                0
  2018                                  0                                0


                4. Due Diligence Conducted
         On August 10, 2005, the DEA met with Steve Mays, ABDC’s then-Director of Regulatory
 Affairs, to inform him about the common characteristics of pharmacies that divert large amounts
 of controlled substances by filling invalid prescriptions obtained by customers using the internet.444
 Prior to that meeting, ABDC’s due diligence policy consisted solely of “a good faith effort to make
 sure that that customer’s properly licensed with the state and registered with the DEA.”445
        As a result of the 2005 DEA meeting, ABDC began using a questionnaire to obtain
 information about its customers as part of a new due diligence effort, which consisted of 10-12
 questions, but they were “all related to internet pharmac[ies].”446
         After the 2007 DEA enforcement action, ABDC implemented a “Know Your Customer”
 due diligence policy. ABDC’s due diligence program was effectuated through the Form 590 retail
 pharmacy questionnaire. The Form 590 was supposed to be filled out by ABDC’s customer sales
 representatives in conjunction with ABDC’s pharmacy customers. ABDC’s witnesses testified that
 the Form 590 is and was an important component of its diversion control program.447
         The Form 590 process, however, suffered from numerous deficiencies. First, for many
 years, the Form 590 was only for new customers.448 None of the requisite due diligence
 information was collected for existing customers.449 Additionally, ABDC exempted “retail chain
 pharmacies” (broadly defined to include pharmacies with 10 or more locations, or any number of
 locations in more than one state) from the Form 590 requirement.450 Rather than require all
 pharmacies within a chain to complete a Form 590, ABDC allowed the chain to complete one
 Form 590. This exempted large swaths of ABDC’s customers from the requirement of completing
 Form 590.
       Moreover, documents show that even when Form 590s were required, vast numbers of the
 forms were either illegibly filled out or contained substantial omissions.451 Indeed, David May

 444
       See ABDCMDL00269383-387.
 445
       See Mays Deposition II, 73:24-74:21.
 446
       See Mays Deposition 134:16-135:16; Mays Deposition II, 37:1-15.
 447
       See, e.g., May Deposition, 263:8-19.
 448
       See Zimmerman Deposition, 213:10-17.
 449
       Id.
 450
       See, e.g., ABDCMDL00000107; see also, Zimmerman Deposition, 213:16-214:9.
 451
       See May Deposition, 269:12-20.
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 acknowledged that the “continued deficiency [in the Form 590s] puts us at risk with regulators.”452
 In 2016, ABDC implemented a “CSRA 590 Validation Project” to “validate that all ABDC
 customers authorized to purchase controlled substances and identify any with deficiencies”453, but
 one year into the project, ABDC had only received “about 10% percent of the required customer
 due diligence documents.”454 To date, as of May 29, 2018, ABDC estimates that only about 60%
 of the due diligence deficiencies have been remedied.455 The lack of both current and historical
 documentation of due diligence efforts are indicative of a failure to maintain effective controls to
 prevent diversion.
         In 2013, ABDC’s due diligence efforts were the subject of a DEA audit and subsequent
 investigation. According to Joseph Tomkiewicz, an investigator and diversion program manager
 at ABDC, DEA agents met him at his personal residence sometime in the fall of 2013. This
 resulted in conversations with the U.S. Attorney about ABDC’s due diligence efforts, specifically
 whether it had truncated the Form 590 for a specific group of pharmacies, which investigators
 believed may have short-circuited ABDC’s customer due diligence process.456 This point is also
 reflected in an ABDC “DEA Audit History” spreadsheet, with notes that indicate: “DEA was not
 comfortable with the [OMP] program and analyzed the program specifically how customers are
 screened.”457
         Based on my review of documents and testimony and as noted throughout this report,
 historically the due diligence conducted by ABDC has fallen short. First, ABDC conducted no
 due diligence until 2005. Once a due diligence program was finally instituted, it consisted of
 merely a short questionnaire and checking to confirm that the customer’s licenses were
 current. Moreover, ABDC’s initial due diligence program only addressed internet
 pharmacies. Later, even when the due diligence was conducted more broadly, it focused on new
 customers and, like some other wholesale distributors, ABDC regularly showed complete
 deference to chain pharmacies. Therefore, the due diligence for those customers was consistently
 lacking. Finally, more recently, it was uncovered that ABDC did not have any of the requisite due
 diligence files for significant numbers of its customers, calling into question whether any due
 diligence was actually conducted. In my opinion, while ABDC has had some sort of due diligence
 program in place since 2005, a review of those programs in practice makes clear that for all
 practical purposes, ABDC’s due diligence efforts have fallen short of what is required.




 452
       See ABDCMDL00159415.
 453
       Id.; May Deposition, 272:8-13.
 454
       Id., at 273:21-24.
 455
       Id., at 283:24-284:23.
 456
       See Tomkiewicz Deposition, 35:10-23; 57:2-16:14; see also WAGMDL00237263.
 457
       ABDCMDL00253869.
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               5. Opinions Related to AmerisourceBergen

                  a. AmerisourceBergen failed to maintain effective controls against diversion
                     of prescription opiates into the illicit market in violation of 21 U.S.C.A. §
                     823(b)(1) [1970].

        The graphs below demonstrate a clear escalation of prescription oxycodone and
 hydrocodone by AmerisourceBergen into Cabell County and the City of Huntington by dose, base
 weight, and MME.458




 458
       McCann Report, App. 9(C).
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        Documents produced by ABDC show that rather than focusing on putting effective controls
 to prevent diversion in place and designing and operating a system to detect suspicious orders and
 stopping those orders ABDC circumvented the requirements and coached customers on how to
 avoid being detected by the system and being the subject of an enforcement action by the DEA.
 For example, a July 2013 ABDC document entitled “Sales Talking Points” stated as follows:

        I am rather concerned about your pharmacy for a different reason. Based on your
        overall volume with us, your percentage of C2 orders is high and may be deemed
        suspicious by either our OMP system or regulatory authorities. This puts your
        account with ABDC at significant risk of closure or exposure to regulatory and
        enforcement agencies actions.

        Every day, we read about another independent pharmacy under investigation. I
        want to make sure that doesn’t happen to you. The way I see it, is that you have a
        couple of options. First, you can make ABDC your primary wholesaler and shift all
        purchases to us. The second option is we arrange a short-term transition process
        and you stop buying C2s from ABDC and shift them to whomever your buying
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           other products. The third option would be to do nothing -- but this is not a feasible
           long-term decision -- and its not a good option for anyone.459
                  b. AmerisourceBergen failed to stop shipments of suspicious orders of
                     controlled substances in violation of the requirement to maintain effective
                     controls against diversion as set forth in 21 U.S.C.A. § 823(b)(1) [1970].

          ABDC’s official national policy from 1990, up until the DEA Settlement in 2007, was to
 ship all orders of controlled substances, regardless of size, frequency, deviations from prior orders,
 deviations from averages, deviations from defined thresholds, or whether that order was
 determined to be suspicious. This is a blatant violation of the No-Shipping Requirement.

                  c. AmerisourceBergen failed to design and operate a system to identify
                     suspicious orders of controlled substances in violation of the security
                     requirement set forth in 21 C.F.R. § 1301.74(b).

         Pre-2007, ABDC’s suspicious order monitoring system failed the security requirement set
 forth in 21 C.F.R. § 1301.74(b). Specifically, ABDC’s pre-2007 policies constituted a failure to
 design and operate a system to identify suspicious orders because they only identified “excessive”
 orders that exceeded a 3x threshold, which only took into consideration prior orders of that specific
 pharmacy. ABDC’s OMP system did not take into consideration other relevant factors such as
 order frequency patterns, order averages of similar pharmacies, or comparisons of sales of
 Schedule II or III controlled substances with the sales of other controlled substances. ABDC also
 had no meaningful due diligence process in place to investigate whether such “excessive” orders
 otherwise qualified as suspicious, other than an effort to make sure a customer was licensed with
 the state and registered with the DEA. As evidenced by the 2007 DEA Enforcement Action which
 suspended the registration of ABDC’s Orlando distribution facility, ABDC also specifically failed
 to identify suspicious orders from internet pharmacies that the DEA concluded should have been
 identified.
          Post-2007, ABDC failed to design and operate an adequate system to identify suspicious
 orders because it continued to employ a “threshold-based system,” which was based on an arbitrary
 “3x multiplier” among drug families, which again ignored other relevant information. ABDC also
 left critical discretion to identify suspicious orders with its distribution center employees, without
 putting in place any set, concrete rules or criteria on how suspicious orders should be
 identified. The 2015 FTI Audit Report also revealed numerous problems with ABDC’s system,
 including a lack of resources, a lack of formal training, overburdened workloads, crushing
 administrative demands, inconsistent policies, and communications break-downs, which
 contributed to “gaps and risks” in ABDC’s ability to identify orders as suspicious and prevent
 diversion. ABDC’s efforts of due diligence in identifying suspicious orders at this time also fell
 well short of effective. Specifically, the “Know Your Customer” due diligence policy was based
 on a form filled out by ABDC’s own sales representatives in conjunction with ABDC’s pharmacy

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       ABDCMDL00278212 (emphasis added).
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 customers, creating a conflict of interest in identifying accurate information. The fact that
 ABDC’s chain retail pharmacy customers were exempt from this requirement abdicated ABDC’s
 duty to identify suspicious orders to the customers themselves. Further, the Form 590 due
 diligence program itself was inconsistently implemented, leaving a lack of current and historical
 documentation of due diligence efforts that renders a robust, effective due diligence system
 impossible.
                d. AmerisourceBergen failed to report suspicious orders of controlled
                   substances in violation of the reporting requirement set forth in 21 C.F.R. §
                   1301.74(b).

        Between 1998 and 2008, AmerisourceBergen timely reported zero suspicious orders from
 the CT1 jurisdictions. This is a blatant violation of the Reporting Requirement. Further, using
 any of the methodologies described in the Expert Report of Craig McCann, it is apparent
 AmerisourceBergen failed to report thousands of suspicious orders arising out of Huntington and
 Cabell County.460

        I reserve the right to amend or supplement my opinions in this matter considering any
 new or additional information.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that to the best of my
 knowledge the foregoing is true and correct.




 Date: August 3, 2020




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       See Section III above.
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